     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 1 of 129 Page ID #:1



 1    MICHAEL J. LIBMAN (SBN 222353)
 2
      LAW OFFICES OF MICHAEL J. LIBMAN, APC
      18321 Ventura Boulevard, Suite 700
 3    Tarzana, California 91356
      Telephone: (818) 995-7300
 4    Facsimile: (866) 644-6764
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 6    Plaintiff In Pro Per and Counsel for Plaintiffs
      Law Offices of Michael J. Libman, APC, Barbara Libman
 7    And, Minors “A” and “B”

 8
                             UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
                                  WESTERN DIVISION
10

11
      MICHAEL J. LIBMAN an individual, LAW )          CASE NO. 2:21-CV-09455
12
      OFFICES OF MICHAEL J. LIBMAN, APC, )
      A California Professional Corporation;  )       CLASS ACTION CLAIMS FOR
13    BARBARA LIBMAN, on behalf of the class )        INJUNCTIVE AND/ OR DECLARATORY
      of US Citizens and Residents; MINOR “A”
      by and through the minor’s parents      )       RELIEF AGAINST THE UNITED
14
      MICHAEL J. LIBMAN AND BARBARA )                 STATES OF AMERICA
15    LIBMAN; MINOR “B” by and through the )
      Minor’s parents MICHAEL J. LIBMAN and )         AND FOR VIOLATION OF INDIVIDUAL
16    BARBARA LIBMAN                          )       CIVIL RIGHTS, DAMAGES,
                                              )       INJUNCTIVE AND DECLARATORY
17
                                              )
                             Plaintiffs,
18                                            )
              vs.                             )       DEMAND FOR JURY TRIAL
19                                            )
      UNITED STATES OF AMERICA; National )            CLAIM FOR PUNITIVE DAMAGES ON
20    Government; US ATTORNEY GENERAL )               THE INDIVIDUAL CLAIMS
      MERRICK B. GARLAND, in his official
21                                            )
      capacity; TRACY L. WILKISON, in her
      official capacity; KRISTI KOONS         )
22                                            )
      JOHNSON, in her official capacity
23    MELISSA J. MILLS, ESQ (USACAC) in       )
      her individual capacity; FBI SPECIAL    )
24    AGENT ANDREW CIVETTI in his             )
      individual capacity; FBI SPECIAL AGENT )
25    JULIENNE MAYFIELD in her individual
      capacity; FBI SPECIAL AGENT JOHN        )
26    DOE in his individual capacity; FBI     )
      SPECIAL AGENT JIM DOE in his            )
27    individual capacity; FBI SPECIAL AGENT )
      THOMAS RUSCITTI, in his individual      )
28    capacity; BRIAN S. KABATECK, ESQ, in )




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                                             COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 2 of 129 Page ID #:2



 1    his individual capacity and as an actor under )
      color of state law; KABATECK, LLP, entity )
 2
      of unknown form; MICHAEL FEUER, in his )
 3
      individual capacity; JUDGE ELIHU M.           )
      BERLE, in his individual capacity; CITY OF
      LOS ANGELES, a municipal entity;              )
 4                                                  )
      MARIBETH ANNAGUEY, ESQ.
 5    individually; ERIC M. GEORGE,                 )
      individually; ERIC KINGSLEY an                )
 6    individual; KINGSLEY AND KINGSLEY, )
      entity form unknown; NICOLA HANNAH )
 7    in his individual capacity; MACK ERIC
      JENKINS, ESQ. in his individual capacity )
 8    and DOES 3 to 300 inclusive                   )
                                                    )
 9                                                  )
                             Defendants.            )
10
                                                    )
11                                                  )
                                                    )
12

13
                                              I. COMPLAINT
14
             1. MICHAEL J. LIBMAN (“MJL”) an individual, LAW OFFICES OF MICHAEL J.
15
      LIBMAN, APC, (“MJL APC”) a California Professional Corporation; BARBARA LIBMAN
16
      (“BL”), an individual; MINOR “A” by and through the minor’s parents MICHAEL J.
17
      LIBMAN AND BARBARA LIBMAN; MINOR “B” by and through the Minor’s parents
18
      MICHAEL J. LIBMAN and BARBARA LIBMAN (“LIBMANS” or “INDIVIDUAL
19
      PLAINTIFFS”) bring this suit against the UNITES STATES OF AMERICA (“USA”); US
20
      ATTORNEY GENERAL MERRICK B. GARLAND; TRACY L. WILKINSON; KRISTI
21
      KOON JOHNSON; MELISSA J. MILLS, ESQ. (“Mills”); FBI SPECIAL AGENT ANDREW
22
      CIVETTI (“Civetti”); FBI SPECIAL AGENT JULIENNE MAYFIELD (“Mayfield”); FBI
23
      AGENT JOHN DOE (“John Doe”); FBI AGENT JIM DOE (“Jim Doe”); FBI SPECIAL
24
      AGENT THOMAS RUSCITTI; NICOLA HANNAH, ESQ; MACK ERIC JENKINS, ESQ;
25
      BRIAN S. KABATECK, ESQ. and KABATECK, LLP, (“Kabateck”); CITY OF LOS
26
      ANGELES (“City”); HON. ELIHU M. BERLE, (“Judge Berle”), a California Superior Court
27
      Judge, County of Los Angeles; MICHAEL FEUER (“Feuer”); ERIC M. GEORGE ESQ;
28
      MARIBETH ANNAGUEY, ESQ. (“Annaguey”); ERIC KINGSLEY ESQ; KINGSLEY AND



                                                        2
                                                 COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 3 of 129 Page ID #:3



 1    KINGSLEY and DOES 3 to 300 inclusive, pleading class                  claims for injunction and
 2    declaratory relief, as well as individual claims for compensatory damages, punitive damages,
 3    injunctions and declaratory relief, and any all other relief deemed appropriate.
 4

 5                                            II. INTRODUCTION
 6           2. This class and civil rights lawsuit seek to vindicate rights of thousands of people
 7    whose home or office surveillance cameras were destroyed or disabled during execution of
 8    federal search warrants. The individual civil right, and supplemental state claims, arise out of
 9    egregious civil and constitutional rights violations, abuse of power, abuse of process, battery,
10    intimidation by force and threat of force, denial of right to fair trial, and domestic terrorism
11    committed against an officer of the court, Michael J. Libman, and his family by defendants
12    who conspired to do evil and vile acts, to try and intimidate and terrorize MJL, to prevent,
13    pressure and coerce him to forego, and/ or abandon his independent investigation to expose
14    cover ups, conspiracies, ploys, schemes, conflicts of interests by and in participation of the
15    defendants, and others yet to be identified through discovery, that have cost, and will continue
16    to costs, the City of Los Angeles Taxpayers and Los Angeles Department of Water and Power
17    (“LADWP”) ratepayers hundreds of millions of dollars, and likely over a billion dollars,
18    stemming from the disastrous deployment of the CC&B System by LADWP/PWC in
19    September of 2013 and the resulting consumer class actions that were settled in May of 2017,
20    specifically those consolidated with and related to the heavily publicized action styled as
21    Antwon Jones vs City of Los Angeles LASC Case No. BC577267 et al, (“Jones”) in addition to
22    all the harms inflicted on Plaintiffs as alleged more fully, infra.
23           3.      Defendants, most of whom are attorneys, a judge, political figures and City
24    officials, and employees and/ or agents of federal agencies, caused and/or directly or indirectly
25    participated in, encouraged, and facilitated an FBI military Gestapo-style invasion of attorney
26    Plaintiffs’ home on June 30, 2020, at 5:59 a.m., utilizing a false, untrue, misleading,
27    unconstitutional, illegal, and without probable cause search warrant to invade the Libmans’
28    Home under the false pretenses and manufactured pretext that MJL was an illegal “machine




                                                        3
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 4 of 129 Page ID #:4



 1    guns” owner, smuggler, extortionist, and a money launderer in order to: 1) intimidate, scare
 2    and horrify MJL into submission and “cooperation”; 2) gain access to MJL’s attorney work
 3    product and privileged client materials concerning MJL’ investigation into possible corruption,
 4    self-dealing, undisclosed conflicts of interest between and among at least some of the
 5    defendants, and to seize MJL’s attorney client-confidential materials related to his
 6    representation of MJL APC in a related class action, all to the immense harm, suffering and
 7    damages to Plaintiffs.
 8           4.      Defendants, and some or all of whom, were, and are at all relevant times,
 9    motivated by malicious, nefarious, and outright evil motives intended to violate and destroy the
10    reputation and lives of MJL and his family, and to unlawfully and maliciously shame,
11    embarrass, defame, and inflict financial ruin, severe emotional distress, and violate Plaintiffs’
12    constitutional rights. Federal defendants went as far as lying to and misleading a federal
13    magistrate judge to prevail on him to sign off on a search warrant based on false and
14    misleading claim and allegations, without probable cause, that MJL was in possession of
15    machine guns, transported machine guns across state lines (aka a gun smuggler) and was a
16    money launderer in order to perform an excessively forceful, intimidating, Navy-Seal-like,
17    worthy only of a dangerous terrorist, invasion and incursion of Plaintiffs’ home during the
18    height of the COVID-19 pandemic.
19           5.       Moreover, one of the first things the FBI agents, dressed in full combat
20    camouflage uniforms, and fully armed, did was to try and destroy, damage, and/ or disable the
21    security/surveillance cameras installed on the outside perimeter of Plaintiffs’ Home and in the
22    interior of Plaintiffs’ Home to conceal the government’s illegal, egregious, unconstitutional,
23    vile and likely criminal conduct, all in violation of the search warrant and the
24    Fourth and Fifth Amendments.        (See Photos as Exhibit 1 to this complaint) The search
25    warrants did not authorize the government to seize, take, destroy, disable, damage, or
26    otherwise make inoperable the security/ surveillance cameras installed on the permitter of the
27    Libmans’ Home and in the interior of plaintiffs’ home. The government knew before their
28    invasion that security cameras facing at least the front entrance to the house were affixed to the




                                                       4
                                                  COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 5 of 129 Page ID #:5



 1    edifice.
 2               6.   As evidenced from still photos derived from the full video footage that the FBI
 3    failed to destroy, their illegal military-style invasion of Plaintiffs’ home is self-evident. A lot of
 4    it was captured and preserved on a DVR’S hard drive that the FBI did not seize when they
 5    retreated, apologetically, from the Libmans’ Home. Moreover, while the armed to the teeth
 6    FBI agents, and the Assistant US Attorneys were occupying the Plaintiffs’ Home in their
 7    investigatory capacities, Defendant Assistant US Attorney, Melissa J. Mills, who
 8    simultaneously worked for and continues to do work for the Gibson, Dunn, & Crutcher LLP’s
 9    (“Gibson Dunn” or “The GD Firm”) downtown Los Angeles Office (the same office that
10    defended the City of LA vs PWC LASC Case No. BC574690) while allegedly working for the
11    US Attorney, emailed MJL’s attorneys telling them: “we remain interested in your client’s
12    (MJL) cooperation.” To further intimidate and terrorize plaintiffs, two government agents,
13    JOHN DOE and JIM DOE, armed with machine guns, dragged the handcuffed and barefoot
14    MJL, who was paraded in the middle of the street for the entire neighborhood to see for nearly
15    25 minutes, to an upstairs bedroom of his then obviously sleeping Minor B. Agent JOHN DOE
16    positioned himself at the foot of the bed of Minor B. Agent JIM DOE was behind the
17    handcuffed MJL holding MJL at the side of the child’s bed where the half-covered young child
18    was obviously still fast asleep. JOHN DOE, very conspicuously pointed a machine gun at the
19    little half-naked body of Minor B, noticeably making sure that MJL was able to see,
20    comprehend and appreciate that the machine gun was being pointed at the sleeping child in an
21    obvious and apparent attempt to scare, intimidate, horrify, and mortify, MJL and his child with
22    this display and use of force. JOHN DOE and JIM DOE succeeded: MJL was mortified and
23    Minor B shocked, scared and emotionally distressed, as more fully alleged, infra. MJL felt like
24    he aged 10 years during those mortifying moments as he was praying to all that he holds dear
25    that his child would not make a sudden and startled move, while awaking to a sight of a
26    military invasion in his bedroom, prompting the machine-gun-toting government agent to open
27    fire on him. No parent should experience what MJL experienced in those terrifying moments.
28    Recollecting that specific event makes MJL nauseous even as he types these words in this




                                                        5
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 6 of 129 Page ID #:6



 1    complaint. This cannot be allowed to happen again to any American who encounters
 2    government law enforcement agents at their home or place of business. MJL, BL and the
 3    Minors, were thereafter, and still are, apprehensive, startled, anxious and fearful nearly every
 4    time there is some sort of a loud noise outside the Libmans’ Home fearing it may be another
 5    government armed invasion. The Libmans feel violated.
 6           7.      During the government invasion, to make the experience even worse for MJL,
 7    Ms. Mills, approached MJL, who was wearing a surgical face mask placed on his face by one
 8    of the FBI agents earlier during the start of the invasion, with some device in one hand, and
 9    reached with her other hand to try and forcefully rip the facemask off MJL’s face. MJL
10    recoiled back, the face mask snapped against MJL’s face. MJL asked Ms. Mills, with a stunned
11    and surprised voice: “What are you doing?” Ms. Mills’ shocking response was: “I can do
12
      whatever I want.” MJL in turn responded: “No, you cannot! You can only do what “this”
13    (tapping with his finger on the search warrant that was placed on the corner of a desk, as by
14    that time MJL was handed and had a chance to briefly peruse the warrant) allows you to do,
15    and the constitution. You know I am a lawyer. And if you want me to respect your
16    professionalism, respect mine.” Ms. Mills turned around and hastily walked away.
17           8.      All this occurred at the home-office room of the Libmans’ Home at the presence
18    of special agent Civetti, a Caucasian, short, blond, young agent who was the apparent
19    designated photographer to document the military style incursion, and three other FBI agents,
20    two males and a female agent. They also appeared to have been taken aback or surprised by
21    Ms. Mills’ conduct and statement. However, they kept quiet and did not say a word. No
22    machine guns or evidence of illegal gun running, money laundering, extortion or any kind of
23    terrorism was discovered by the FBI at the Plaintiffs’ home when they concluded rummaging
24    through the Libman Home, while eating cupcakes that they brought with them (See photo
25    Exhibit 2), as no such evidence ever existed, or could have, in the Libmans’ Home, or
26    anywhere else. The armed government agents and Ms. Mills appeared to have a jolly good
27    time at the Libmans’ Home. Clearly, terrorizing a law-abiding lawyer and his family who
28    were/ are investigating possible corruption by lawyers and other state and local government




                                                      6
                                                  COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 7 of 129 Page ID #:7



 1    officials, was a good and productive day for these federal government agents.
 2           9.      Additionally, due to the deception, fraud and misleading of a Federal Magistrate
 3    Judge in the process of obtaining the search warrant—by telephone—the Magistrate Judge
 4    unconstitutionally and without probable cause authorized the government to seize MJL’s and
 5    MJL APC’s, “PLANS [aka ideas] to collect information about judge Elihu Berle and Brian
 6    S. Kabateck.” Meaning, investigatory work product and evidence of thoughts of MJL who
 7    was/is investigating suspected corruption and concealed conflicts of interest, in violation of
 8    MJL/ MJL APC’s civil and constitutional rights and to the harm of the LA City taxpayers and
 9    LADWP Ratepayers, ultimately. During the FBI’s unlawful invasion of Libmans’ Home,
10    figuratively speaking, in effect the federal government laid out the US Constitution and the Bill
11    of Rights at the entrance to the Libmans’ Home, trampled on them, wiped their boots on them,
12    and then gleefully ate cupcakes at Plaintiffs’ valuable dining table and chairs, damaging the
13    table and chairs with their side arms, belts, and boots/shoes in the process. (See pics of the
14    cupcakes attached hereto as Exhibit 3) The government agents appeared to be having a grand
15    old time at the Libmans’ Home that day violating the Plaintiffs’ civil rights judging from the
16    agents’ happy, smiling faces.
17           10.      Moreover, undeterred by the military invasion of his home, MJL stated on the
18    record in the Jones case several times, even after the FBI raid, that MJL did not like what he
19    was seeing going on the Jones case since Kabateck was installed by Judge Berle as the new
20    lead class counsel in Jones and will continue to investigate.
21           11.     Moreover, in the afternoon of March 8, 2021, a person who identified himself as
22    FBI Special Agent Tom Ruscitti, during an incoming telephone conversation that Agent
23    Ruscitti initiated, wherein the caller-ID indicated the call was coming in from the FBI,
24    conveyed a not-so-thinly-vailed threat to intimidate MJL to keep away from attorney Brian S.
25    Kabateck indicating to MJL that the FBI have now assumed the role of security guards for Mr.
26    Kabateck. The threat was made, on information and belief, on behalf of Ms. Mills, who
27    appears to be working simultaneously for the The GD Firm’s downtown Los Angeles Office
28    and as an Assistant US Attorney in the Los Angeles office, as well as on behalf of Mr.




                                                      7
                                                  COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 8 of 129 Page ID #:8



 1    Kabateck. When asked by MJL during that telephone conversation if agent Ruscitti was
 2    working with Ms. Mills, Agent Ruscitti’s response was: “I am not gonna confirm or deny that.”
 3    Plaintiffs reasonably interpret Agent Ruscitti’s statement as an evasive and improper Glomar
 4    response that means that agent Ruscitti did in fact make the call on behalf of Ms. Mills to
 5    communicate at least an implied threat of more violence and intimidation by the government.
 6    All this, and much more, is alleged in greater detail in the below paragraphs of this complaint,
 7    supported by still photos from video footage of the government invasion, diagrams,
 8    documents, and other exhibits attached to this complaint.
 9      III. ISSUES AND HARMS THIS LAWSUIT SEEKS TO ADDRESS AND REMEDY
10           12. To whom does a US citizen turn to for protection of his/her constitutional and civil
11    rights when an Assistant US Attorney with the Civil Rights Section, accompanied by
12    militarized FBI agents, violate his/ her constitutional and civil rights while machine guns are
13    pointed at his children and spouse? Marines? Navy? Army? CIA? NSA? Allies of the US?
14    What if the citizen happens to be an attorney conducting an independent anti-corruption
15    investigation?
16           13. Do we still live in the USA as it was envisioned by our founding fathers or do we
17    already live in a Gestapo-like dystopia where a federal agent feels free to fabricate grounds to
18    deceive a Federal Magistrate Judge, on the telephone, for that judge to bless a military invasion
19    of a lawyer’s home to intimidate the lawyer, his children and wife, by claiming that the agent
20    can do “whatever she wants” in the lawyer’s home, while surrounded by heavily armed
21    government agents, to coerce the lawyer by force and intimidation to “cooperate”? If the
22    answer is yes to all, then we, as a society are speeding ahead on the highway to dystopia, and
23    likely have arrived at that destination already. And, if at least redress of the harms to these
24    plaintiffs, and prohibition of future such misconduct cannot be achieved in federal court, then
25    these plaintiffs are destined to become a roadkill and a statistic to destination dystopia, several
26    of many surely to come. Plaintiffs pray that the federal courts system will enable a resounding
27    “No” response to these questions and issues.
28           14.       Is it acceptable, proper, legal, or constitutional for an Assistant US Attorney to




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                                                    COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 9 of 129 Page ID #:9



 1    be a mole for, conspire, collude with, and/or do favors for a national law firm (The GD Firm)
 2    that she worked for, and still is apparently, while she is simultaneously working for the US
 3    Government purportedly, to enable that law firm to intimidate, coerce, and threaten lawyers,
 4    who are investigating the national law firm’s involvement in depriving Los Angeles taxpayers
 5    of hundreds of millions of dollars in compensation due to them from that law firm’s prominent
 6    corporate client-PWC by threats and intimidation? Plaintiffs pray that this lawsuit will provide
 7    a resounding response in the negative to these specific issues as well.
 8           15. Is a state court judge above the law when retaliating against a lawyer who is
 9    investigating the judge’s possible involvement in a corrupt scheme, abuse of power and
10    violation of multiple California’s Judicial Cannons, to distract the public from the Judge’s, and
11    others’, mishandling of the Jones and PWC lawsuits?
12           16.     This lawsuit will prove that the principal outcome since Kabateck was installed
13    as lead class counsel in the Jones class action is a very expensive PR stunt, presided over by
14    his undenied friend Judge Berle, who less than a month ago determined, after two years of
15    “investigations” and millions of taxpayer dollars wasted that the settlement of at least 67.5
16    million dollars that he approved in 2017 (presently over $100 million), as fair, reasonable and
17    adequate, is still is, and at all times was, fair, reasonable and adequate. Millions of dollars of
18    LA City Taxpayers’ funds wasted on a court-appointed special master, who is not and was not
19    on the list of California State Bar approved Special Masters, and at least hundreds of millions
20    of dollars not recovered from some very happy insurance company and/ or companies and
21    PWC. Millions more of City of Los Angeles taxpayers’ funds will likely be wasted on
22    payments to Mr. Kabateck and others connected to the Jones PR stunt.
23    17.    Further, this Court should permanently enjoin the federal government from destroying,
24    disabling, turning off, tampering with, or rendering inoperable a home or office surveillance
25    system of any person or business that is/are subject/ target of a federal search warrant, in line
26    with the spirit of US Attorney General Merrick B. Garland’s proclamation of September 1,
27    2021 that Federal Law Enforcement will be required to wear Body-Warn Cameras because:
28    “Law enforcement is at its most effective when there is accountability and trust between law




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                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 10 of 129 Page ID #:10



 1     enforcement and the community. That is why we have expanded our body worn camera
 2     program to our federal agents, to promote transparency and confidence, not only with the
 3     communities we serve and protect, but also among our state, local and Tribal law enforcement
 4     partners who work alongside our federal agents each day.” The desired transparency can be
 5     accomplished only if the neutral, unbiased video footage from home or office ubiquitous
 6     surveillance systems of Americans will not be subject to arbitrary destruction or disabling by
 7     the same law enforcement agents whose transparency is sought by the US Attorney General.
 8            18.     Is the first amendment to the US Constitution no longer the law in California
 9     when it concerns making poignant inquiries of a judicial officer who is subject to a suspicious
10     financial transaction during funding of the 67.5-million-dollar class settlement that he
11     approved? Plaintiffs pray the federal court will reaffirm that the US Constitutions First
12     Amendment is still the law of the land.
13            19.     Should lawyers now dread even thinking about investigating suspected
14     corruption, and/ or investigating judicial officers for possible bias and lack of integrity? The
15     answer to this question must be a resounding “NO” to protect the integrity of the justice
16     system, or destination dystopia it is for our society.
17

18                                               IV. THE PARTIES
19                                                  Plaintiffs
20            20. Plaintiff, MICHAEL J. LIBMAN (“MJL”), is an individual over eighteen years
21     of age, at all times relevant to this action was, and is, an attorney authorized to practice law
22     before all the courts in the State of California and the Central District of the Federal Court, Los
23     Angeles, and residing in the State of California, County of Los Angeles. MJL was at all
24     relevant times a foreign-born, multilingual, naturalized citizen. At times, the multi-lingual
25     skill can appear as an impediment to clear and articulate verbal expression in English, that
26     manifests itself in an accent, as opposed to a native-born speaker. MJL’s accent never appeared
27     to be an impediment to practicing law until recent events in the Jones class action, wherein a
28     state court and at least one of its deputized “investigators” initiated and encouraged




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                                                    COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 11 of 129 Page ID #:11



 1     discrimination against MJL based on his national origin, as more fully alleged, infra.
 2            21.     Plaintiff, LIBMAN APC, was, and is, at all relevant times to this action, a
 3     professional corporation duly organized and existing under the laws of the State of California,
 4     with its principal office located in the County of Los Angeles.
 5            22. Plaintiff, BARBARA LIBMAN, is an individual over eighteen years of age, at all
 6     times relevant to this action, residing in the State of California, County of Los Angeles. BL is
 7     MJL’s spouse and joint owner of the Libmans’/ Plaintiffs’ Home located in Tarzana,
 8     California.
 9            23. MINOR “A” by and through the Minor’s parents MICHAEL J. LIBMAN and
10     BARBARA LIBMAN is a child, residing in the State of California, County of Los Angeles.
11            24. MINOR “B” by and through the minor’s parents MICHAEL J. LIBMAN AND
12     BARBARA LIBMAN is a child, residing in the State of California, County of Los Angeles.
13

14                                               Defendants
15            25.     Defendant UNITED STATES OF AMERICA is the national federal
16     government established by the U.S. Constitution. As such, it is subject to limitations imposed
17     by the Constitution, including, as relevant here, the Fourth and Fifth Amendments. The
18     constitutional violations at issue involve the actions of federal agencies and employees and are
19     therefore ultimately chargeable to the federal government itself.
20            26.     Defendant ATTORNEY GENERAL MARRICK B. GARLAND was sworn in
21     as the 86th Attorney General of the United States on March 11, 2021. As the nation’s chief
22     law enforcement officer, Attorney General Garland leads the Justice Department’s 115,000
23     employees, who work across the United States and in more than 50 countries worldwide.
24     Under his leadership, the Department of Justice is tasked with upholding the rule of law,
25     keeping our country safe, and protecting the civil rights of all Americans. He is sued in his
26     official capacity.
27            27.     Defendant TRACY L. WILKINSON is the Acting U.S. Attorney for the Central
28     District of California. She is the chief federal law enforcement officer within this jurisdiction,




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                                                  COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 12 of 129 Page ID #:12



 1     and she is sued in her official capacity.
 2            28.     Defendant KRISTI KOONS JOHNSON is an Assistant Director of the FBI. She
 3     oversees the FBI’s Los Angeles Field Office, and she is sued in her official capacity.
 4            29.     The Complaint uses the phrase “the government” of “federal government” to
 5     refer to the officers, employees, and agents of the United States of America, including officers,
 6     employees, and agents acting under the direction and control of Defendants, Garland,
 7     Wilkinson, and Johnson, within the FBI and US Attorney’s Office.
 8            30.     Defendant CITY OF LOS ANGELES is a public municipal entity organized
 9     and existing under the Laws of the State of California.
10            31. Defendant MICHAEL FEUER is an individual over eighteen years of age, at all
11     times relevant to this action, is the elected City Attorney of the City of Los Angeles, head
12     attorney and policymaker of the Los Angeles City Attorney’s office, a citizen of the State of
13     California, and a resident of Los Angeles County, California. He is being sued in his individual
14     capacity.
15            32. Defendant MARIBETH ANNAGUEY, ESQ. is an individual over eighteen years of
16     age, at all times relevant to this action, an attorney and partner at Brown George Ross, LLP, a
17     citizen of State of California, and a resident of Los Angeles County, California.
18            33. Defendant Melissa J. Mills is an individual over eighteen years of age, at all times
19     relevant to this action was/is an assistant attorney at U.S. Attorneys’ Office (“USAO”), a
20     citizen of the State of California, and a resident of Los Angeles County, California. She is sued
21     in her individual capacity.
22            34. Defendant ANDREW CIVETTI is an individual over eighteen years of age, at all
23     times relevant to this action, a Special Agent with the Federal Bureau of Investigations, Los
24     Angeles Office. He is sued in his individual capacity.
25            35. Defendant JULIENNE MAYFIELD is an individual over eighteen years of age, at
26     all times relevant to this action, a Special Agent with Federal Bureau of Investigations, Los
27     Angeles Office. She is sued in her individual capacity.
28            36. Defendant JOHN DOE is an individual over eighteen years of age, at all times




                                                      12
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 13 of 129 Page ID #:13



 1     relevant to this action, an agent with the FBI. The true identity of agent JOHN DOE will be
 2     learned through discovery as his face was obscured by a military style mask. He is sued in his
 3     individual capacity.
 4            37. Defendant JIM DOE is an individual over eighteen years of age, at all times
 5     relevant to this action, a Special Agent with Federal Bureau of Investigations. The true identity
 6     of agent JIM DOE will be learned through discovery as his face was obscured by a military
 7     style mask. He is sued in his individual capacity.
 8            38.     Defendant NICOLA HANNA, former US Attorney, Central District of
 9     California, past and current partner in The GD Firm, and, on information and belief,
10     supervising attorney of Mack Eric Jenkins and Melisa E. Mills. He is sued in his official and
11     individual capacities.
12            39.     Defendant MACK ERIC JENKINS is the Chief of Public Corruption and Civil
13     Rights Section of US Attorney, Central District of California, Los Angeles Office, and past
14     associate of The GD Firm.
15            40.     Defendant BRIAN S. KABATECK, ESQ. is an individual over eighteen years
16     of age, at all times relevant to this action, is an attorney doing business and residing in the State
17     of California, County of Los Angeles, and a partner in Kabateck LLP. He is sued in his
18     individual capacity and as a partner of Kabateck, LLP.
19            41.     Defendant KABATECK, LLP is and at all times relevant to this action, is an
20     entity of unknow form, despite the LLP designation, with its principal place of business located
21     in County of Los Angeles.
22            42.     Defendant ANASTASIA MAZZELLA is an individual over eighteen years of
23     age, at all times relevant to this action, is an attorney doing business and residing in the State of
24     California, County of Los Angeles, and a partner with defendant Brian S. Kabateck in
25     Kabateck LLP. She is sued in her individual capacity and as partner of Kabateck, LLP.
26            43.     Defendant ERIC KINGSLEY is an individual resident of Encino, California,
27     and partner, principal, manager, owner of KINGSLEY and KINGSLEY, an entity of unknown
28     form, with its principal place of business in the County of Los Angeles.




                                                        13
                                                    COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 14 of 129 Page ID #:14



 1            44.     KINGSLEY AND KINGSLEY, an entity of unknown form, is a law firm based
 2     out of Encino, California with its principal place of business in Los Angeles County.
 3            45.     Defendant Honorable ELIHU M. BERLE is a Judge of the Civil Department of
 4     the Superior Court of the State of California for the County of Los Angeles, Spring Street
 5     Courthouse, Department 6 and a resident of Los Angeles County, California. Judge Berle is
 6     sued in his individual capacity.
 7            46.     This is an action for damages, injunctive and declaratory relief pursuant to, the
 8     US Constitution, Bivens v. Six Unknown Named Agents of Federal Bureau of Narcotics, 403
 9     U.S. 388 (1971), 42 U.S.C. § 1983, 1985 and 1986 based upon the continuing violations of
10     Plaintiffs’ rights under the First, Fourth, Fifth, Sixth, and Fourteenth Amendments to the
11     United States Constitution, and State of California causes of action.
12            47. Defendants, and each of them, aided and abetted, encouraged and rendered
13     substantial assistance in accomplishing the wrongful conduct and their wrongful goals and
14     other wrongdoing complained of herein. In taking action, as particularized herein, to aid and
15     abet and substantially assist the commission of these wrongful acts and other wrongdoings
16     complained of each of the Defendants acted with an awareness of their primary wrongdoing
17     and realization that their conduct would substantially assist the accomplishment of the
18     wrongful conduct, wrongful goals, and wrongdoing.
19

20                                   V. JURISDICTION AND VENUE
21            48. Venue is proper in the Central District in that the events and conduct complained of
22     herein all occurred in the Central District. This Court also has subject matter jurisdiction over
23     Plaintiffs’ federal claims for relief under 42 U.S.C. §§1983, 1985 and 1986 and over Plaintiffs’
24     state law claims, because they are so related to their federal law claims as to form part of the
25     same case or controversy, pursuant to 28 U.S.C. §1367(a). Jurisdiction also exists pursuant to
26     28 U.S.C. §§ 1331 and 1343 based on 42 U.S.C. §1983 and questions of federal constitutional
27     law. Jurisdiction also exists under the Declaratory Judgment Act, 28 U.S.C. §§ 2201(a) and
28     2202. Supplemental jurisdiction over Plaintiffs’ state law claims is pursuant to 28 U.S.C.




                                                      14
                                                  COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 15 of 129 Page ID #:15



 1     §1367. This lawsuit is also related to the Bradshaw v. City of Los Angeles Action
 2     (“Bradshaw”) Case No. 2:19-cv-06661-VAP (JCx) and Antwon Jones vs City of Los Angeles et
 3     al (“Jones II”) Case No. 2:20-CV-11502 both currently pending before the Honorable Virginia
 4     A. Philips.
 5

 6                       VI. BACKGROUND ALLEGATIONS ABOUT PLAINTIFFS
 7            49.     MJL has been licensed to practice law in California Since December 2002.
 8     MJL’s license to practice law is in good standing with no disciplinary actions ever taken
 9     against him.
10            50.     From about 2005 or so, MJL collaborated, co-ventured, and co-counseled with
11     the firm of Kingsley & Kingsley (“Kingsley Firm”) in Encino, California, on various consumer
12     and employment class actions, as well as individual matters, until about early 2016.
13            51.     Simultaneously, MJL was collaborating with other firms and attorneys on other
14     class actions and civil matters, who were also collaborating with the Kingsley firm, including
15     Scott A. Miller Esq, of Law Offices of Scott A, Miller, APC.
16            52.     MJL and several other attorneys, including Scott A. Miller, were all sharing
17     space on the 12th floor in a spacious office suite in prominent building in Encino—the
18     “Kingsley Suite” at 16133 Ventura Boulevard Suite 1200, Encino California 91436.
19            53.     MJL left the Kingsley Suite on good terms in 2016 and formed a professional
20     corporation, Law Offices of Michael J. Libman, APC (“Libman APC”), a California
21     Professional Corporation, based in Tarzana, California.
22            54.     MJL or MJL/APC have never been sanctioned in any way by defendant
23     Honorable Elihu M. Berle in the Jones action until the retaliatory, unconstitutional, unjust
24     sanctions and disgorgement judgment in excess of 1.8 million dollars entered on or about
25     March 24, 2021.
26            55.        MJL is the father of, and counsel for, Minor Plaintiffs “A” and “B”, a husband
27     of and counsel for Plaintiff BL. MJL was at all relevant times Liaison Counsel in the Jones
28     matter, until without notice, grounds, briefing or hearing arbitrarily and improperly ordered




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                                                  COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 16 of 129 Page ID #:16



 1     “removed” from his post by Judge Berle because MJL continued investigating and declared so
 2     on the record.
 3             56.       MJL was at all relevant times, and still is, counsel of record for MJL APC, in
 4     the Bradshaw class action.
 5             57.       Plaintiff Barbara Libman is MJL’s spouse since 2002 and mother to Minor
 6     Plaintiffs “A” and “B” and joint owner with MJL of the Libmans’ Home located in Tarzana,
 7     California.
 8                      VII. THE JONES CLASS ACTION GENESIS AND HISTORY
 9             58.      MJL learned of the LADWP overbilling problem from an unusually high
10     LADWP bill for his late “mother-in-law’s house” which was received in the fall of 2013. BL
11     is, and was at all relevant times, the legal title holder of her deceased mother’s house. The
12     LADWP account for that house was at all relevant times under BL’s name. This house was
13     affectionately referred to by MJL as “my mother-in-law’s house.”
14             59.      MJL started researching and working the LADWP overbilling issues in the fall
15     of 2013 and eventually associated with Mr. Landskroner to work the Jones action after
16     Attorney Paul R. Kiesel, whom MJL approached first in early 2014 to co-counsel with,
17     declined to participate in a class action by the ratepayers against the City and was ultimately
18     retained by the City as “special counsel” to help the City with its claims on behalf of the
19     ratepayers against PWC.
20             60.      Mr. Landskroner had the lead role in the Jones litigation.
21             61.      After over two years of very contentious, public, and acrimonious litigation,
22     multiple mediations with retired federal judge Dikran M. Tevrizian, and several edits and
23     rewrites to the settlement agreement at the behest of counsel for the related class actions and
24     Judge Berle, Judge Berle granted final approval of the Jones class settlement on July 7, 2017
25     and issued a Final Judgment. (See Final Judgment attached as Exhibit 4 and incorporated
26     herein by reference as if fully set forth herein).
27             62.      At the July 7, 2017 fairness hearing regarding the proposed Jones class
28     settlement, Judge Berle made the following findings: (1) that “the settlement, taken as a whole,




                                                            16
                                                    COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 17 of 129 Page ID #:17



 1     is fair, reasonable and adequate and it is in the best interest of the Class” (2) “…the settlement
 2     obviously eliminates the risk associated with continuing litigation.       According to CC&B
 3     system monitor, Paul Bender, at a minimum $67.5 million in refunds and credits will be
 4     available to class members. This number will increase as field work investigation[s] are
 5     completed” (3) although “settlements are always a compromise of disputed claims and rarely
 6     able to place class members in a position of being made completely whole [,] [t]he settlement
 7     in this case goes further than most settlements in providing complete monetary recovery for the
 8     losses for overbilling, misbilling, and errors in billing”; and (4) that “counsel did an
 9     outstanding job and engaged in Herculean efforts to reach an agreement which is in the best
10     interested of all concerned.”
11            63.     The GD Fim, on behalf of defendant PWC among other related defendants, did
12     not object to the Jones Settlement despite having notice of the fairness hearing. Judge
13     Tevrizian filed a very detailed declaration in support of the Jones settlement agreement.
14            64. Judge Berle signed an Order Granting Final Approval of the Jones Class Action
15     Settlement and Final Judgment (“Final Judgement” or “Class Order”).
16            65.     In that Class Order, Judge Berle approved “the right of Class and Liaison
17     Counsel [a.k.a MJL] to make quarterly applications to this Court for additional awards of
18     reasonable attorneys’ fees at the rate of twenty-nine percent (29%) of all future recoveries by
19     Class Members subsequent to Final Approval for: (i) Field Work claims; (2) Pre-Identified
20     Claims Made claims; (iii) Omnibus claims; and (iv) all claims paid in connection with the
21     Settlement, by or on behalf of, the City of Los Angeles, including all departments thereof.”
22            66.     Mr. Paul Bender was appointed as system monitor to monitor LADWP and
23     report to the court on the implementation of the settlement terms, which included overhaul of
24     systems and procedure and to make sure that the publicized promise made by all involved of
25     obtaining 100% refunds to all affected ratepayers would be met.
26            67.     For the next approximately 18 months, the implementation of the Jones
27     Settlement proceeded on track without any serious problems or hiccups. In parallel, Mike
28     Feuer, with City’s special outside counsel Paul R. Kiesel, Esq. spearheaded the litigation of the




                                                       17
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 18 of 129 Page ID #:18



 1     City v. PWC, continued their efforts to recoup the damages the City [rightfully] alleged PWC
 2     caused the LADWP/ ratepayers in the course of the CC&B system’s deployment.
 3            68.    During the City v. PWC litigation, discovery showed that City’s then outside
 4     counsel (who represented the City as a plaintiff in the City v. PWC action), Paul O. Paradis,
 5     Esq. (a New York Attorney) had a role in drafting the original Jones complaint and that Mr.
 6     Paradis at some point before the original Jones complaint was filed by MJL’s office briefly
 7     represented Mr. Antwon Jones—the Class Representative and plaintiff in the Jones case.
 8            69.    MJL had no knowledge at all relevant times that Mr. Paradis represented Mr.
 9     Jones at some point nor did MJL ever meet Mr. Paradis or spoke to him prior to 2015. MJL
10     had no direct and personal dealings with Mr. Paradis, up to and including the time that the
11     Final Judgement was signed by Judge Berle, in 2017, accept shaking his hand once at one of
12     the mediations.
13            70.    PWC’s attorney, Mr. Daniel J. Thomasch of The GD Firm, working out of that
14     firm’s downtown LA office, used the evidence concerning Mr. Paradis to argue that the entire
15     Jones settlement was a product of collusion and alleged “conflict” of interest. This issue
16     caused a sudden and drastic negative shift in the direction of Jones and City of LA v. PWC
17     action to recover damages of the LADWP ratepayers and the demeanor and posture of Judge
18     Berle toward MJL.
19            71.    The GD Firm, for PWC, took the position that because special counsel for the
20     City, Mr. Paradis, at one point before the Jones action briefly represented Mr. Jones, and was
21     involved in drafting of the original complaint in the Jones class action, therefore the entire
22     Jones Settlement was suspect as collusive by PWC and its attorneys.
23            72.    On November 15, 2018, Judge Berle denied PWC’s (The GD Firm’s) motion
24     for summary adjudication in the City v. PWC action on key causes of action and discovery and
25     litigation continued in the related City v. PWC case. The Jones Settlement’s implementation
26     continued also unabated.
27            73.    On January 30, 2019, MJL appeared at a status conference in the Jones matter at
28     Mr. Landskroner’s last minute request, as Mr. Landskroner became unavailable.




                                                     18
                                                 COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 19 of 129 Page ID #:19



 1            74.       MJL was not provided detailed instructions and led to believe that this was
 2     going to be just another run-of-the-mill status conference of the kind MJL appeared on in the
 3     past in Jones.
 4            75.       Mr. Landskroner was leading the work on the implementation of the Jones
 5     Settlement on behalf of the entire class of ratepayers with MJL’s support and participation as
 6     needed.
 7            76.       When Judge Berle took the bench, he made it clear that he was displeased that
 8     Mr. Landskroner was not present in person and, in a visible emotional response, became
 9     aggressive with MJL in tone and demeanor.
10            77.       When MJL inquired of the court “what the issue [was]” with Mr. Landskroner’s
11     absence, Judge Berle became visibly angry with MJL. Judge Berle began angrily interrogating
12     MJL about his role as class liaison counsel, took umbrage at MJL’s description of his honor’s
13     demeanor as “peeved,” and took his ire as to Mr. Landskroner out on MJL. During this
14     exchange, Judge Berle’s posture made it clear that he was angry, and he glared at MJL from
15     the bench during this exchange with eyebrows frowned.
16            78.       MJL was baffled by Judge Berle’s acrimony and quickly apologized. MJL
17     thought at that moment that Judge Berle might have had a bad day in stressful job, or
18     something like that, but later it became apparent that Judge Berle developed an actual bias
19     against MJL. Prior to this exchange at the hearing, MJL did not have a single issue with Judge
20     Berle and Judge Berle saw MJL appear at nearly all of the many hearings in the Jones matter to
21     that date going back to the inception of the case.
22            79. Shortly thereafter, in a subsequent hearing, Mr. Landskroner asserted the Fifth
23     Amendment privilege against self-incrimination in response to Judge Berle’s questions in open
24     court for reasons unknown to Plaintiffs.
25            80.       Mr. Landskroner subsequently filed a motion to be relieved as counsel for the
26     class on March 8, 2019, hearing on which was continued multiple times until he withdrew his
27     application to withdraw as counsel for unknown reasons. Mr. Landskroner died in June 2021.
28     ///




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                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 20 of 129 Page ID #:20



 1             VIII. “INVESTIGATIONS” BY MR. KABATECK AND MR. ROBBINS
 2             81.     On information and belief, Judge Berle invited other lawyers to apply for the
 3     position of new class counsel to replace Mr. Landskroner. Several lawyers applied, including
 4     some who were counsel in the related Jones class actions and participants in approval of the
 5     Jones Class Settlement, and Mr. Brian S. Kabateck, Esq.
 6             82.     MJL did not apply to be the lead counsel to replace Mr. Landskroner and
 7     wished only to remain in his court-approved post as Liaison Counsel.
 8             83.     MJL never had any kind of dealings with Mr. Kabateck prior to Mr. Kabateck
 9     applying for the New Class Counsel position in the Jones matter.
10             84.     Mr. Paul Kiesel and Mr. Paul O. Paradis were abruptly fired by the City of LA,
11     and Mr. Eric George and Ms. Annaguey and their firm, were associated in by City Attorney
12     Mike Feuer’s office on March 15, 2019, to serve as counsel to the City to continue the
13     prosecution of the City’s action against PWC.
14             85.     On or about April 16, 2019, the Jones counsel reported to the court that the
15     Jones Settlement, estimated in July 2017 to be $67.5 million, was approaching at least $100
16     million based on information from the independent monitor Mr. Paul Bender which was
17     learned prior to that date in the course of Mr. Bender’s work.
18             86.     On April 17, 2019, Kabateck was appointed by Judge Berle as new class
19     counsel to replace Mr. Landskroner.
20             87.     Defendant Mr. Kabateck represented to the court that “he has no conflict with
21     any of the parties, the other attorney’s including the City Attorney, and he has no affiliations
22     with anyone else involved in this case.”
23             88.     Mr. Kabateck did not disclose that he was/is friends with Judge Berle going
24     back decades, a claim made multiple times in court papers which was never denied by either
25     Kabateck or Judge Berle; did not disclose that he/ his firms is/are heavy financial political
26     donors to City Attorney Mike Feuer; and did not disclose that Mr. Kabateck and his firm’s co-
27     counseled on the same side with Mr. Eric George and his firm up to at least six years prior-i.e.,
28     at least three undisclosed affiliations and conflicts of interest.




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                                                     COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 21 of 129 Page ID #:21



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11             89.    Judge Berle, pursuant to his authority under California state laws, empowered
12     Kabateck to engage in “an investigation into how the settlement was arrived at and an analysis
13     of whether the settlement of the class action was fair, reasonable, and adequate,” but was
14     expressly admonished not to “conduct an open-ended investigation of the conduct of all the
15     other parties and their counsel and potential conflicts of interest on matters unrelated to the
16     claims and benefits of the class members.”
17             90.    Nevertheless, Mr. Kabateck conducted himself as if he was deputized by Judge
18     Berle to conduct an open-ended investigation with unlimited state powers. In fact, other
19     counsel, including MJL complained subsequently to Judge Berle, on the record and in filings,
20     to no avail.
21             91.    MJL remained Liaison Counsel to assist Mr. Kabateck in transitioning into his
22     role as New Class Counsel in Jones. Mr. Paul Bender remained in his post as the system
23     monitor of the LADWP.
24             92. On May 24, 2019, the City filed an Independent Monitor’s declaration with the trial
25     Court in Jones. The Independent Monitor confirmed that recovery to the class is in excess of
26     $100 million, including about $38 million of Rule 17 credits—a.k.a new and additional monies
27     for the class to recover post-the July 7, 2017 Final Judgment, announcing in effect that
28     MJL/Libman APC very likely will have claim to additional fees under the July 7, 2017 Jones




                                                       21
                                                    COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 22 of 129 Page ID #:22



 1     Settlement Agreement, once the investigations enabled, authorized, and directly managed by
 2     Judge Berle would run their course.
 3            93.       On June 17, 2019, Judge Berle appointed Edward M. Robbins, Jr. Esq. as
 4     Special Master and impermissibly authorized the Special Master to conduct a secretive
 5     investigation with ex-parte communications with others and with Judge Berle expressly invited
 6     and authorized.
 7            94.       Neither Mr. Robbins nor his firm, or anyone at his firm, were on the California
 8     State Bar’s List of approved Special Masters at any relevant time.
 9            95.        Discovery will reveal precisely how an attorney not on the State Bar’s list of
10     approved Special Master was hired to be a Special Master who was authorized by Judge Berle
11     to claim and collect millions in fees and costs from the City in the course of a secret
12     investigation.
13            96.       Mr. Robbins, despite formal objections by Mr. Landskroner’s attorney, Mr.
14     Mark T. Drooks, joined by MJL (for a total of four) that Judge Berle did not rule on or address
15     until ordered to do so by the California Court of Appeal, Second District, lodged secret ex-
16     parte reports with Judge Berle.
17            97.       Mr. Robbins never contacted MJL or took any depositions, that MJL is aware
18     off.
19            98.       No one else, other than probably Mr. Kabateck and/or Ms. Mills, know what is
20     in those ex-parte, secret communications between Judge Berle and Mr. Robbins about MJL.
21            99.        MJL, among others, was deliberately deprived of an opportunity to rebut or
22     respond to whatever is in those secret reports.
23            100.      Mr. Robbins is former head of the US Attorney’s Office Tax Division, Los
24     Angeles Office.
25            101.      Despite there being no evidence from any source that anyone paid any illicit
26     monies, bribes or kickbacks to anyone connected to the Jones case, Judge Berle ordered MJL
27     to provide “accounting” of all fees and costs in connection with Jones, without explaining
28     what Judge Berle meant by “accounting” or “in connection with Jones.”




                                                         22
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 23 of 129 Page ID #:23



 1            102.    MJL promptly complied and filed an envelope, in camera with copies of all
 2     checks and invoices that MJL/MJL APC received and incurred in connection with Jones.
 3     Kabateck objected that this was not enough for him.
 4            103.    Judge Berle ordered MJL to create and produce a new accounting showing
 5     “debits and credits” as to all monies “in connection with Jones.”
 6            104.    MJL created a short spread sheet, as there was not a whole lot to input of all the
 7     monies received and paid out in connection with Jones to anyone, including a 1.65-million-
 8     dollar check that was received from Mr. Landskroner’s firm for MJL/MJL APC’s court-
 9     approved fee and costs.
10            105.    To protect MJL/MJL APC/s. and other clients’ confidentiality and privacy
11     rights, as MJL was and is obligated to do under California law, MJL also asserted privacy and
12     attorney client privileges over MJL/ MJL APC’s private expenditure of the 1.65-million-dollar
13     fee as ordinary business expenses.
14            106.    And even this was not enough for Mr. Kabateck who was in search of a purse
15     and scapegoat(s) to justify payment for his then anticipated fee request of millions of dollars
16     for the havoc he created in the Jones litigations and in the press that he will ask his friend
17     Judge Berle to approve, with no oppositions from Kabateck’s other friends Mr. Feuer and Mr.
18     Eric George expected. In fact, on information and belief, the City, by and through Mr. Feuer
19     and Mr. George, is expected to support Mr. Kabateck’s forthcoming multi-million attorney fee
20     application.
21            107.    Additionally, court documents, transcript and investigation reveal that the three
22     friends—Mr. Kabateck, Mr. Feuer and Mr. Eric George—are meeting presently in secret to
23     negotiate Kabateck’s multi-million-dollar payoff from the City, and in fact “tentatively” agreed
24     to an amount, they refused to disclose when asked by MJL to do so during a hearing on
25     November 18, 2021.
26            108.    These Three Friends have conspired, and are conspiring, to reward Mr.
27     Kabateck for his help to sweep Mr. Feuer’s incompetence, failures and carelessness in
28     prosecuting the City’s action against PWC under the proverbial rug and create the




                                                      23
                                                  COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 24 of 129 Page ID #:24



 1     “optics” that Judge Berle did not mishandle the LADWP/ PWC fiasco in a process that cost
 2     the City of Los Angeles taxpayers up to a billion dollars in lost revenue, in all likelihood.
 3            109.    On information and belief, Judge Berle will very likely approve the
 4     multimillion-dollar payoff by the City, at the expense of city of Los Angeles rate and
 5     taxpayers, as this is in line with the Public Relations (“PR”) stunt Judge Berle has been
 6     presiding over since PWC levied exaggerated allegations that the settlement that Judge Berle
 7     approved in 2017 was collusive.
 8            110.    On information and belief, the PR campaign directed from the bench intended,
 9     at least in some significant part, to clear Judge Berle from the “optics” that he was to blame, at
10     least in part, for approving the allegedly collusive settlement that cost the City’s rate payers
11     about 500 million dollars, and likely over a billion dollars.
12            111.    The confirmation of Judge Berle’s preoccupation with the appearance of things
13     came unequivocally on September 24, 2021 when Judge Berle expressly referred to “optics” as
14     within his jurisdiction as part and parcel of Judge Berle approving a cosmetic “clarification” of
15     the Jones Settlement agreement and judgment of 2017, while expressly ruling that the 2017
16     Jones Settlement and judgement were still fair, reasonable and adequate.
17            112.    In the meantime, MJL is still being contacted by his clients—the LADWP rate
18     payers—about unusually high water and power bills as recently as about a week prior to the
19     filing date of this Complaint; news reports, as recent as September 29, 2021, 1 and community
20     blog posts by disgruntled LADWP ratepayers express their frustration helplessness facing the
21     mighty LADWP.        All a testament to Kabateck ignoring the interests of the clients whose
22     interests he is obligated to advance and colluding with his friends who also proclaim to be
23     allegedly serving the interests of the same persons—the LADWP Ratepayers.
24            113.    On July 15, 2019, MJL personally delivered five banker boxes of documents
25     and a stack of nearly 1600 emails constituting MJL/ MJL APC’s file in Jones, per Mr.
26     Kabateck’s request and Judge Berle’s order.
27

28     1 https://www.circlingthenews.com/water-and-power-bills-too-high-call-ratepayer-advocate-
       pickel/#:~:text=Residents%20continue%20to%20be%20dismayed%20over%20the%20dramati
       cally,bills.%20There%20is%20supposed%20to%20be%20an%20option.

                                                       24
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 25 of 129 Page ID #:25



 1              114.   The FBI raided the DWP and City Attorney offices on July 22, 2019 as related
 2     to the overbilling class actions and the City’s case against PWC-in connection with the Jones
 3     and PWC’s action which was defended by Mr. Thomasch of the firm of The GD Firm, along
 4     with other associates and partners from The GD Firm’s Los Angeles Office.
 5              115.   Plaintiffs are informed and believe that defendant Ms. Mills, took part in, and
 6     and/ or led, raids at least on one, or more business locations on July 22, 2019.
 7              116.   Ms. Mills is a former associate of the Gibson Dunn, downtown Los Angeles
 8     Office. Ms. Mills is part of the Civil Rights Division of US Attorney’s Los Angeles Office.
 9              117.   Mr. Marc Eric Jenkins was at all relevant times the leader of the Civil
10     Rights Division and Public Corruption Division of the US Attorney’s Los Angeles, office.
11     Mr. Jenkins is also a former Gibson Dunn associate and the direct supervising attorney of Ms.
12     Mills.
13              118.   Ms. Mill and Mr. Jenkins were both, at all relevant times, under the supervision,
14     direction and/or management of Mr. Nicola Hanna who was head of the US Attorney’s for the
15     Central District Los Angeles during all relevant times until about January 2021.
16              119.   Mr. Hanna before joining the US Attorney’s Office was a partner of Gibson
17     Dunn, Los Angeles Office.
18              120.   Mr. Hanna returned to his position as partner at of Gibson Dunn’s Los Angeles
19     Office in January 2021.
20              121.   Plaintiffs believe and allege that at least the US Attorney’s Los Angeles office,
21     and particularly its Civil Rights and Public Corruption Section, was overstaffed with former
22     and current Gibson Dunn partners and associates who have had at all relevant times at least
23     divided loyalties between their official employer—the US Attorney’s Office—and their big-
24     law and corporate overlord—Gibson Dunn.
25

26                     **SEE DIAGRAM ON NEXT PAGE**
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                                                       25
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 26 of 129 Page ID #:26



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11            122.    Also on July 22, 2019, MJL deposition was being taken at the offices of Gibson
12     Dunn downtown Los Angeles office by attorney Michael H. Dore, partner in Gibson Dunn.
13            123.     From 2010 to 2015, Mr. Dore served as an Assistant United States Attorney in
14     the United States Attorney’s Office for the Central District of California, in Los Angeles.
15            124.    Mr. Dore threatened MJL with an FBI “investigation” during a deposition in
16     order to help his client PWC to gain advantage in the civil litigation with the City by
17     intimidating MJL, in violation of California Rules of Professional Conduct.
18            125.    On July 24, 2019, Mr. Kabateck stated in a filing that the class was owed an
19     additional $50 million falsely suggesting that this “newfound” money was due to the timing of
20     him being appointed by the trial Court/Judge Berle as New Class Counsel.
21            126.    Mr. Kabateck’s claim contradicts the actual evidence, and Mr. Kabateck made
22     this claim knowing it was false or with reckless disregard for the truth at minimum.
23            127.    At the same time, Mr. Kabateck went on a media blitz insinuating, falsely, that
24     prior lead class counsel, Mr. Landskroner, and MJL by implication, shorted the class $50
25     million. To date, there has been no evidence or finding of this alleged $50 million “shorting”,
26     on which incidentally, the Bradshaw Class action is founded, in large part, although the
27     Bradshaw lawsuit refers to “40 millions that is owed to the class.” Clearly, both of these claims
28     were at all times fabricated and without basis or foundation in evidence or reality.




                                                       26
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 27 of 129 Page ID #:27



 1              128.   Additionally, Mr. Kabateck made unfounded suggestions in court filings,
 2     media, and hearings that he suspected that MJL might have paid kickbacks or bribes out of his/
 3     its fee in Jones. None of this was true and Mr. Kabateck must have known this at all relevant
 4     times.
 5              129.   On August 2, 2019, Denis Bradshaw, a LADWP ratepayer, filed a Federal Class
 6     action in Central District, against City of LA, Michael Feuer, James, Clark, Thomas Peters,
 7     Jack Landskroner, MJL and MJL/APC, case number 2:19-cv-06661-CAS-PLA (“Bradshaw’”)
 8     based in large part on the false allegations of Mr. Kabateck regarding a $40 million “shorting”
 9     and alleged misrepresentations to the court (Judge Berle). Later Paul Paradis and Paul Kiesel
10     were added as additional defendants in Bradshaw.
11              130.   Bradshaw is currently stayed to allow Jones to reach some kind of finality.
12              131.   The only possible “finality” to Jones is the full and final opening of the
13     Pandora’s Box that Jones is to allow all the misery to come out now into public view and
14     consumption to fulfill the promise of transparency made by Mike Feuer, his office, City’s other
15     lawyers, PWC’s lawyers, Kabateck and the outgoing Mayor of Los Angeles City, Mr. Eric
16     Garcetti.            See            https://spectrumnews1.com/ca/la-west/this-month-with-the-
17     mayor/2019/09/04/garcetti--pleased--about-transparency-into-dwp-problems.
18

19         IX. MJL’S INVESTIGATION, THE PERSECUTION, VIOLATIONS OF CIVIL
20      RIGHTS OF MJL/MJL APC BY MR. KABATECK, JUDGE BERLE, MIKE FEUER,
21                                              ANNAGUEY
22              132.   On September 24, 2019, MJL/ MJL APC filed and served a Notice of Lien
23     against the City. The notice of lien was intended to put all concerned on notice of MJL/MJL
24     APC’s rights under the Jones Settlement and Final Judgment of July 7, 2017 to protect
25     MJL/MJL APC’s rightful prospective claim and entitlement to 29% of additional recoveries by
26     Class Members, as stated in the Order Granting Final Approval of Class Action Settlement and
27     Final Judgment—it is about $11 million.
28              133.   MJL pointed out to the trial court/Judge Berle that Mr. Kabateck’s claim of the




                                                      27
                                                  COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 28 of 129 Page ID #:28



 1     Shorted $50 million is nothing more than Mr. Kabateck’s ill-conceived attempt of trying to
 2     take an opportunistic credit for the work already completed and monies to be refunded to the
 3     ratepayers identified long before Mr. Kabateck even came into the picture, let alone the Jones
 4     settlement, as a result of work already completed by MJL/MJL APC, and Mr. Landskroner.
 5              134.     At a September 25, 2019 hearing the next day, Judge Berle visibly unleashed
 6     his ire at MJL for having filed the Notice of Lien.
 7              135.     Not only did Judge Berle aggressively interrogate MJL as to his right to file the
 8     Notice of Lien and ridiculed MJL’s responses, Judge Berle did so with an indecorously raised
 9     voice.
10              136.     Judge Berle yelled that he was “very upset” that [MJL] felt justified in filing a
11     notice of lien:
12              “MR. LIBMAN: WHY ARE YOU YELLING AT ME? I’M TRYING TO
13              UNDERSTAND.
14              THE COURT: WHY? MR. LIBMAN: -- AN APPLICATION GIVES YOU
15              JUSTIFICATION TO PLACE A LIEN ON THE CASE?”
16              137.     Most poignantly, although no party had objected to MJL/ MJL APC’s notice of
17     lien, Judge Berle prodded, invited and encouraged “any party who believes it is inappropriate
18     for [MJL] to file a lien on the case” to file “a motion to vacate or strike this notice of lien.”
19     Given the obvious subtext of Judge Berle’s invitation, and advisory opinion, to all to move to
20     strike MJL’s Notice of Lien, it became clear that Judge Berle was not going to fairly adjudicate
21     any motion related to MJL or entitlement to additional contractual fees.
22              138.     Judge Berle visibly appeared that he had made up his mind how he was going to
23     rule on any motion related to MJL’s fees before anyone had even filed any such motion or
24     application. Judge Berle appeared to have convicted MJL by association with Mr. Landskroner
25     who asserted his right against self-incrimination under the 5th Amendment, for reasons that
26     may never be truly know as he died in June of 2021.
27              139.     On September 26, 2019, Mr. Kabateck and the City filed a joint Application to
28     Disgorge Fees. No disgorgement was sought from any of the other attorneys in the Jones




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                                                     COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 29 of 129 Page ID #:29



 1     related class actions, who together received over $8 million from the settlement attorney fee
 2     fund of $19 million as they remained quiet and allowed the charade to go on unabated. On the
 3     same day, the City asserted in Bradshaw, that the Jones Order Granting Final Approval of
 4     Class Action Settlement and Final Judgment was final and therefore res judicata and could not
 5     be relitigated.
 6             140.      On September 26, 2019, the City, for speciously asserted reasons that witnesses
 7     were unavailable due to assertion of the 5th and despite the City prevailing against PWC’s
 8     motion for summary adjudication in late 2018 in the City of LA vs. PWC action, abruptly
 9     dismissed its lawsuit against PWC, with prejudice, abandoning the ratepayers and depriving
10     them and the taxpayers of the opportunity to recoup approximately hundreds of million in
11     damages the City [rightfully] alleged were caused by PWC in the course of the deployment of
12     the CC&B system.
13             141.      On recent information and belief, the City Attorney Mike Feuer was pressured,
14     and extorted, intimidated, by Gibson Dunn, by and through Melisa Mills, with the FBI behind
15     her, to drop their lawsuit against PWC under threats of criminal prosecutions and/ or California
16     State Bar action.
17             142.      On information and belief, Mr. Feuer improperly succumbed to the extortion
18     and intimidation, to safeguard his hopes for a political future, and dismissed the City’s action,
19     with prejudice, against PWC which cost the City of Los Angeles Taxpayers and LADWP
20     ratepayers hundreds of millions of dollars in potential recovery from PWC and/ or its insurers,
21     for PWC’s role in the CC&B rollout disaster.
22             143.      On information and belief, Mr. Feuer set out on a course of scapegoating,
23     framing, and otherwise violating MJL/ MJL/APC’s civil rights, in collaboration and support of
24     Mr. Kabateck’s scheme to scapegoat, frame and otherwise falsely accuse MJL, because this
25     would serve his own political and other goals by trying to shift responsibility to others away
26     from him. Plaintiffs believe and allege, that it would be an unmitigated disaster to allow Mike
27     Feuer to be put at the helm of the City [of Angeles].
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                                                    COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 30 of 129 Page ID #:30



 1            144.    It became increasingly apparent to MJL, that Mr. Kabateck was not acting
 2     properly and/or lawfully and Judge Berle was ignoring this and encouraging this conduct
 3     apparently, despite MJL repeatedly bringing this up in court papers and hearings.
 4            145.    MJL stated on the record at hearings, that MJL did not like what he was seeing
 5     going on and will continue to investigate independently.
 6            146.    On October 7, 2019, attorneys for Paul O. Paradis, filed a brief, with exhibits,
 7     showing that Mr. Kabateck failed to disclose that he was trying unsuccessfully behind the
 8     scenes to get involved in the Jones case from 2015, that Mr. Kabateck was a heavy political
 9     ally, donor and likely friend of his “opponent” City Attorney Mike Feuer.
10            147.    Judge Berle ignored this evidence of Mr. Kabateck’s deceit. MJL was calling
11     for the removal of Mr. Kabateck from his appointment as sole New Class Counsel, which was
12     also ignored by Judge Berle repeatedly.
13            148.    MJL requested a committee of three class counsel to be appointed, also ignored
14     by Judge Berle.
15            149.    At a hearing on October 18, 2019, attorney Katherine McCann for the City,
16     confirmed to Judge Berle that $38 million was not “newfound money” [due to sudden
17     appearance of Mr. Kabateck], was a product of past work, and in fact was already mostly paid
18     out to the class member by that time. This was the additional monies that created MJL’s right
19     to claim entitlement to 29% of it as fee per the Final Judgment of 2017.
20            150.    However, it was futile to apply for any further payments at least until the
21     investigations of Judge Berle, by and through Kabateck and Robbins, reached a conclusion on
22     the fairness, reasonableness, adequacy the Jones Settlement.2
23            151.    On October 23, 2019, the City lodged a report by ethics specialist Ellen Pansky,
24     Esq. about the Jones settlement. In her 178-page report, a product of 800 hours of work and
25

26
       2  Judge Berle on September 24, 2021, found that the entire Jones Settlement was/is fair,
27     reasonable and adequate, as more fully alleged infra. No mention of any collusion or fraud
       by MJL or others. Mr. Kabateck filed a Notice of Ruling in October 2021 that the Court
28
       found the entire Jones Settlement fair, reasonable and adequate.



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                                                  COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 31 of 129 Page ID #:31



 1     investigation, Ms. Pansky opined that while special counsel to the City had violated their
 2     ethical duties to the City by participating in the drafting of the Jones complaint without
 3     obtaining a conflict of waiver form from the City, they “violated no ethical duties in seeking to
 4     settle the class actions arising from the CC&B problems.” Ms. Pansky further noted that
 5     “lawyers are ethically permitted to participate in ‘friendly lawsuits’ and to negotiate with one
 6     of a group of opposing counsel.” Ms. Pansky, in effect, cleared MJL from any alleged
 7     unethical wrongdoing as MJL was not even mentioned in her ultimate conclusions.
 8            152.    In the meantime, on September 26, 2019, the City with Mr. Kabateck, filed an
 9     Application for OSC Re Issuance of Preliminary Injunction Requiring Disgorgement of
10     Attorney fees with a hearing date for December 2, 2019 based on a hodgepodge of unsupported
11     arguments of Mr. Kabateck and Ms. Annaguey of alleged but baseless improprieties.
12            153.    Since this was an entirely new proceeding, and MJL was never a party in the
13     Jones case, MJL filed a detailed declaration in support of MJL’s application for Recusal/
14     Disqualification of Hon. Elihu M. Berle from ruling on anything related to MJL specifically
15     because of Judge Berle’s apparent bias against MJL, and a C.C.P §170.6 (“170.6”) Peremptory
16     Challenge form against Judge Berle.
17            154.    On 11/21/2019 Judge Berle denied MJL’s 170.6 peremptory challenge as
18     untimely and struck MJL’s statement of disqualification, stating that he “knew no facts or
19     circumstances that could require [his] disqualification or recusal in this case.”
20            155.     On December 2, 2019, MJL filed a Petition for Writ of Mandate with the
21     California Court of Appeals, 2nd Appellate District, to overturn Judge Berle orders regarding
22     his disqualification.
23            156.    On December 12, 2019 Eric George’s associate, Ms. McCann, wrote a short
24     letter to the court asking for summary denial of MJL’s writ.
25            157.    MJL’s writ was denied on 12/16/2019.
26            158.    At a December 2, 2019 Jones hearing, MJL advised Judge Berle of the
27     suspicious representations by Mr. Kabateck in court papers wherein Mr. Kabateck claimed that
28     he spent 2,000 hours in 210 days since his appointment working on Jones, while Kabateck




                                                       31
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 32 of 129 Page ID #:32



 1     argued to the court that the 1,400 hours that MJL spent working on the DWP overbilling and
 2     Jones matter over five years was not plausible.
 3              159.   Judge Berle ignored MJL’s representations and instead cross-examined MJL, in
 4     a disrespectful tone and demeanor, as to the reasons of MJL not seeking to be lead counsel in
 5     Jones.
 6              160.   MJL advised Judge Berle that he put MJL in a position of getting MJL to
 7     inadvertently waive work product and attorney client privileges. It appeared from the body
 8     language and smile of Judge Berle that he was mocking MJL.
 9              161.   At the same hearing, MJL advised Judge Berle, that by that point he already
10     provided testimony and declarations that no kickbacks or any illicit payment were paid by MJL
11     to anyone.
12              162.   MJL represented to Judge Berle that MJL even offered to Kabateck to serve a
13     limited subpoena to MJL/APC’s bank with as many names as Mr. Kabateck wished to name to
14     verify that MJL/MJL APC did not make any illicit payments. That was rebuffed. Mr. Kabateck
15     wanted access to all of MJL’s personal finances.
16              163.   Through the abuse of power, ignoring of MJL’s due process rights under the US
17     Constitution, MJL was being oppressed, pressured, intimidated and coerced           to prove a
18     negative by intimidating MJL/ MJL APC into waiving all of MJL/MJL APC’s privacy rights,
19     others’ privacy rights, MJL/ MJL APC’s other clients’ confidentiality and privileges.
20              164.   Also, Mr. Kabateck argued to Judge Berle that Mr. Jones did not approve MJL’s
21     fees. When MJL read to Judge Berle the declaration of Mr. Jones filed in 2017 wherein Mr.
22     Jones unequivocally declared that he read all the documents and approved the settlement, and
23     all the attorney fees, including MJL’s, still Judge Berle appeared to ignore this irrefutable
24     evidence and accepted Kabateck’s baseless and false arguments.
25              165.   However, Judge Berle acknowledged at that hearing that MJL provided
26     accounting multiple times already.
27              166.   Still, Mr. Kabateck filed a false Notice of Ruling that the Court ordered MJL to
28     provide yet another accounting. MJL filed an objection promptly on December 19, 2019, also




                                                         32
                                                  COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 33 of 129 Page ID #:33



 1     ignored.
 2              167.   On December 18, 2019, Kabateck filed a motion to strike MJL’s notice of lien.
 3     MJL’s opposition clearly stated that even the law and cases cited by Kabateck in his motion
 4     hold that “[a]ppellate courts have consistently held that the trial court in the underlying action
 5     has no jurisdiction to determine the existence or validity of an attorney’s lien on the judgment.”
 6              168.   Regardless, Judge Berle struck MJL/MJL APC’s Notice of Lien in January
 7     2020 without having jurisdiction at all to do so.
 8              169.   On January 7, 2020, in preparation to oppose the OSC to disgorge fees, MJL
 9     filed an ex-parte application asking Judge Berle for leave to take the deposition of Kabateck as
10     Kabateck submitted a “factual” declaration in support of the OSC attaching as exhibits emails
11     wherein Kabateck called MJL “a clown” and MJL pointed all this out to the court/ Judge Berle.
12     This was ignored by Judge Berle who appeared to condone such behavior.
13              170.   In retaliation, Kabateck filed an ex-parte application to sanction MJL and
14     incarcerate him for failure to provide an accounting. This is despite Judge Berle’s then just
15     recent finding that MJL already provided accounting multiple times, as stated supra.
16              171.   On 1/10/2020, Judge Berle denied MJL’s application for leave to take the
17     deposition of MJL’s accuser, and undenied friend of Judge Berle, Mr. Kabateck.
18              172.   On the other hand, on 1/13/2020, Judge Berle granted Kabateck’s ex-parte for
19     an OSC why MJL should not be held in contempt and incarcerated for failing to file a
20     “complete accounting.”
21              173.   The hearing for the OSC was set for March 12, 2020 and then continued to
22     April 28, 2020 due to COVID-19.
23              174.   Also, the hearing on the disgorgement was stayed on 1/30/2020 allegedly per
24     the request of the US Attorney’s Office as represented by Mr. Kabateck to the trial court/Judge
25     Berle.
26              175.   On about 2/11/2020 the hearing on the OSC regarding contempt was continued
27     by stipulation to 4/30/2020.
28              176.   At a hearing on 2/14/2020, MJL advised Judge Berle that MJL felt harassed by




                                                       33
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 34 of 129 Page ID #:34



 1     Mr. Kabateck as it appeared to MJL that Mr. Kabateck’s plan was to harass MJL out of the
 2     Jones case so Mr. Kabateck could brazenly take credit for MJL’s work for Mr. Kabateck to
 3     fraudulently claim the 11-million-dollar outstanding attorney fees for himself.
 4            177.    Judge Berle cut MJL off and did not allow MJL to finish his argument. Instead,
 5     Judge Berle directed Mr. Kabateck’s associate to state her position.
 6            178.    MJL was also summarily removed by Judge Berle from his post as Liaison
 7     Counsel, without a motion, notice, or hearing or any finding of wrongdoing by MJL and in
 8     retaliation for MJL stating that he was investigating and was not “pleased with what [“MJL”]
 9     was seeing” as it appeared to MJL that Mr. Kabateck was colluding with PWC’s attorney’s and
10     the City of LA instead of making sure that the settlement was being implemented as was
11     agreed to and ordered on July 7, 2017.
12            179.     By the 1/30/2020 hearing, Mr. Kabateck filed reports with the court that he
13     [Kabateck] found no evidence that the Jones settlement was not fair, adequate and
14     reasonable.
15            180.    MJL advised all that what he saw happening was not in the best interest of the
16     class in accordance with MJL’s fiduciary duties to the class.
17            181.    Judge Berle mockingly asked MJL if MJL still believed that he had fiduciary
18     duties owed to the class. MJL had to politely remind Judge Berle that Judge Berle himself
19     ordered MJL in a prior hearing to maintain fiduciary duties to the class.
20            182.    Judge Berle then mockingly asked MJL if MJL is an officer of the court. MJL
21     responded in the affirmative. Judge Berle then continued to make mockery of MJL by quizzing
22     MJL on MJL’s obligations to the Court to which MJL politely responded that MJL is bound by
23     a duty of candor to the court and to MJL’s clients.
24            183.    Judge Berle’s tone, demeanor and expressions clearly indicated that he was
25     mocking MJL and tried to shame, humiliate and embarrass MJL.           Judge Berle then abruptly
26     ordered MJL to produce all of MJL time records that were submitted to support MJL’s fee
27     application in the Jones matter, again.
28            184.    MJL submitted detailed time records with his declaration and fee application in




                                                      34
                                                  COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 35 of 129 Page ID #:35



 1     2017.
 2             185.     MJL complied with the order and produced the records again.
 3             186.     MJL also expressly vowed to continue to monitor what is going on the Jones
 4     case and conduct his own investigation. MJL also advised that future lawsuits were likely as a
 5     result from what he was seeing and learning.
 6             187.     By that time, MJL already had evidence of Mr. Kabateck and Judge Berle being
 7     board members of the same organization at the same time and the many cases Mr. Kabateck
 8     appeared in before Judge Berle he appeared to be doing very well consistently. They appeared
 9     to be friends.
10             188.     Mr. Kabateck is also a past LA County Bar President and by his own admission
11     made at least $500,000.00 in political contributions, some of which Plaintiffs believe, and
12     therefore allege, were made in support of Judge Berle, in addition to those already uncovered
13     by Mr. Paradis and/ or his attorneys.
14             189.     Mr. Kabateck holds himself in high regard, and position of influence in the legal
15     community in Los Angeles, at least.
16             190.     On 4/17/2020 MJL filed in the trial court a second notice of fraud wherein Mr.
17     Kabateck falsely claimed that MJL did not file an opposition to the OSC regarding contempt
18     where in fact MJL did. No reaction from Judge Berle. On 4/23/2020 the Court continued all
19     hearings due to COVID-19 to 7/09/2020.
20             191.     On or about 6/22/2020, Kabateck filed his belated one-year 269-page report,
21     with exhibits, falsely representing to the court that MJL attended a certain key allegedly
22     improper meeting with Mr. Landskroner and Ms. Annaguey, and others, in April of 2018
23     where in fact Mr. Kabateck already knew that MJL did not attend that specific meeting or even
24     knew about it.
25             192.     Kabateck falsely alleged that on April 13, 2015 MJL was “presumably” part of
26     a telephonic conversation that MJL was clearly not a part of and Kabateck knew or must have
27     known this at all times.
28             193.     Mr. Kabateck falsely represented that MJL was part of another allegedly




                                                        35
                                                    COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 36 of 129 Page ID #:36



 1     improper conversation with attorney for the City Ms. Agrusa, which was also untrue.
 2            194.     Mr. Kabateck falsely and fraudulently attributed to MJL handwritten notations
 3     and alleged 10 pages of handwritten notes that were clearly not in MJL’s handwriting and
 4     Kabateck knew it at all times.
 5            195.     Kabateck falsely represented to the trial court that MJL did not produce a single
 6     email for 2015 contrary to the physical evidence in Kabateck’s possession in the form of
 7     hundreds of emails from 2015 from the stack of about 1600 emails that MJL produced to
 8     Kabateck personally.
 9            196.     Kabateck falsely represented again to the Jones trial court that MJL did not file
10     an opposition to the OSC despite MJL’s Second Notice of fraud by Kabateck filed on
11     4/17/2020.
12            197.     Despite requests for depositions of Ms. Annaguey and Ms. Agrusa to obtain
13     sworn testimony that MJL did not participate in that alleged meeting with Ms. Annaguey, the
14     false claims regarding the handwritten notes, and the alleged telephone conversation with Ms.
15     Agrusa, City and its outside counsel, Eric George and Ms. Annaguey refused to produce Ms.
16     Annaguey. Mr. Nichols on behalf of the City, Mr. George and Ms. Annaguey copied MJL on
17     an email to his partners that he was going to warn Ms. Agrusa in an apparent attempt to thwart
18     MJL’s quest for her deposition as well.
19            198.     Ultimately, since Mr. Kabateck, in collusion with others as more fully alleged in
20     this complaint, could not find any evidence of MJL’s wrongdoing, he, while colluding and
21     conspiring with other defendants, resorted to manufacturing “evidence” that was not there in
22     order to aid Mr. Kabateck in depriving MJL/MJL APC of his/its property and constitutional
23     rights, through unprecedented abuse of state power, and collusion with Judge Berle who
24     convicted MJL as guilty by association with people who themselves were merely under a cloud
25     of suspicions based on ultimately disproved claims and allegations, at all relevant times.
26

27                   X. THE FBI RAID ON THE INDIVIDUAL PLAINTIFFS’ HOME
28            199.     On 6/30/2020 at about 5:59 a.m., while MJL and his family were isolating at




                                                       36
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 37 of 129 Page ID #:37



 1     home due to COVID and all the restrictions, about 50, or more, FBI agents armed in tactical
 2     gear, loudly woke MJL, BL and the two Minors banging on the front door and announcing
 3     their presence via bullhorn(s).
 4            200.    The FBI Agents brought an armored personnel carrier and pointed what
 5     appeared to be a small cannon at the Libmans’ Home’s windows.
 6            201.    First thing that the FBI agents did, while loudly blazing over bullhorn(s) that
 7     they were there, they knocked off, broke and/ or partially disabled all the security/ surveillance
 8     cameras on the outside and inside of the Libmans’ Home with a metal stick.
 9            202.    Unbeknownst to the FBI agents and Ms. Mills, they were not entirely successful
10     in breaking or dislodging all the cameras and the DVR kept recording.
11            203.    Some of the cameras were dangling from the wall on wires and still capturing
12     video. (See photos attached as Exhibit 1 to this complaint)
13            204.    The FBI dragged MJL out, slapped a blue surgical face mask on MJL (most of
14     the government agents were without surgical face masks), and handcuffed MJL.
15            205.     MJL was pulled out into the middle of the street by one of the agents in tactical
16     gear and face shields at about 06:00:54.
17            206.    The entire street looked like a warzone. Agents pointed machineguns at
18     Plaintiffs’ neighbors as well who stepped out due to the loud noise the FBI was making to see
19     what was happening.
20            207.    Then Plaintiff BL and Minor “A” were dragged out into the street barely
21     clothed at about 06:03:03 to 06:03:39.
22            208.    The individual Plaintiffs were in utter shock, fear, terror, dismay, horror and
23     disbelief and did not know what was happening.
24            209.    Many FBI fully armed agents stormed the Libman Home and started
25     rummaging through it and the surroundings.
26            210.    Within a few minutes, Plaintiff BL and Minor “A” informed the FBI agents
27     holding them in the middle of the street that Minor “B” was sleeping upstairs.
28




                                                       37
                                                  COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 38 of 129 Page ID #:38



 1            211.    MJL also informed the agent who was holding MJL that Minor “B” was
 2     sleeping upstairs. The agent holding MJL appeared to convey what MJL had told him over a
 3     shoulder radio to someone.
 4            212.    At about 06:22:17 FBI agents escorted BL and Minor “A” back into the
 5     Libman Home and BL immediately wanted to go upstairs to get Minor “B” but was stopped at
 6     gun point by FBI agents and was not allowed to go upstairs to awake Minor “B.”
 7            213.    Within about a minute or so later, defendant Ms. Mills and other agents are seen
 8     huddled at the front of the Libman Home (judging from the video of their feet) to discuss what
 9     to do about Minor, on information and belief.
10            214.    At about 06:26:04, FBI Agent JIM DOE escorted MJL, while handcuffed and
11     still barefoot, back into the Libman Home.
12            215.    MJL was walked upstairs into Minor B’s bedroom, while handcuffed, into
13     Minor B’s bedroom.
14            216.    The child was clearly calmly sleeping in the child’s bed, partially covered with
15     a blanket, the child’s torso and upper body exposed.
16            217.    Agent JOHN DOE stood at the foot of the child’s bed and pointed the machine
17     gun/shotgun/ long gun that he was holding in the direction of the sleeping child’s torso/head.
18            218.    JIM DOE positioned MJL at the side of his child’s bed, near the sleeping child.
19            219.    Agent JOHN DOE, while still pointing the machine gun at the child’s
20     torso/head, laughingly said: “Your [child] is a heavy sleeper.” MJL did not respond.
21            220.    MJL was terrified that the child would be startled and make a sudden move that
22     would provoke the agent to open fire on the child. MJL thought at that moment that his
23     pounding heart would break through his chest wall.
24            221.    MJL kept calling out to his child, as quietly and as calmly as he could muster, to
25     wake up and the child finally did. Minor “B” was seized by Agent JOHN DOE and walked
26     down the stairs. Minor B has been severely traumatized by what the child experienced and
27     witnessed that day.
28            222.    Plaintiffs believe and allege that JOHN DOE pointed his machine gun at Minor




                                                       38
                                                    COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 39 of 129 Page ID #:39



 1     “B” while the child was visibly sleeping, in MJL’s presence, to convey the government’s and
 2     its co-conspirator’s message to MJL: “Shut up or else; we have your child[ren] in our gun
 3     sights.”
 4            223.      Shortly thereafter, MJL was led into Minor “A”’s bedroom where Assistant US
 5     Attorney Mills and 3-4 FBI agents sat MJL down, uncuffed him, and handed him the search
 6     warrants, one for person the other for the home.
 7            224.      The search warrants listed the following items to be seized:
 8                “ITEMS TO BE SEIZED The items to be seized are evidence, contraband, fruits, and
 9     instrumentalities of violations of 18 U.S.C §§371 (Conspiracy); 922 (o) (Possession of a
10     machine gun); 922 (a)(3)(Illegal transportation of firearms)…. Plaintiffs never possessed
11     machine guns or illegally transported any firearms nor did the FBI find any such machine guns
12     let alone evidence of gun smuggling. Also, item “e.” of the warrant states:
13

14
              “Records, documents, communications, or other materials
15
              from January 1, 2020, to the present reflecting plans to collect
16
              information about Judge Elihu Berle and Brian Kabateck or
17
              any existing collections of information about the same.”
18

19            225.      The search warrants for the Libman Home and MJL’s person, paragraphs 22,
20     respectively, expressly prohibited law enforcement from violating Graham v Conor 490 US
21     386 (1989), which the FBI, agents and Mills deliberately, recklessly, intentionally, and
22     maliciously disregarded by using excessive force against MJL and his family.
23            226.      At about 16 minutes into the FBI invasion, Ms. Mills, emailed one of MJL/MJL
24     APC’s attorney in the Bradshaw case, from the Libmans’ Home, telling MJL’s attorney that
25     they were there to search, and they wanted MJL’s “cooperation.” (See email as Exhibit 5
26     attached to this complaint).
27            227.      Upon, perusing the warrants and instantly realizing the unlawfulness of the
28




                                                        39
                                                    COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 40 of 129 Page ID #:40



 1     Search, MJL immediately advised all present that he considered the search unlawful and that
 2     he intended to seek redress through the courts. MJL requested business cards and Ms. Mills,
 3     Agent Civetti, and Agent Mayfield each provided a business card.
 4            228.    Another FBI agent asked MJL as they were retreating, apologetically already at
 5     that point, that they wanted MJL to “cooperate.”
 6            229.    At no time it was explained to MJL what the United States Government meant
 7     by “cooperate” or “cooperation.”
 8            230.    On information and belief, Ms. Mills provided a false probable cause telephonic
 9     statement to a federal magistrate judge to deceive him into signing off on the search warrants
10     based on false and/ or misleading/ deceptive claims that MJL possessed machine guns and was
11     involved in an illegal transportation of arms in order to deceive the Magistrate Judge to
12     authorize the government to execute an excessively intimidating and forceful search and
13     seizure warrants to get MJL to stop investigating Judge Berle and Kabateck.
14            231.     It is self-evident that the primary goal of the government raid was not to search
15     for any work product or evidence but to intimidate MJL because if the government was really
16     interested in MJL’s work product about Mr. Kabateck and Judge Berle all they had to do was
17     walk about 75 yards and cross the boulevard from where they were standing to MJL’s office
18     building located at the corner of the Libmans’ residential street and the boulevard, which the
19     government knew or must have known at all relevant times.
20            232.    The government never did walk across the boulevard, and, on information and
21     belief, never asked the magistrate judge to allow the search of MJL/APC office even though
22     they knew, or should have known, the address to MJL/MJL APC’s office as it was written all
23     over court papers in Jones, at the very least. It was also stated on MJL’s state bar profile at all
24     relevant times, and in the Bradshaw action.
25            233.    Plaintiffs are informed, believe, and therefore allege that the FBI raided the
26     offices of the DWP, City Attorney’s Offices, and the office of Ms. Paul Kiesel. Plaintiffs are
27     not aware of any information that anyone else involved in Jones experienced such an invasion
28     of their home as Plaintiffs did.




                                                       40
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 41 of 129 Page ID #:41



 1             234.    The FBI swatting-type raids have become known, and are described in the
 2     public lingo as, “the process is the punishment.” What happened in this case to the Plaintiffs,
 3     as alleged, clearly evidences that the public’s perception of these type of government raids is
 4     true. If the obscenely aggressive “process” of the government’s investigative raids on homes or
 5     business is perceived as meting out punishment through excessive use of force before
 6     evidence of any crime has been uncovered or charges brought, then “due process’s”
 7     underpinning of the US Constitution and out system of justice have been perverted by the
 8     federal government to simply mean “due punishment.”
 9

10                       XI. POST-FBI RAID RELEVANT FACTS AND EVENTS
11             235.    Over several months, two separate law firms retained by MJL/MJL APC made
12     repeated contacts and offers to come in and talk to the FBI and Ms. Mills to find out who
13     they/she wanted MJL to cooperate with and how. With The GD Firm? The US Government?
14     Someone else? Ms. Mills and the government disengaged contact with MJL’s legal teams after
15     several attempts.
16             236.    At no time did the government attempt to compensate at least BL, as the joint
17     owner of the Libmans’ Home, for the damage, destruction and/or cost of repair of the
18     governments’ taking of her property: the surveillance cameras, dining table and chairs.
19             237.    MJL did not stop investigating. MJL filed a Third Notice of Fraud against Mr.
20     Kabateck detailing all the fraudulent statements Kabateck/Mazzella made in his/its/theirs one-
21     year report, Judge Berle ignored these also.
22             238.    On July 27, 2020, at about 7:36 p.m., MJL personally served Mr. Kabateck, at
23     the driveway of Mr. Kabateck’s home, with subpoenas for Mr. Kabateck’s deposition and a
24     person most qualified of Kabateck LLP as Judge Berle appeared to have authorized MJL,
25     finally, at a hearing.
26             239.    MJL executed the lawful service of process with MJL’s then paralegal, now
27     associate, as a witness.
28             240.    The paralegal videotaped and photographed the interaction. Mr. Kabateck came




                                                      41
                                                  COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 42 of 129 Page ID #:42



 1     out rushing/charging from behind the gate took the subpoenas, ripped then to shreds, and
 2     tossed the shreds angrily on the hood of MJL’s car. (See photo attached to this complaint as
 3     Exhibit 6 )
 4            241.    Mr. Kabateck was aggressive and menacing.
 5            242.    Mr. Kabateck came within an inch of MJL’s face and MJL thought that
 6     Kabateck was going to strike MJL’s person.
 7            243.    MJL stepped back and walked away.
 8            244.    On August 3, 2020, Mr. Kabateck filed for an ex-parte restraining order against
 9     MJL Despite photographic evidence and declaration of MJL/APC’s paralegal that Mr.
10     Kabateck was the aggressor, and this was a lawful service of process, Judge Berle
11     pressured MJL at the hearing to stop investigating Mr. Kabateck.
12            245.    MJL respectfully declined.
13            246.    Therefore, Judge Berle, in retaliation, and in collaboration, conspiracy, with
14     Brian Kabateck, and others, issued a permanent restrainig order, skipping over the TRO or a
15     trial, against MJL not to come near Mr. Kabateck, his home, office, his partners, associates.
16            247.    California Judicial Cannon 3 D(5) states: “A judge shall not retaliate, directly
17     or indirectly, against a person known or suspected to have assisted or cooperated with an
18     investigation of a judge or a lawyer.”
19            248.    On 6/18/2020 Eric George’s firm and Mr. Kabateck filed a joint notice and
20     stipulation of lodging KPMG’s (auditor) executive summary of its report informing the court
21     that they were filing the entirety of the KPMG report under seal at the request of Mr. Kabateck.
22     That appeared suspicions to MJL.
23            249.    MJL objected to the KPMG report being filed under seal especially since Mr.
24     Kabateck asked for it to be hidden from the public and the ratepayers on the alleged ground
25     that it would endanger cyber security of LADWP. On information and belief this was a ruse,
26     as argued by MJL based on the evidence and declarations presented by the City.
27            250.    Ms. McCann, counsel of Eric George’s office, offered MJL to review the
28     KPMG report in person while she would watch MJL to try and make it appear that the Feuer/




                                                      42
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 43 of 129 Page ID #:43



 1     Kabateck were not trying to hide the truth from the public, and avoid the promised
 2     transparency.
 3             251.    MJL did review the KPMG report outdoors in a restaurant in Beverly Hills with
 4     Ms. McCann and her associate watching over MJL.
 5             252.    MJL was not allowed to make a copy or even take contemporaneous notes.
 6             253.    From MJL’s recollection, the KPMG report states that the CC&B system is
 7     subject to fraud and is highly flawed with many fixes still required.
 8             254.    On or about July 1, 2021, MJL filed and served an “OPPOSITION AND
 9     OBJECTION TO COLLUSIVE JOINT REQUEST OF NEW CLASS COUNSEL AND CITY
10     OF LOS ANGELES TO FILE KPMG’S FULL REPORT UNDER SEAL” with the trial court/
11     Judge Berle stating that the request to seal the KPMG is a ruse to hide Mr. Kabateck’s/ City’s
12     failure to do what they were obligated to do for the ratepayers under the Jones Settlement and
13     that the ratepayers are at high risk of serious harm.
14             255.    Judge Berle ignored MJL once again and sealed the report where KPMG states
15     that the flaws with the CC&B system are not being fixed as the settlement agreement
16     mandates.
17             256.    Judge Berle ordered MJL to submit to two more Zoom remote depositions while
18     Judge Berle was presiding remotely from his chambers.
19             257.    At MJL deposition, Volume 2, on October 23, 2020, Kabateck’s began with the
20     admonition that MJL should assert the 5th Amendment. Judge Berle said nothing after MJL
21     inquired of Mr. Kabateck why he was admonishing Mr. Libman to assert the 5th Amendment
22     against self-incrimination. MJL interpreted this admonition to be what it was intended to
23     communicate: an implied threat of criminal prosecution for Ms. Kabateck to get an advantage
24     in the Jones civil class action to step into MJL/MJL APC’s shoes regarding paragraph 13 of the
25     July 2017 Final Judgment in order, in collusion with others as more fully alleged in this
26     complaint, and deprive MJL of the right claim to 29% from the City the additional attorney
27     fees.
28             258.    The threat of criminal charges, in the context of this action and the preceding




                                                       43
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 44 of 129 Page ID #:44



 1     events, is a violation of California Rules of Professional Conduct Rule 3.10(a) which states:
 2            “A lawyer shall not threaten to present criminal, administrative, or disciplinary
 3            charges to obtain an advantage in a civil dispute.”
 4            259.    About 99% of MJL’s proper and legitimate objections, including privacy, work
 5     product and attorney client privilege were instantly overruled by Judge Berle during Vol 2 of
 6     the deposition. Apparently, MJL/ MJL APC, or its clients, had no rights or privileges in Judge
 7     Berle’s court, including the attorney client privilege.
 8            260.    When MJL asked to adjourn to allow briefing of the issues, Judge Berle refused.
 9            261.    Mr. Kabateck inquired about MJL’s resume submitted in 2017 in support of
10     MJL’s fee application and insinuated that the resume was not accurate as it related to the class
11     actions MJL collaborated with the Kingsley firm.
12            262.    Near the time of the deposition on October 23, 2020, MJL discovered through
13     investigation and search of public records the following:
14                   a. Judge Berle on July 7, 2017 signed the order/ judgment approving the $67.5
15                       million Jones, settlement, with likelihood of a higher recovery;
16                   b. Public records show that days after Judge Berle signed the 67.5 million Jones
17                       Settlement, on July 14, 2017, Judge Berle personally entered into a contract
18                       to purchase, cash, a nearly 5,000 square foot estate on nearly half an acre of
19                       land in the hills of Tarzana, in a neighborhood riddled with celebrity multi-
20                       million-dollar estates;
21                   c. Days after the Jones Settlement was funded, Judge Berle paid, in cash,
22                       $1,645,000.00 for his new abode when the sale was closed on August 10,
23                       2017. MJL received his court-approved fee distribution from Mr.
24                       Landskroner on about August 4, 2017.
25            263.    It appeared at all relevant times, as it still does, and reasonably should to any
26     one who does any investigative work, that the timing of the purchase of the mansion in the hills
27     of Tarzana that overlapped with the signing of the Jones Settlement Agreement and its funding
28     appears to be suspicious. It could be a coincidence. However, not fully and thoroughly




                                                        44
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 45 of 129 Page ID #:45



 1     investigating this would amount to investigative malpractice and a violation of MJL fiduciary
 2     duties, ironically, ordered by Judge Berle for MJL to maintain even after Judge Berle
 3     “dismissed” MJL improperly, months before, from his post as Liaison Counsel.
 4            264.    Given the suspicious and improper acts and omission MJL was uncovering and
 5     observing going on in the Jones matter, during MJL’s deposition, and what MJL already knew
 6     and experienced as a result of the US government’s invasion on June 30, 2020, MJL felt
 7     compelled, and duty bound, to ask Judge Berle during MJL’s deposition about Judge Berle’s
 8     real estate transaction because of the suspicious timing of the cash purchase intertwined with
 9     Judge Berle’s approval of the 67.5-million-dollar Jones Settlement and its funding. Judge
10     Berle’s face turned red, and he responded that he would not dignify MJL’s question with a
11     response. Mr. Kabateck instantaneously rushed to the defense of Judge Berle, as any good
12     friend would do, instead of considering the possible implications of this evidence.
13            265.    Then Judge Berle ordered Mr. Kabateck to take whatever “enforcement
14     procedures are appropriate” against MJL.
15            266.    A Daily Journal reporter, Mr. Blaise Scemama, was invited by Mr. Kabateck to
16     attend MJL’s deposition. On information and belief, Ms. Scemama was invited because Mr.
17     Kabateck intended, and very likely expected, to intimidate MJL into asserting the 5th
18     Amendment to enable Mr. Scemama to write and publish an article in the Daily Journal that
19     MJL asserted the 5th so Kabateck could continue to propagate the improper narrative that there
20     must be criminality just because people asserted their constitutional right under the 5th
21     Amendment. Mr. Scemama did write an article about some of MJL’s testimony, as Mr.
22     Scemama interpreted the testimony to be.
23            267.    On November 23, 2020, during MJL’s third deposition, also via Zoom and
24     presided by Judge Berle remotely, Mr. Kabateck continued to harass and oppress MJL with
25     clearly improper and invasive questions intended to intimidate MJL in the presence of Judge
26     Berle. When MJL tried to cite the law to inform Mr. Kabateck, and alert Judge Berle, that Mr.
27     Kabateck is acting contrary to law, Mr. Kabateck stated: “I don’t care to hear the law.” There
28     was no response or admonishment from Judge Berle.




                                                      45
                                                  COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 46 of 129 Page ID #:46



 1            268.    The following occurred at the deposition of November 23, 2020: “The Witness
 2     [MJL]: Please don’t yell at me, Your Honor. I’d appreciate—The Court: I am not yelling. I am
 3     speaking in a normal voice. And don’t try to create an erroneous record.”
 4            269.    MJL is informed and believes that Judge Berle must have forgotten that MJL
 5     gave formal notice of MJL’s joinder in the deposition that MJL will also be recording the
 6     entire proceeding digitally or otherwise. There were no objections raised or filed. The video
 7     and audio file of that Zoom deposition will speak for itself as Judge Berle was still yelling at
 8     MJL while Judge Berle was denying that he was yelling at MJL, while accusing MJL that MJL
 9     was the one making an erroneous record.
10            270.    At this deposition, Mr. Kabateck inquired about MJL’s billing records
11     submitted in support of MJL’s fee application in 2017 in Jones. Mr. Kabateck inquired about
12     MJL’s contemporaneous time records. These questions were asked of MJL briefly during
13     MJL’s first deposition in 2019 at The GD Firm and responded that these were entered
14     electronically for the most part in a spread sheet at that time.
15            271.    MJL testified that in 2018, MJL/APC suffered a cyber-attack, and many
16     Microsoft Excel, other files and electronically stored records in several cases, including Jones,
17     were corrupted, overwritten, or lost, and hardware was irreparably damaged and replaced in
18     2018. MJL provided the name of the reputable third-party IT company that has maintained
19     MJL/APC’s computer systems since 2016.
20            272.    On January 4, 2021, Brian Kabateck electronically filed three untimely motions
21     for: 1) for an injunction for an order to disgorge MJL’s $1.65 million fee; 2) for monetary
22     sanction of over $116,000 and for evidentiary and terminating sanctions; 3) for OSC for
23     contempt sanctions of over $44,000 all over the same “discovery issues”. Discovery was never
24     formally reopened by the trial court in Jones post the Final Judgment. None of the Motions
25     were personally served as mandated under the Code of Civil Procedure as MJ/MJL APC were
26     never parties in Jones.
27            273.    In support of Mr. Kabateck’s motions Mr. Eric Kingsley submitted a very brief
28     and false declaration declaring that MJL was in essence merely a tenant and did not “work”




                                                        46
                                                    COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 47 of 129 Page ID #:47



 1     with the Kingsley’s on employment class actions over the time that MJL was there.
 2            274.    Kabateck also submitted another declaration full of falsehoods, misstatements
 3     and mischaracterizations in support of his motions.
 4            275.    At a hearing on 1/27/2021, MJL requested again to take the deposition of Mr.
 5     Kabateck as he already had three depositions of MJL and MJL still could not get even one to
 6     inquire about all of Mr. Kabateck’s claims and allegations against MJL.
 7            276.   Judge Berle denied MJL’s request, again. At the same hearing judge Berle
 8     denied MJL/ APC’s IT person’s motion protective order to limit the scope and protect the IT
 9     person from unwarranted intrusion into his privacy and his cyber security protocols and of
10     MJL/APC.
11            277.   Judge Berle ordered an unlimited deposition of the IT person without setting a
12     specific date. MJL requested at least the depositions of Mr. Kabateck, Mr. Eric Kingsley, Mr.
13     George Kingsley, Mr. Paul Bender. Judge Berle ordered only the deposition of Mr. Kingsley
14     for February 8, 202, probably mistakenly.
15            278.   Although Mr. Paul Bender submitted a misleading declaration in support of Mr.
16     Kabateck’s motions Judge Berle denied MJL’s request to take the deposition of Mr. Bender to
17     prevent MJL/MJL APC ability to fairly oppose Kabateck’s motions.
18            279.    Judge Berle continued the hearing on Kabateck’s motions to March 4, 2021.
19            280.   When MJL served the deposition notice for Mr. Kingsley’s deposition, MJL
20     asked for one category of documents to be produced: all communications between Mr.
21     Kabateck and Mr. Kingsley about the declaration Mr. Kingsley submitted in support of
22     Kabateck’s three motions.
23            281.   Mr. Kabateck just blew up in a litany of threatening and aggressive emails.
24            282.   Eventually, the Kingsley firm produced some email correspondence, and one of
25     six drafts of the Kingsley declaration. Five drafts were suppressed and never produced.
26            283.   At the deposition on February 8, 2021 of Mr. Eric Kingsley, Mr. Kingsley
27     testified that he knew MJL as honest and ethical person and attorney until October 13, 2020
28     when he spoke to Mr. Kabateck and Mr. Kabateck told him “only bad things” about MJL.




                                                      47
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 48 of 129 Page ID #:48



 1              284.   Mr. Kingsley admitted that the declaration he signed was drafted by Mr.
 2     Kabateck’s office, that Mr. Kingsley did not speak to anyone other than Mr. Kabateck, not
 3     even anyone in the Kingsley Firm before he signed “his” declaration.
 4              285.   Mr. Kabateck referred to Mr. Libman as “an idiot” during the deposition.
 5              286.   Mr. Kabateck coached and encouraged Mr. Kingsley on the record for Mr.
 6     Kingsley not to disclose to MJL the meaning of “only bad things” expressly to try and preempt
 7     a defamation claim by MJL against Mr. Kabateck. Mr. Kingsley complied with Mr. Kabateck’s
 8     coaching and colluded with Mr. Kabateck in this regard, in furtherance of the conspiracy to
 9     falsely accuse, frame, scapegoat, intimidate and deprive MJL/ MJL of his constitutional, civil
10     and property rights.
11              287.   Eric Kingsley, in the apparent encouragement of Mr. Kabateck, referred to MJL
12     as “stupid.”
13              288.   Mr. Kingsley admitted that MJL speaks English with a foreign accent.
14              289.   Mr. Kingsley admitted that to even respond to MJL’s question about someone
15     speaking with an accent would be considered racial stereotyping.
16              290.   In MJL’s supplemental opposition and objections to Mr. Kabateck’s evidence,
17     MJL submitted a declaration from attorney Scott A. Miller who also collaborated with MJL
18     and the Kingsley firm on at least half of the same cases stated in MJL’s 2017 fee application in
19     Jones.
20              291.   Defendant Eric Kingsley admitted that the Kingsley’s asked MJL to join the
21     Kingsley Suite to create “synergy” and to collaborate on cases. Most of the cases the Kingsley
22     & Kingsley have done over the years were employment class actions, and some consumer class
23     actions.
24              292.   Mr. Miller declared that he was shocked at the negative tenor of Mr. Kingsley’s
25     declaration and deposition testimony and confirmed that indeed MJL collaborated on at least
26     those cases that Mr. Miller also collaborated with the Kingsley firm.
27              293.   MJL/APC’s IT person also submitted a declaration with a copy of another
28




                                                      48
                                                  COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 49 of 129 Page ID #:49



 1     declaration filed by the IT person in 2018 in an unrelated civil case attesting to the cyber-
 2     attack, damaged files and lost electronic data in the course of routine and good faith operation
 3     of the firm’s computer system. Judge Berle ignored this evidence as well.
 4            294.    California Code of Civil Procedure §2021.310 states: “absent exceptional
 5     circumstances, the court shall not impose sanctions on a party or any attorney of a party for
 6     failure to provide electronically stored information that has been lost, damaged, altered, or
 7     overwritten as the result of the routine, good faith operation of an electronic information
 8     system.”
 9            295.    On March 4, 2021, Judge Berle, held a “hearing” on Kabateck’s untimely
10     “motions” including the one for OSC RE Contempt. California Code of Civil Procedure and
11     Los Angeles Superior Court Local Rule 3.11(b) mandate:
12            “3.11 (b) Trial. The hearing on the OSC re: contempt is in the nature of a quasi-
13     criminal trial. The accused person has the right to appointed counsel, to remain silent, to
14     confront and cross-examine witnesses, and to be proven guilty beyond a reasonable doubt. The
15     only major difference between contempt and a criminal trial is that the accused person has no
16     right to a jury. The moving party must appear for the trial with witnesses prepared to testify
17     unless the accused person stipulates in writing that the moving party’s declarations will
18     constitute the case-in-chief against him or her. If there is no stipulation, the parties should
19     stipulate that the moving parties’ declarations will constitute the direct testimony of each
20     declarant, with the declarant then subject to cross-examination.”
21            296.    No witnesses were sworn to testify and no stipulations entered into.
22            297.    On March 4, 2021, Judge Berle declined to recuse himself from “hearing” the
23     OSC; did not conduct a trial; did not take testimony under penalty of perjury; allowed Mr.
24     Kabateck to merely argue and submit his own declaration and declaration of Mr. Paul Bender
25     wherein MJL was denied any opportunity to cross examine Mr. Kabateck or Mr. Bender; and
26     read from a prepared ruling wherein Judge Berle ordered disgorgement sanctions of $1.65
27     million of MJL’s fees, over $116,000.00 in monetary sanctions in the form of attorney fees,
28     issued evidentiary and terminating sanction (wherein MJL was not a party in Jones at any




                                                       49
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 50 of 129 Page ID #:50



 1     time); entered MJL’s default even though MJL was never a party in Jones; granted the motion
 2     for OSC for contempt relating to discovery and ordered more monetary sanctions for over
 3     $44,000.00 in connection with the same “discovery issues.” The prepared written ruling
 4     reading by Judge Berle, drafted and based on Kabateck’s proposed ruling, is proof positive that
 5     Judge Berle had no intent at any time to even listen, let alone consider, anything MJL would
 6     say, or to any evidence that would contradict what his friend Mr. Kabateck was alleging.
 7     Complete denial of substantive due process due MJL. This “hearing” was an entirely lawless
 8     proceeding and an unfair “trial” in violation of the Fourth, Fifth, Sixth Amendments and
 9     Fourteenth Amendments o the US Constitution.
10              298.   On September 24, 2021, Judge Berle, approved a “clarification” of the Jones
11     settlement agreement while appointing Mr. Siva Thorpe, who was at all times a teammate of
12     Mr. Paul Bender, the Independent Monitor, to continue monitoring the LADWP. Judge Berle
13     found that Kabateck did not conduct any formal discovery and relied only on information
14     provided by “LADWP” in his “investigation”—all the things Kabateck publicly complained
15     off were allegedly wrong with the Jones Settlement. Apparently, defendants are subscribers to
16     the “rules for thee and not for me” school of thought. Hypocrisy, dishonesty and malice by
17     Kabateck and co-conspirators to cover up very costly bad decisions.
18              299.   On or about November 18, 2021, the City filed an Application with the Jones
19     trial court/ Judge Berle, to file KPMG’s second audit report regarding the CC&B, under seal,
20     again.
21              300.   On December 1, 2021, Kabateck, on behalf of the Jones class, filed with the
22     trial court in Jones notice that he does not intend to even oppose the City’s application to file
23     KPMG’s second report under seal. Plaintiffs believe and alleges, that KPMG’s reports identify
24     serious ongoing problems with the CC&B billing system that the City/ LADWP, Mike Feuer,
25     Kabateck, are part of clandestine conspiracy to conceal, coverup and hide from the public the
26     true extent of the ongoing, inexcusable, illegal, and reckless failures of City/ LADWP to fix,
27     remedy, and/ or repair CC&B’s disastrous ongoing failures and deficiencies since it was
28     launched.




                                                      50
                                                  COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 51 of 129 Page ID #:51



 1            301.    Widespread news and media reports of a plea deal between the Assistant US
 2     Attorney, Los Angeles Office and Mr. Paradis of November 29, 2021, allege that the
 3     independent monitor, Mr. Bender, was a recipient of “gifts” from Mr. Paradis and Mr. Paradis
 4     allegedly “drafted nearly all” of the independent monitor’s reports. If proven true, MJL had no
 5     idea or knowledge at any time until this was reported in the online publications on November
 6     29, 2021 that these alleged transactions between Mr. Paradis and Mr. Bender occurred. MJL
 7     finds these revelations shocking, if they are proved true.
 8            302.    However, this new development should also provide an explanation as to why
 9     Judge Berle refused MJL’s request to take the deposition of Mr. Bender who submitted the
10     misleading declaration in January 2021 in support of Mr. Kabateck’s motions, as Mr. Bender
11     already was represented by a white-color-crime criminal defense attorney—Ms. Nina Marino.
12     https://kaplanmarino.com/nina-marino/. Plaintiffs, therefore, reasonably infer, and therefore
13     allege, that Mr. Bender was also being pressured by Mr. Kabateck, and/ or Kabateck’s co-
14     conspirators, to frame and falsely accuse Mr. Libman in order to enable Kabateck and his co-
15     conspirators to take MJL’s and MJL/APC’s property, and violate MJL/ MJL APC’s
16     constitutional rights, while railroading and scapegoating MJL/APC.
17            303.    MJL also had no knowledge, notion, or idea regarding any referral fees, bribes
18     or kickbacks to Mr. Paradis of $2.2 million through some questionable real estate entities,
19     allegedly, or others, from Mr. Landskroner as reported in the news media. MJL finds these
20     reports, and the plea deal—shockingly troublesome, if true. MJL would have blown the
21     proverbial whistle immediately had he known about any illegal bribery schemes. Plaintiffs
22     believe that if these allegations prove true, MJL was not told of these bribery allegations
23     because all concerned must have known that MJL would have never gone along with them.
24            304.    MJL/ MJL APC claims, believe and allege, that Judge Berle committed multiple
25     acts of misconduct in violation of Judicial Cannons, that amount to violations of First, Fifth,
26     Sixth, Eighth and Fourteenth Amendments to the US Constitution, that include: (1) Abuse of
27     Bench Authority In Performance of Judicial Duties; (2) Ex Parte Communications; (3) Failure
28




                                                       51
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 52 of 129 Page ID #:52



 1     to Insure Rights; (4) Obvious and displayed bias and animosity directed at MJL from the
 2     bench; (4) Failure to Recuse or Disqualify himself due to undisclosed conflict of interest,
 3     despite multiple requests; (5) Abuse of Contempt and Sanction Power; (6) Hostile Demeanor;
 4     (7) Making a false record of his comments during one of MJL’s depositions Judge Berle
 5     presided over; (8) retaliated against MJL for MJL’s investigating Judge Berle, Mr. Kabateck
 6     and others.
 7            305.    Judge Berle violated MJL’s constitutional rights including, First Amendment to
 8     the US Constitution’s freedom of speech; 5th Amendment’s equal protection based on national
 9     origin; 5th Amendments’ Equal Protection clause to be free for discrimination based on
10     national origin; denied due process under the US Constitutions 4th and 14th Amendments and
11     denied cross examination and fair trial per the 6th Amendment. Pursuant to 42 USC §1983,
12     Plaintiffs MJL and MJL APC are seeking an immediate prospective remedy from the federal
13     court to enjoin Judge Berle from further violating MJL/ MJL APC’s Constitutional rights
14     under the US Constitution, a declaration that MJL’s constitutional rights have been violated,
15     and that MJL/ MJL APC’s are entitled to be heard on all issues relating to the Jones matter by
16     a different and unbiased California State Court judge who will be determined by a procedure to
17     be delineated in this litigation to guarantee that the new judge will have no prior affiliation or
18     dealings of any kind with the parties, or attorneys in Jones or in this federal action to insure
19     MJL/ MJL APC’s constitutional rights.
20

21                                XII. CLASS ACTION ALLEGATIONS
22            306.    Plaintiffs reallege and incorporate by reference each and every allegation set
23     forth in all preceding paragraphs as if set forth herein verbatim.
24            307.    Plaintiff BL seeks to maintain this action on behalf of herself and all others
25     similarly situated under Rule 23(b)(2) of the Federal Rules of Civil Procedure. A class action is
26     superior to other available methods for the fair and efficient adjudication of this controversy.
27     Plaintiff proposes the following class definition: “All citizens and residents of the United State
28     of American who were at any time in the past two years to the present, going forward, were,




                                                       52
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 53 of 129 Page ID #:53



 1     are, subject or subject of an execution of a search warrant of their person, home or place of
 2     business, in the course of which outdoor and/ or indoor surveillance cameras and/or component
 3     digital recording media were destroyed, disconnected, disabled, or otherwise rendered
 4     inoperable by federal law enforcement.
 5            308.    This action meets all the Rule 23(a) prerequisites for maintaining a class action.
 6            309.    Numerosity under Rule 23(a)(1): The putative class and subclasses are so
 7     numerous that joinder of all members is impracticable.
 8                   a. The Proposed Class:
 9                       i. Thousands of sealed and unsealed search warrants were executed by the
10                           US Government law enforcement in the past two years wherein
11                           surveillance cameras and/ or component parts were either disconnected,
12                           destroyed, damaged or rendered inoperable during execution of search
13                           warrants;
14                       ii. On information and belief, per the 2020 US Census Bureau, 258.3
15                           million people were adults 18 years or older living in the USA;
16                       iii. On information and belief, millions of households and businesses have
17                           some sort of outdoor and/ or indoor surveillance system(s) that include
18                           cameras and digital recording media devices. Private surveillance
19                           cameras in/on/ at homes and businesses is already ubiquitous in America,
20                           and their use is accelerating rapidly. The search for the truth and
21                           transparency demand that federal law enforcement be enjoined and
22                           prohibited from destroying, disabling, damaging or rendering inoperable
23                           any home or business of any American.
24            310.    Commonality under Rule 23(a)(2): This action presents questions of law and
25     fact common to the putative class, resolution of which will not require individualized
26     determinations of the circumstances of any particular plaintiff. Common questions include but
27     are not limited to:
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                                                       53
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 54 of 129 Page ID #:54



 1                   a. The Proposed Class:
 2                         i.    For the class as a whole, does the government’s practice of disabling,
 3                               disconnecting, destroying, or otherwise rendering inoperable of a home’
 4                               or business’ surveillance cameras and/ or component parts during
 5                               execution of a search warrant, violate the Fourth Amendment?
 6                         ii.   For the class as a whole, does the government’s practice of disabling,
 7                               disconnecting, destroying, or otherwise rendering inoperable of a home
 8                               or business surveillance cameras and/ or component parts during
 9                               execution of a search warrant, violate the Fifth Amendment amendments
10                               takings clause?
11            311.       Typicality under Rule 23(a)(3): Plaintiffs’ claims are typical of the claims of the
12     putative class.
13                   a. The Proposed Class:
14                         i. Plaintiff’s claim and the putative class members’ claims arising out of the
15                               same course of conduct of the government, are based on the same legal
16                               theories and involve the same harms.
17                         ii. Plaintiff seeks the same class-wide declaratory and injunctive relief for
18                               herself and for the other members of the putative class.
19            312.       Adequacy of representation under Rule 23(a)(4): The interests of the putative
20     class are fairly and adequately protected by Plaintiff and her attorney.
21                   a. The Proposed Class:
22                         i.    Plaintiff adequately represents the putative class because their interests
23                               are aligned and there are no conflicts of interest between the Plaintiff
24                               and members of the putative class. Like other members of the class, her
25                               property was searched and seized in violation of the Fourth and Fifth
26                               Amendments, and the government is free to continue its unconstitutional
27                               practice of destroying, disabling, disconnecting or otherwise rendering
28                               inoperable the ubiquitous surveillance cameras and/ or recording




                                                          54
                                                      COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 55 of 129 Page ID #:55



 1                           equipment during execution of a search warrant to avoid transparency
 2                           despite the proclamation of the US Attorney General that at least body
 3                           cams are required “to promote transparency and confidence” in law
 4                           enforcement. Full transparency mandates that the government will not
 5                           be allowed to destroy evidence of how it conducts searches of homes
 6                           and businesses. Things are either transparent or opaque. There cannot
 7                           be a middle ground.
 8                     ii.   Plaintiff and the putative class members are ably represented by attorney
 9                           Michael J. Libman of Law Offices of Michael J. Libman, APC, who was
10                           the investigating, local and Liaison Counsel in Jones, a historic class
11                           action settlement achieved through “Herculean” efforts of the attorneys
12                           in Jones, including Plaintiff’s counsel herein, a settlement that already
13                           achieved a recovery of about $100,000,000 to the LADWP ratepayers
14                           since 2017 to the present, and evidently found by the Jones trial court to
15                           be fair, reasonable and adequate, despite criticism and baseless
16                           allegations by others, by the same trial court twice: once in 2017 and
17                           then on September 24, 2021. Through the travails of Jones, MJL has
18                           achieved substantial, particularized experience, and knowledge litigating
19                           the issues involved in this case. Michael J. Libman, Esq. is uniquely
20                           qualified to handle the class claim(s) in this case.
21            313.   This action also meets the requirements of, and is brought in accordance with,
22     Rule 23(b)(2) of the Federal Rules of Civil Procedure.
23                   a. The Proposed Class:
24                       i. Defendants have acted, or refused to act, on grounds generally
25                           applicable to the putative class. Specifically, on June 30, 2020, prior to
26                           and thereafter, to the present, on information and belief, the government
27                           conducted, and has been conducting searches and seizures of homes or
28                           businesses during which the government destroyed, disabled, damaged,




                                                      55
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 56 of 129 Page ID #:56



 1                            or otherwise rendered inoperable, surveillance cameras and related
 2                            equipment of a searched home or business.
 3                        ii. Final injunctive and declaratory relief is appropriate with respect of the
 4                            members of the class, otherwise the government will continue its
 5                            unconstitutional practice of destroying, disabling, damaging or
 6                            otherwise rendering inoperable security cameras of American homes and
 7                            businesses, undeterred, during searches of American homes or
 8                            businesses. The government cannot be allowed to suppress and destroy
 9                            evidence of its abuses and misconduct in the name of the people.
10            314.    Finally, as per Rule 23(b)(2)’s requirement that class must be ascertainable, this
11     action satisfies that requirement. The membership of the putative class and subclasses are
12     ascertainable because the government maintains records of the identity of those persons, homes
13     or businesses where the government executed search warrants. Also, while notice is not
14     required for class action brought under rule 23(b)(2), the government’s records contain contact
15     information for all members of the proposed class as government maintains records of those
16     whose homes or businesses were searched, such that notice could easily be provided should the
17     Court deem it appropriate.
18

19                                         XIII. CLASS CLAIMS
20       COUNT I: SEIZURE AND DESTRUCTION OF SECURITY CAMERAS VIOLATE
21                            THE FOURTH AND FIFTH AMENDMENTS
22                               (Against the US Government Defendants)
23            315.    Plaintiffs reallege and incorporate by reference each and every allegation set
24     forth in all preceding paragraphs as if set forth herein verbatim.
25            316.    Defendants, and each of them, acting under color of state law, conspired to
26     deprive, Plaintiffs of their rights under the laws of the United States and US Constitution.
27            317.    Specifically, Defendants conspired with, and did unlawfully seize Plaintiffs'
28     personal property without a valid warrant, court order, consent, probable cause, or exigent




                                                       56
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 57 of 129 Page ID #:57



 1     circumstances.
 2            318.      The conduct of Defendants, and each of them, interfered with Plaintiffs' rights,
 3     including their rights to be protected against unlawful search and seizure under the Fourth
 4     Amendment and Fourteenth Amendments of the Constitution of the United States, and the
 5     right to be free of government interference as guaranteed by the First and Fourteenth
 6     Amendments of the Constitution of the United States.
 7            319.      Plaintiffs did in fact suffer the deprivation of numerous rights granted to citizens
 8     of the United States, including those under the Fourth Amendment that protect against
 9     unreasonable seizure, and those under the Due Process Clause of the Fourteenth Amendment.
10     Defendants, and each of them, engaged in said conspiracies for the purpose of depriving
11     Plaintiffs of equal protection of the laws of the State of California and of the United States, and
12     depriving Plaintiffs of their rights under the Constitutions of the United States and the State of
13     California.
14            320.      As the direct and proximate result of these Defendants' actions, Plaintiffs have
15     suffered, and will continue to suffer, physical, mental, and emotional injury, all to an extent
16     and in an amount subject to proof at trial. Plaintiffs have also incurred, and will continue to
17     incur, attorneys' fees, costs and expenses, including those authorized by 42 U.S.C. Section
18     1988, to an extent and in an amount subject to proof at trial.
19            321.      As further direct and proximate result of government’s June 30, 2020
20     unreasonable search and seizure of BL’s and the putative class members’ personal property,
21     named Plaintiffs and other members of the putative class have suffered irreparable injury to
22     their constitutional rights, including but not limited to the unjust deprivation of their property
23     and taking of their property under the Fifth Amendment’s takings clause which prohibits
24     taking of private property for public use without just compensation. Government’s dislodging,
25     breaking, damaging or destroying an American’s home or business’ surveillance cameras
26     during execution of a federal search warrant is an unconstitutional taking of private property
27     for public use, without just compensation. Declaratory and injunctive relief is necessary to
28     remedy this injury.




                                                         57
                                                     COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 58 of 129 Page ID #:58



 1                                      XIV. INDIVIDUAL CLAIMS
 2           COUNT I: RETURN OF UNLAWFULLY SEIZED PERSONAL PROPERTY
 3       (By MJL, MJL APC, AND BL against Government defendants, Melisa Mills, Special
 4                                     Agent Civetti and Does 3-300 )
 5            322.    Plaintiffs reallege and incorporate by reference each and every allegation set
 6     forth in all preceding paragraphs as if set forth herein verbatim.
 7            323.    This Count seeks to vindicate the Fourth Amendment right of the individual
 8     plaintiffs and MJL APC to be free from unconstitutional searches and seizures under the
 9     Fourth Amendment.
10            324.    The U.S. Constitution’s Fourth Amendment protects “[t]he right of the people
11     to be secure in their persons, houses, papers, and effects, against unreasonable searches and
12     seizures.” It further provides that “no Warrants shall issue, but upon probable cause, supported
13     by Oath or affirmation, and particularly describing the place to be searched, and the persons or
14     things to be seized.”
15            325.    The Fourth Amendment protects the individual plaintiffs’ and MJL APC’s
16     personal property and fixtures attached to real property from unreasonable searches and
17     seizures.
18            326.    On June 30, 2020, the government raided the Libmans’ Home and seized a
19     dozen personal items, none of which contained any evidence of the “suspected” “Subject
20     Offenses” fraudulently listed as grounds for the fraudulent and without probable cause
21     warrants. One of the items was business personal property item of MJL APC and was
22     identified as such during the raid to the government; another item was BL’s personal property
23     used by BL in the course and scope of her occupation as a professional and the Minors for
24     games and homework. Another item seized is a flashcard containing irreplaceable video
25     footage of MJL’s milestone birthday party. These items are still being held without valid or
26     legal grounds by the government.
27            327.    Three items of personal property were returned to the plaintiffs. Nine are still
28     being held by the government without valid reason or explanation.




                                                       58
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 59 of 129 Page ID #:59



 1              328.   On or about June 30, 2020, the government seized BL’s and Minors’ personal
 2     property without individualized suspicion and as such violated the Fourth Amendment.
 3              329.   The government exceeded the scope of the search warrants’ authorization
 4     because the search warrants did not authorize the government to seize, disable, destroy,
 5     damage, take, or render inoperable the security cameras on the outside of the Libmans’ Home
 6     or the interior of the Libmans’ Home. Nor did the warrant authorize to damage, and as such
 7     take the MJL’s and BL’s dining table and dining chairs. As such the government violated the
 8     Fourth Amendment and Fifth Amendment’s taking clause which states: “nor shall private
 9     property be taken for public use, without just compensation.”
10              330.   Any evidence or records that Defendants obtained through the unauthorized
11     criminal search of the Plaintiffs’ home and person were obtained in violation of the Fourth
12     Amendment as the “fruit of the poisonous tree.”
13              331.   Accordingly, the named Plaintiffs ask the Court to declare that the
14     government’s action in seizing the Plaintiffs’ personal property and security cameras of the
15     subject property and subjecting the property to a criminal search violated the Fourth
16     Amendment and the Fifth Amendment.
17              332.   Similarly, named Plaintiffs ask the Court to enter judgment declaring that due to
18     the government’s Fourth Amendment violation in subjecting the Plaintiffs’ property to a
19     criminal search, governments’ retention and/ or use of any records or evidence obtained
20     through that search, other than for the limited purpose of reuniting them with their property,
21     violates the Fourth Amendment.
22              333.   To that end, Plaintiffs request that this Court order that all records the
23     government created during their search, and thereafter, of the Libmans’ Home, other than those
24     records necessary for reuniting the Plaintiffs with their property, be destroyed and/ or returned
25     to Plaintiffs forthwith.
26              334.   Also, Plaintiffs ask for a declaration and judgment that Plaintiffs are entitled to
27     fair compensation for the taking of the surveillance system, table and chairs, to be proven at
28     trial.




                                                        59
                                                    COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 60 of 129 Page ID #:60



 1               335.   As a direct and proximate result of the government’s June 30, 2020
 2     unreasonable search and seizure of Plaintiffs personal property, named Plaintiffs have suffered
 3     irreparable injury to their constitutional rights, including but not limited to the unjust
 4     deprivation of their property. Declaratory and injunctive relief is necessary to remedy this
 5     injury.
 6

 7                                 COUNT II: DECLARATORY RELIEF
 8     (By MJL and MJL APC against City of Los Angeles; Brian S. Kabateck, Esq.; Kabateck,
 9                                     LLP, Annaguey and Does 3-300)
10               336.   Plaintiffs reallege and incorporate by reference each and every allegation set
11     forth in all preceding paragraphs as if set forth herein verbatim.
12               337.   The Declaratory Judgment Act, 28 U.S.C. §2201, provides that “upon the filing
13     of an appropriate pleading,” this Court may declare the rights and other legal relations of any
14     interested party seeking such declaration, whether or not further relief is or could be sought.
15               338.   An actual controversy exists as to the amount of attorneys’ fees and costs owed
16     to the MJL and MJL APC from City in connection with the Jones matter pursuant to the Final
17     Judgment and Jones Settlement Agreement.
18               339.   Defendants Kabateck unilaterally and fraudulently “wrote out” MJL/ MJL APC
19     in his belated one-year report from the Final Judgment indicating that Kabateck is going to
20     claim 29% of the monies recovered post Final Judgment monies for himself usurping MJL/
21     MJL APC’s claims. In fact, under the terms of the Final Judgment Kabateck is not entitled to
22     any attorney fees, particularly to claim 29% from the additional recovery post the Jones Final
23     Judgement.
24               340.   Additionally, the City, by and through Mr. Eric George, did not respond to
25     MJL/ MJL’s inquiries whether the City intends to comply with its obligation concerning
26     Liaison Counsel’s (MJL) right to claim fees at a rate of 29% of the post Final Judgment
27     recovery to the Jones Class and subclasses. Therefore, City’s silence is interpreted that the
28     City intends to oppose or dispute MJL/ MJL APCs’ claims under the Jones Final Judgment.




                                                        60
                                                    COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 61 of 129 Page ID #:61



 1            341.    Plaintiffs are entitled to and request a declaration that MJL/ MJL APC are
 2     entitled to 29% in attorney fees from the monies recovered post the date of the Final Judgment,
 3     believed to be at least $11,020,000.00 based on court filings in Jones that the post Final
 4     Judgment recovery, before Kabateck got involved, is at least $38,000,000.00.
 5            342.    Plaintiffs ask this court to declare that Kabateck is not entitled to any portion of
 6     the 29% of attorney fees from any monies recovered, or to be recovered, under the Jones
 7     Settlement and Final Judgment.
 8            343.    Plaintiffs ask this Court to declare and enter a judgment that MJL/ MJL APC
 9     are entitled to an independent audit of any and all monies paid by City in connection with the
10     Jones Settlement to anyone, including class members, costs of the audit to be paid by City
11     through MJL APC.
12            344.    Plaintiffs also ask this court to declare and enter judgment that the City must
13     pay MJL/MJL APP at least $11,020,000.00, including 29% of any additional monies recovered
14     that an audit may reveal.
15            345.    Pursuant to Rule 57 of the Federal Rules of Civil Procedure, Plaintiffs
16     respectfully request that they be afforded a speedy hearing on this claim for declaratory relief.
17

18                   COUNT III: VIOLATION OF CIVIL RIGHTS (42 U.S.C §1983)
19         (By MJL and MJL APC against; Brian S. Kabateck; Anastasia Mazzella; Eric M.
20      George; Maribeth Annaguey; Mike Feuer; Eric Kingsley; Judge Elihu M. Berle in their
21                                 individual capacities, and Does 3-300)
22            346.    Plaintiffs reallege and incorporate by reference each and every allegation set
23     forth in all preceding paragraphs as if set forth herein verbatim.
24            347.    Each defendant acted under color of state law, as they were in a symbiotic
25     relationship with the Judge Berle and/ or City at relevant times, Kabateck and Mazzella were
26     performing traditionally a government function, such as investigation and determination
27     whether a settlement was fair, reasonable and adequate, existence of a close nexus between
28     theses here defendants, the court, city and Mike Feuer, and jointly participated with Judge




                                                       61
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 62 of 129 Page ID #:62



 1     Berle in a scheme to scapegoat, falsely accuse and deprive MJL/ MJL APC of property in
 2     violation of his/its federal protected rights.
 3                    a. BRIAN S. KABATECK –appointed by Judge Berle, empowered and
 4                         deputized to conduct an “ultra vires” investigation whether the Jones
 5                         settlement was fair, reasonable and adequate on Judge Berle’s behalf and
 6                         under his authority. Ultra Vires acts by their very definition are entirely
 7                         devoid of any jurisdiction. Kabateck took his newfound state power to mean
 8                         that he has been given license to fabricate evidence, manufacture evidence,
 9                         frame MJL, accuse MJL, scapegoat MJL, railroad MJL, with acts and actions
10                         Kabateck knew or must have known were untrue. And drunk with state
11                         power, conferred on him by his friend Judge Berle, Kabateck abused this
12                         state power.
13                    b. ANASTASIA MAZZELLA –Kabateck’s partner, aided, contributed,
14                         encouraged, participated in and took part in all the acts and actions of Mr.
15                         Kabateck, under color of state law.
16                    c. MIKE FEUER –City Attorney acting under color of state law in his
17                         individual capacity who acted in concert with Kabateck and defendants to
18                         violate Plaintiffs’ civil rights.
19                    d. MARIBETH ANNAGUEY—City’s and Mike Feuer’s outside counsel acting
20                         with authority under color of California state law conspired with co-
21                         defendants to deprive MJL of his property and constitutional rights.
22                    e. ERIC M GEORGE – Partner of MARIBETH ANNAGUEY and Mike
23                         Feuer’s outside counsel, friend and former-co-counsel of Kabateck, acting
24                         under color of state law as it flowed from the City and through Kabateck’s
25                         cloaking with state powers by Judge Berle;
26                    f.    JUDGE ELIHU M. BERLE—California State Court judicial office acting
27                          under color of law as a state actor and entirely in absence of any jurisdiction
28                          to retaliate against MJL/ MJL APC for MJL exercising his first amendment




                                                           62
                                                        COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 63 of 129 Page ID #:63



 1                         rights and/ or investigating Judge Berle, Kabateck and other lawyers
 2                         connected to the Jones case.
 3                    g.   ERIC KINGSLEY –joint actor, collaborator, co-conspirator with Mr.
 4                         Kabateck and Ms. Mazzella acting under color of state law.
 5             348.    These herein defendants are not immune under the joint participation doctrine
 6     per Dennis v Sparks (1980) 449 US, 24, 28, because, as plead in detail in this complaint,
 7     private parties may be subject to section 1983 liability when they are a willful participant in
 8     joint action with the state judge even if the judge is immune from a suit from liability. “[T]
 9     here [is] no good reason in law, logic, or policy for conferring immunity on private persons
10     who persuaded the immune judge to exercise his jurisdiction corruptly. Id at 26.”
11             349.    These herein defendants, engaged in conduct that was the proximate cause of
12     the violation of plaintiffs’ federally protected rights, as more fully alleged supra in this
13     complaint.
14             350.    These herein defendants conspired by action, omissions and silence to deprive
15     plaintiffs of their federally protected constitutional rights, including 1st, 4th, 5th, and 14th
16     amendments and property rights from the Jones settlement agreement and Final Judgment, as
17     more fully alleged in detail in this complaint, supra.
18             351.    Defendants herein shared a common objective of scapegoating, framing, falsely
19     accusing MJL/ MJL APC, and depriving MJL/ MJL APC of his federally protected and
20     property rights, and, in order to fraudulently shift responsibility for mishandling the Jones
21     settlement implementation, and the City v PWC litigation that cost the ratepayers/ taxpayer up
22     to a billion dollars in lost recovery from PWC and/ or its insurers, away from themselves to
23     MJL/ MJL APC.
24             352.    Plaintiffs suffered actual, damages in the amount of as a direct and proximate
25     cause of defendants’ actions.
26             353.    Plaintiffs are entitled to award of punitive damage against these individual
27     defendants, in their individual capacities, according to proof at trial as per Smith v Wade (1983)
28     461 US 30, as section 1983 case.




                                                          63
                                                      COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 64 of 129 Page ID #:64



 1            354.    Plaintiffs are entitled to attorney fees on this claim, according to proof, pursuant
 2     to 42 USC § 1988(b).
 3

 4        COUNT IV: DECLARATORY AND/ OR INJUNCTIVE RELIEF (42 U.S.C §1983)
 5            (By MJL and MJL APC against Hon. Elihu M. Berle in his official capacity)
 6            355.    Plaintiffs reallege and incorporate by reference each and every allegation set
 7     forth in all preceding paragraphs as if set forth herein verbatim.
 8            356.    42 U.S.C. §1983, relevant part provides:
 9            “Every person who, under color of any statute, ordinance, regulation, custom, or usage,
10            of any State or Territory or the District of Columbia, subjects, or causes to be subjected,
11            any citizen of the United States or other person within the jurisdiction thereof to the
12            deprivation of any rights, privileges, or immunities secured by the Constitution and
13            laws, shall be liable to the party injured in an action at law, suit in equity, or other
14            proper proceeding for redress, except that in any action brought against a judicial
15            officer for an act or omission taken in such officer’s judicial capacity, injunctive
16            relief shall not be granted unless a declaratory decree was violated or declaratory
17            relief was unavailable.” [EMPHASIS ADDED]
18            357.    Judge Berle is a state court judge acting under color of state law when he
19     empowered Kabateck and Mr. Robbins to conduct ultra vires “investigations” into the Jones
20     settlement and attorneys connected to the Jones, and all related matters, and then retaliated
21     against MJL/ MJL APC, in express violation of the California Judicial Cannon 3 D(5), and the
22     first amendment right to freedom of speech, because MJL conducted, and still is conducting,
23     his own independent investigation into Judge Berle, Kabateck and other attorneys connected
24     with the Jones matters.
25            358.    Judge Berle engaged in conduct, as more fully alleged in this complaint, supra,
26     that was the proximate cause of the violation of the plaintiffs’ federally protected rights,
27     including the 1st, 5th, 6th and 14th amendments.
28            359.    Judge Berle presently remains a California State Court judge, who is assigned to
       handle, and is still handling, the Jones matter.


                                                          64
                                                    COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 65 of 129 Page ID #:65



 1            360.    To prevent further violation of Plaintiffs’ constitutional rights by Defendant, it
 2     is appropriate and proper that a declaratory judgment be issued, pursuant to 28 U.S.C. §2201,
 3     42 USC §1983, and Fed. R. Civ. P. 57, declaring which defendants’ practices are
 4     unconstitutional.
 5            361.    Further, pursuant to 28 U.S.C. §2202 and Fed. R. Civ. P. 65, and 42 USC
 6     §1983, it is appropriate and hereby requested that this Court issue a permanent injunction
 7     prohibiting Judge Berle from enforcing restrictions on MJL’s expressive activities to the
 8     extent they are unconstitutional, so as to prevent an ongoing violation of MJL’s constitutional
 9     rights. Plaintiffs are suffering from irreparable harm from continued enforcement of
10     defendant’s unconstitutional practices. Monetary damages are inadequate to remedy and may
11     not be available in the event Judge Berle is deemed immune, the harm suffered as a result of
12     the deprivation of rights under the First, Fifth, and Fourteenth Amendments, and the balance of
13     equities and public interest both favor a grant of injunctive relief.
14            362.    Judge Berle remains in the position to oversee “collection” of the 1.8 million
15     dollars in sanctions awarded by him to Kabateck and City without any jurisdiction over MJL/
16     MJL APC, and to exercise his judicial authority in this regard. As such, Plaintiffs will suffer
17     irreparable injury if prospective injunctive relief ordering judge Berle to seize and desist from
18     retaliating against Plaintiffs’ for MJL’s ongoing and continuing investigation in violation of
19     MJL’s federally protected rights is not granted.
20            363.    Declaratory relief declaring that MJL is privileged to conduct an investigation
21     into Judge Berle and other attorneys connected to Jones activities, and that Judge Berle is
22     prohibited from retaliating against Plaintiffs for MJL’s investigation of Judge Berle or any
23     lawyer connected to Jones in any way or to infringe on MJL/ MJL APC’s constitutional rights,
24     and that Judge Berle is prohibited from issuing any further rulings or making any orders that
25     concern Plaintiffs.
26     ///
27     ///
28     ///




                                                        65
                                                    COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 66 of 129 Page ID #:66



 1            COUNT V: DEPRIVATION OF CIVIL RIGHTS PURSUANT TO BIVEN’S
 2     (By All Plaintiffs against Melissa J. Mills, Esq.; FBI Special Agent Andrew Civetti, FBI
 3     Special Agent Julianne Mayfield; FBI Special Agent DOE 1; FBI Special Agent DOE 2
 4     and Does 3-300)
 5            364.    Plaintiffs reallege and incorporate by reference each allegation of all preceding
 6     paragraphs as if set forth herein verbatim.
 7            365.    Plaintiffs allege violation of civil right per Bivens v. Six Unknown Named
 8     Agents of Federal Bureau of Narcotics (1971) 403 U.S. 388.
 9            366.    Here, Plaintiff’ Bivens claims against Defendants accrued on June 30, 2020.
10     Plaintiffs are filing this Complaint within the three-year statute of limitations. Thus, Plaintiffs’
11     Bivens claims are timely.
12            367.    Plaintiffs have constitutionally protected rights under the 4th and 5th
13     Amendments, from the defendants fabricating, and/or conspiring to do same, a false probable
14     cause affidavit, conduct excessively forceful and intimidating search and seizure to threaten,
15     intimidate and terrorize plaintiffs, destroyed surveillance cameras in violation of the search
16            368.    These defendants acting under color of federal authority violated plaintiffs’
17     federally protected rights, as more fully alleged in this complaint, supra.
18            369.    Contrary to Ms. Mills’ unfounded, uniformed, and unreasonable belief that she
19     is completely immune and “can do whatever she wants” in the Plaintiffs’ home, section 1983/
20     Bivens jurisprudence denies her prosecutorial immunity for the following conduct for which
21     federal courts have already denied prosecutorial immunity, some of which plaintiffs allege
22     Ms. Mills already committed (in bold), as more fully alleged in this complaint, supra:
23                   a. Wiretapping
24                   b.   Holding press conferences and leaking information to the media
25                   c.   Obtaining evidence prior to indictment
26                   d. Fabricating evidence before grand jury is empaneled
27                   e. Organizing a sting operation
28                   f.   Participating in an illegal search and seizure of property
                     g.   Falsifying a death certificate and covering up a murder by interfering with


                                                        66
                                                     COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 67 of 129 Page ID #:67



 1                     an investigation by the police and coroner
 2                h.    Altering a trial transcript
 3                i.   Participating in a raid
 4                j.   Giving Miranda warnings and participating in the interrogation of a suspect
 5                k.   Making an arrest, or ordering a warrantless arrest
 6                l.   Managing and retaining seized property; and disposing of seized property
 7                     post-trial
 8                m. Revealing the identity of a witness to the subject of a prosecution and
 9                     refusing to provide the witness with protection
10                n.   Obtaining a “safekeeping order” from the court in order to keep an inmate
11                     incarcerated after the reversal of his conviction686
12                o.   Authorizing transfer of a suspect’s property to the county in exchange for
13                     dismissal of charges, when criminal proceedings had not yet commenced
14                p.   Agreeing to dismissal of criminal charges on condition the criminal
15                     defendant swears to his innocence on a Bible in a church
16                q. Failing to report allegations of child abuse to the Department of Child
17                     Welfare, as required by state law
18                r.   Intervening to prevent the execution of a writ of habeas corpus as
19                     testificandum.
20                s.   Ordering a court reporter not to prepare transcripts for a habeas corpus
21                     proceeding, despite a court order that the transcripts be provided to habeas
22                     petitioner at government expense
23                t.   Withholding of exculpatory evidence by prosecutors who were not involved
24                     in a pending appeal
25                u.   Destroying exculpatory evidence
26                v.   Advising police to pursue preliminary investigation and advising police
27                     that there was probable cause to support [search] warrant
28                w. Failing to notify court that issued warrant to arrest material witness of the
                       status of the underlying criminal case.


                                                      67
                                                 COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 68 of 129 Page ID #:68



 1                    x.   Detaining and questioning a witness who is the subject of a material witness
 2                         warrant;
 3            370.     Additionally, defendants herein conspired to, and acted in concert, jointly and in
 4     participation with Ms. Mills, to intimidate plaintiffs and deprive plaintiffs of their
 5     constitutional rights in violation of 42 USC §1985 (2) and (3).
 6            371.     Plaintiffs seek actual, special, general, compensatory and punitive damages
 7     from each defendant herein that were proximately caused by defendants’ violations of
 8     plaintiffs’ constitutional rights according to proof at trial, and such other relief deemed just and
 9     equitable.
10

11     CLAIM VI: CONSPIRACY TO INTERFERE WITH CIVIL RIGHTS IN VIOLATION
12                                       OF 42 USC §1985 (2) AND (3)
13      (By All Plaintiffs against Melissa J. Mills, Esq. FBI Special Agent Thomas Ruscitti, and
14                                         Kabateck and Does 3-300)
15            372.     Plaintiffs reallege and incorporate by reference each allegation of all preceding
16     paragraphs as if set forth herein verbatim.
17            373.     42 USC §1985 (2) states:
18                  “If two or more persons in any State or Territory conspire to deter, by force,
19                  intimidation, or threat, any party or witness in any court of the United States from
20                  attending such court, or from testifying to any matter pending therein, freely, fully,
21                  and truthfully, or to injure such party or witness in his person or property on
22                  account of his having so attended or testified, or to influence the verdict,
23                  presentment, or indictment of any grand or petit juror in any such court, or to injure
24                  such juror in his person or property on account of any verdict, presentment, or
25                  indictment lawfully assented to by him, or of his being or having been such juror; or
26                  if two or more persons conspire for the purpose of impeding, hindering, obstructing,
27                  or defeating, in any manner, the due course of justice in any State or Territory, with
28                  intent to deny to any citizen the equal protection of the laws, or to injure him or his




                                                        68
                                                     COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 69 of 129 Page ID #:69



 1                  property for lawfully enforcing, or attempting to enforce, the right of any person, or
 2                  class of persons, to the equal protection of the laws”
 3            374.     42 USC §1985(3) states in relevant part:
 4                  “If two or more persons in any State or Territory conspire …to prevent by force,
 5                  intimidation, or threat, any citizen who is lawfully entitled to …giving his support
 6                  or advocacy in a legal manner…; or to injure any citizen in person or property on
 7                  account of such support or advocacy; in any case of conspiracy set forth in this
 8                  section, if one or more persons engaged therein do, or cause to be done, any act in
 9                  furtherance of the object of such conspiracy, whereby another is injured in his
10                  person or property, or deprived of having and exercising any right or privilege of a
11                  citizen of the United States, the party so injured or deprived may have an action for
12                  the recovery of damages occasioned by such injury or deprivation, against any one
13                  or more of the conspirators.
14            375.     As more fully alleged in this complaint, supra, on or about March 8, 2021, or
15     shortly before that date, defendants herein conspired to, and acted in accordance and
16     furtherance of the conspiracy, to have Agent Ruscitti call MJL on telephone at MJL/ APC’s
17     office and intimidate MJL/ MJL APC on behalf of the other co-conspirators to deter, impede,
18     and obstruct MJL’s investigation into Kabateck, and others connected to him relating to the
19     Jones matter and deprive him of rights of a citizen of the United States afforded to him under
20     the US Constitution.
21            376.     Plaintiffs seek actual, special, general, compensatory and punitive damages
22     from each defendant herein that were proximately caused by defendants’ violations of
23     plaintiffs’ constitutional rights according to proof at trial, and such other relief deemed just and
24     equitable.
25

26      CLAIM VII: DEPRIVATION OF CIVIL RIGHTS PURSUANT TO TOM BANE ACT,
27                                     CA CIVIL CODE SECTION 52.1
28       (By MJL, BL and Minors A and B against: Melissa J. Mills, Esq.; FBI Special Agent
        Andrew Civetti; FBI Special Agent Julianne Mayfield; FBI Special Agent JOHN DOE;


                                                        69
                                                    COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 70 of 129 Page ID #:70



 1       FBI Special Agent Jim Doe; FBI SPECIAL AGENT THOMAS RUSCITTI; Brian S.
 2                                      Kabateck AND DOES 3-300)
 3            377.    Plaintiffs reallege and incorporate by reference each allegation of all preceding
 4     paragraphs as if set forth herein verbatim.
 5            378.    The California Constitution, Article I, Section 13, textually identical to the
 6     Fourth Amendment to the United States Constitution, at all times material herein, provided in
 7     pertinent part: “The right of the people to be secure in their persons, houses, papers, and effects
 8     against unreasonable seizures and searches may not be violated; ....”
 9            379.    California Civil Code § 52.1(a) provides in pertinent part: “If a person or
10     persons, whether or not acting under color of law, interferes by threats, intimidation, or
11     coercion, or attempts to interfere by threats, intimidation, or coercion, with the exercise or
12     enjoyment by any individual or individuals of rights secured by the Constitution or laws of the
13     United States, or of the rights secured by the Constitution or laws of this state ...; §52.1(b)
14     provides in pertinent part ... “Any individual whose exercise or enjoyment of rights secured by
15     the Constitution or laws of the United States, or of rights secured by the Constitution or laws of
16     this state, has been interfered with, or attempted to be interfered with, as described in
17     subdivision (a), may institute and prosecute in his or her own name and on his or her own
18     behalf a civil action for damages ...”
19            380.    No discriminatory animus or intent needs be shown, per the California Supreme
20     Court in Venegas v. County of Los Angeles (2004) 32 Cal.4th 820, where plaintiffs’ rights were
21     violated and Civil Code §52.1.
22            381.    In Austin B. v. Escondido Union School Dist. (2007) 149 Cal.App.4th 860, the
23     Court, interpreting Civil Code §52.1, stated: The word “interferes” as used in the Bane Act
24     means “violates.” City of Simi Valley v. Superior Court (2003) 111 Cal.App.4th 1077. The
25     essence of a Bane Act claim is that the defendant, by the specified improper means (i.e.,
26     “threats, intimidation or coercion”), tried to or did prevent the plaintiff from doing something
27     he or she had the right to do under the law or to force the plaintiff to do something that he or
28     she was not required to do under the law.
              382.    Plaintiffs were legally entitled to be free of unreasonable search and seizure,


                                                        70
                                                     COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 71 of 129 Page ID #:71



 1     intimidation, coercion, threats.
 2            383.    Defendants and each of them violated Plaintiffs’ right to be free of an
 3     unreasonable search and seizure, intimidation, coercion and threats, in violation of the U.S.
 4     Constitution, Fourth Amendment and of the California Constitution, Article I, Section 13,
 5     through the use of threats, intimidation and/or coercion, within the meaning of Civil Code §
 6     52.1(b) as follows:
 7            A. Threats: Plaintiffs expressly and/or impliedly, were threatened by words and acts of
 8                defendants intended to scare Plaintiffs into “cooperation” and to abandon MJL’s
 9                investigation into possible corruption, undisclosed conflicts, collusive schemes to
10                fraudulently shift their individual responsibility for the hard they cause the LA
11                taxpayers.
12            B. Threats: MJL was threatened with criminal prosecution if he did not assert the 5th
13                Amendment right to remain silent during a deposition in abuse of the deposition
14                process; MJL was threatened by government agents to dissuade him from
15                investigating Judge Berle and Kabateck. Individual plaintiffs were also seized
16                pursuant to an unlawful and unconstitutional search against their will by force and
17                MJL, BL were handcuffed against their will.
18            C. Intimidation: JOHN DOE and JIM DOE, intimidated MJL by pointing a machine
19                gun at Minor B to horrify, mortify, scare and intimidate MJL to abandon his
20                investigation, and to force him by psychological intimidation to “cooperate”
21                without explaining with whom or how. Agent Thomas Ruscitti, at the direction of
22                Ms. Mills and in conspiracy with Kabateck and others, called MJL at the office and
23                intimidated him suggesting future government raids, violence, and threats against
24                his well-being. Ms. Mills intimidated MJL and his family, by falsely but
25                menacingly proclaiming that she could do whatever she wanted to Plaintiffs and
26                their property.
27            D. Coercion: Plaintiffs were held against their will (and right to leave) but could not
28                leave the conditions of handcuffs, and other physical barriers and devices meant to




                                                      71
                                                  COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 72 of 129 Page ID #:72



 1            E. seize and confine Plaintiffs. Plaintiffs communicated verbally that they were not
 2                supposed to be constrained under the false pretenses in the search warrants, all of
 3                which defendants wrongfully ignored, rejected or refused.
 4            384.     Defendants’ conduct was a substantial factor in causing Plaintiffs’ injury,
 5     damage and harm.
 6            385.     Plaintiffs incurred and are incurring attorney fees to vindicate their right to be
 7     free of the unlawful confinement imposed upon them.
 8            386.     They are entitled by Civil Code §52(b) to be compensated for all injury,
 9     damages, humiliation and harm caused by violation of their right to be free of unreasonable
10     seizure pursuant to California Civil Code Section 52.1(h).
11            387.     Plaintiffs’ suffered injury, damage and harm is in an amount, according to
12     proof, including but not limited to deprivation of familial relationships, monetary and financial
13     losses, medical, psychiatric, psychological and incidental expense and hardships to be shown at
14     the time of trial, according to proof.
15            388.     Defendants acted with malice and oppression and with a conscious disregard of
16     Plaintiff's rights, making them liable for punitive damages under California Civil Code
17     §§3294, 3295.
18

19       CLAIM VIII: RELIEF-Violation of Ralph Civil Rights Act of 1976 [Civ. Code § 51.7]
20                                      and conspiracy to violate same
21     (By Plaintiffs against Melisa Mills, FBI Special Agent Andrew Civetti; FBI Special Agent
22       Julianne Mayfield; FBI Special Agent JOHN DOE; FBI Special Agent Jim Doe; FBI
23        SPECIAL AGENT THOMAS RUSCITTI; Brian S. Kabateck; Kabateck LLP, Eric
24                           Kingsley, Kingsley and Kingsley and Does 30300)
25            389.     Plaintiffs reallege and incorporate by reference each allegation of all
26     preceding paragraphs as if set forth herein verbatim.
27            390.     California Civil Code section 51.7, subdivision (b) states that all persons within
28     the jurisdiction of California have the right to be free from any violence, or intimidation by




                                                        72
                                                    COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 73 of 129 Page ID #:73



 1     threat of violence, committed against their persons or property on account of any characteristic
 2     listed or defined in subdivision (b) of Section 51 (national origin) or because another person
 3     perceives them to have one or more of those characteristics.
 4            391.    Civil Code section 52, subdivision (b) states that whoever denies the right
 5     provided by Section 51.7, or aids, incites, or conspires in that denial, is liable for each and
 6     every offense for the actual damages suffered by any person denied that right and, in addition,
 7     the following: (1) An amount to be determined by a jury, or a court sitting without a jury, for
 8     exemplary damages; (2) a civil penalty of twenty-five thousand dollars ($25,000.00) to be
 9     awarded to the person denied the right provided by Section 51.7 in any action brought by the
10     person denied the right; and (3) attorney's fees as may be determined by the court. Civil Code
11     section 52, subdivision (b)(1) states that damages under Section 52, injunctive relief, and other
12     appropriate equitable relief to protect the peaceable exercise or enjoyment of the right or rights
13     secured, including appropriate equitable and declaratory relief to eliminate a pattern or practice
14     of conduct as described in subdivision (a).
15            392.    A private cause of action under section 51.7 has been recognized by the
16     California Supreme Court Supreme Court in Venegas v. County of Los Angeles (2004) 32
17     Cal.4th 820. The rights guaranteed in section 51.7 apply against private actors, not just those
18     whose conduct is chargeable to the state as our Supreme Court has held in Jones v. Kmart
19     Corp. (1998) 17 Cal.4th 329.
20            393.    Defendants intentionally threatened violence against the plaintiff and/ or their
21     property when machine gun was pointed at Minor B in the presence of MJL to intimidate,
22     horrify, and terrorize MJL to drop his investigation into corruption, self-dealing, undisclosed
23     conflicts of interest, because plaintiffs believe and allege that defendants perceived MJL, and
24     his family by extension, to be weak and not worthy of the same protections of the state and
25     federal laws because of MJL’s national origin.
26            394.    The substantial or motivating factor in the intimidation by threat of violence
27     committed against Plaintiffs as alleged herein as engaged in by defendants was their
28     perceptions of plaintiffs protected characteristic, and the aiding abetting, inciting and/or




                                                        73
                                                     COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 74 of 129 Page ID #:74



 1     compelling of the threatening conduct, was based on the plaintiffs’ national origin and
 2     constituted a violation of Civil Code section 51.7 which was the proximate and legal cause to
 3     plaintiffs’ damages as alleged herein.
 4               395.   Any reasonable person would have been intimidated by machine guns pointed
 5     at them or their children, during a concocted military invasion of their home, and by
 6     intimidating calls from an FBI special agent delivering a not-so-vailed threat on behalf of an
 7     Assistant US Attorney in cahoots with other lawyers.
 8               396.   Plaintiffs were harmed and defendants were the proximate cause of their harm.
 9               397.   Plaintiffs seek actual, special, general, compensatory and punitive damages
10     according to proof.
11               398.   Defendants acted with malice and oppression and with a conscious disregard of
12     Plaintiff's rights, making them liable for punitive damages under California Civil Code
13     §§3294, 3295.
14                               CLAIM IX: VIOLATION OF 42 USC §1986
15                (By Plaintiffs against Nicola Hanna, Mack Eric Jenkins and Does 3-300)
16               399.   Plaintiffs reallege and incorporate by reference each allegation of all preceding
17     paragraphs as if set forth herein verbatim.
18               400.   The unlawful threats and other wrongful acts conducted against the Plaintiffs by
19     the collective defendants constituted abuse of process, abuse of authority, violations of state
20     and federal laws and violations of the plaintiff's Fourth, Fifth and Fourteenth Amendment
21     rights.
22               401.   The Defendant officers negligently, recklessly and/or intentionally breached
23     their duty under 42 U.S.C. §1986 to prevent the commission of the civil rights violations
24     perpetrated against plaintiffs, including violations of 42 U.S.C. §§1983 and 1985, and
25     substantive and procedural due process violations.
26               402.   The Defendants, their agents, employees and servants knew or should have
27     known that the harassment, abuse of authority, abuse of process, threats and other wrongful
28     acts committed against Plaintiffs violated here rights guaranteed to them under the Fourth,




                                                        74
                                                     COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 75 of 129 Page ID #:75



 1     Fifth and Fourteenth Amendments and 42 U.S.C. §§ 1983, 1985 and 1986.
 2               403.    Each of the said defendants had the authority, ability and concurrent duty under
 3     42 U.S.C. §1986 to prevent the search, seizure, trespass, harassment, abuse of authority, abuse
 4     of process, threats and other wrongful acts against Plaintiffs, yet neglected to prevent said
 5     violations from occurring, and further failed to intervene to protect or aid the plaintiffs when
 6     such violations did in fact occur. Mr. Hanna was at all relevant times the US Attorney for the
 7     Central District of Los Angles, and partner of The GD Firm that employed Ms. Mills, both of
 8     whom, on information and belief, had at least divided loyalties, and/ or acting as moles, when
 9     needed, for The GD Firm within the US Attorney’s Office in Los Angles.
10               404.    The defendants and each of their failures to stop, prevent, investigate, and/or
11     remedy these wrongful actions constitutes a breach of their duty to do so under U.S.C. §1986.
12               405.    Said defendants (individually and collectively) had the power to prevent the
13     continued violations of due process, fourth, fifth, and fourteenth amendments to the US
14     Constitution against plaintiffs, yet they failed to prevent or protect the plaintiffs from
15     unwarranted, potential, and actual harm(s) they suffered.
16               406.    As a result of the failure of the collective defendants to prevent the known
17     violations stated above, the plaintiffs have suffered physical harm, extreme fear, personal
18     humiliation and degradation, emotional and psychological harm to the detriment of their
19     health.
20            407.       That by reason of the foregoing, proximate cause thereof, Plaintiffs have been
21     injured.
22            408.       Plaintiffs seek actual, special, general and compensatory damages according to
23     proof at trial.
24

25                                  CLAIM X: DEFAMATION-SLANDER
26                (By MJL and MJL/APC against Brian S. Kabateck, Esq.; Anastasia Mazzella;
27                Kabateck, LLP and does 3-300)
28               409.    Plaintiffs reallege and incorporate by reference each allegation of all preceding




                                                         75
                                                     COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 76 of 129 Page ID #:76



 1     paragraphs as if set forth herein verbatim.
 2               410.   At the time of the adverse actions alleged herein, and on multiple occasions
 3     thereafter, Mr. Kabateck on or about October 13, 2020, during telephonic or in person
 4     conversations, slandered and defamed MJL by telling Eric Kingsley “only bad things” about
 5     MJL that caused Eric Kingsley to view MJL very negatively, as a person and a professional, to
 6     the point wherein Eric Kingsley felt comfortable to call MJL “stupid” during Eric Kingsley’s
 7     deposition on February 8, 2021, and for Eric Kingsley to provide a false and misleading
 8     declaration against MJL.
 9               411.   These claims by Defendants about Plaintiffs were slanderous and defamatory
10     per se.
11               412.   MJL discovered that these defamatory claims were made on February 8, 2021.
12     Therefore, the defamation/slander claim is timely.
13               413.   Plaintiffs are informed and believe, and thereon allege, that after these
14     slanderous and defamatory statements were made about MJL orally and in writing, Defendants,
15     and each of them, republished the slanderous and defamatory statements about Plaintiffs to
16     numerous other persons unknown to Plaintiffs but known to Defendants. Defendants had, and
17     have, superior knowledge of those publications than Plaintiffs themselves.
18               414.   In making the slanderous and defamatory statements about Plaintiffs,
19     Defendants had actual knowledge; or reason to believe, that Plaintiffs would be under a strong
20     compulsion to disclose the contents of the defamatory statements to a third person.
21     Accordingly, Defendants are liable for Plaintiffs' own self-publication of the defamatory
22     statements.
23               415.   Defendants foreseeably republished the slanderous and defamatory statements
24     about Plaintiffs to persons, and on dates, yet to be ascertained, up to and including the present
25     date.
26               416.   In making the slanderous and defamatory statements about Plaintiffs,
27     Defendants lacked belief, or of reasonable grounds for belief, in the truth of the statements.
28               417.   In making the slanderous and defamatory statements about Plaintiffs,




                                                         76
                                                     COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 77 of 129 Page ID #:77



 1     Defendants engaged in the excessive publication of the statements.
 2            418.      In making the slanderous and defamatory statements about Plaintiffs,
 3     Defendants made and published the statements for an improper purpose.
 4            419.      In making the slanderous and defamatory statements about Plaintiffs,
 5     Defendants made and published the statements beyond the appropriate interest group.
 6            420.      In making the slanderous and defamatory statements about Plaintiffs,
 7     Defendants made and published the statements with express and implied malice, and malice in
 8     fact, and with design and intent to injure Plaintiffs in their good name, reputation and
 9     employment.
10            421.      In making the slanderous and defamatory statements about Plaintiffs,
11     Defendants made and published the statements with the intent and design to injure, disgrace
12     and defame Plaintiffs.
13            422.      In making the slanderous and defamatory statements about Plaintiffs,
14     Defendants made and published the statements with a state of mind arising from hatred or ill
15     will for Plaintiffs, evidencing a willingness to vex, annoy or injure Plaintiffs.
16            423.      In making the slanderous and defamatory statements about Plaintiffs,
17     Defendants made and published the statements based on a reckless or grossly inadequate
18     investigation.
19            424.      These defendants at all relevant times were, each other agents, employees,
20     employers, partners, alter egos, and co-conspirators therefore vicariously liable for each other’s
21     slanderous conduct and statements.
22            425.      As a direct and proximate result, Plaintiffs were harmed and Defendants'
23     conduct was a substantial factor in Plaintiffs' harm.
24            426.      As a direct and proximate result of defendants' unlawful conduct, Plaintiffs have
25     suffered and will continue to suffer a substantial and ongoing loss of earnings and profits
26     according to proof at the time of trial, physical injuries, pain and suffering, and extreme and
27     severe mental anguish and emotional distress, and medical expenses and/or other incidental
28     expenses. Plaintiffs are, thereby, entitled to general and compensatory damages in amounts to




                                                        77
                                                    COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 78 of 129 Page ID #:78



 1     be proven at trial.
 2             427.    The conduct of defendants as alleged herein was malicious, fraudulent, and/or
 3     oppressive, and done with a willful and conscious disregard for Plaintiffs' rights and for the
 4     deleterious consequences of defendants' actions. Defendants acted maliciously, with intent to
 5     cause harm to Plaintiffs. Defendants acted oppressively, in that their conduct was despicable,
 6     and subjected Plaintiffs to cruel and unjust hardship in knowing disregard of their rights. The
 7     conduct of defendants, and/or their agents/employees, as alleged herein was malicious,
 8     fraudulent, and/or oppressive, and done with a willful and conscious disregard for Plaintiffs'
 9     rights and for the deleterious consequences of Defendants' actions. In particular, by lying about
10     the true reasons for that illegal action, Defendants acted oppressively and with malice, as those
11     terms are used in California Civil Code §3294. Defendants and each of them, and their
12     agents/employees or supervisors, employers, authorized, condoned and ratified the unlawful
13     conduct of each other. Consequently, Plaintiffs are entitled to punitive damages against each of
14     said defendants, pursuant to California Civil Code §3294.
15

16                                         CLAIM XI: BATTERY
17              (By MJL against Melissa E. Mills, FBI Agent JIM DOE, and DOES 3-100 in their
18                                               individual capacities)
19             428.    Plaintiffs reallege and incorporate by reference each allegation of all preceding
20     paragraphs as if set forth herein verbatim.
21             429.    On or about June 30, 2020, Defendants touched plaintiff or caused plaintiff to
22     be touched with the intent to harm or offend MJL by Ms. Mills forcefully trying to rip off the
23     surgical mask off MJL’s face and the mask snaping against MJL’s face and JIM Doe holding
24     MJL handcuffed against his will by the bed of Minor B to intimidate and terrorize MJL;
25             430.    MJL did not consent to the touching;
26             431.    MJL was harmed and offended by defendants’ conduct; and
27             432.    That a reasonable person in MJL’s situation would have been offended by the
28     touching.




                                                        78
                                                     COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 79 of 129 Page ID #:79



 1            433.    Defendants were not privileged or had immunity to touch MJL as they were in
 2     the course of executing an illegal, unconstitutional, excessively forceful search and seizure raid
 3     of MJL’s home and of MJL’s person.
 4            434.    As a direct and proximate result, Plaintiffs were harmed and Defendants'
 5     conduct was a substantial factor in Plaintiffs' harm.
 6            435.    As a direct and proximate result of defendants' unlawful conduct, Plaintiff
 7     suffered and will continue to suffer a substantial and ongoing physical injuries, pain and
 8     suffering, and extreme and severe mental anguish and emotional distress, and/ or medical
 9     expenses and/or other incidental expenses. Plaintiff is thereby entitled to general and
10     compensatory damages in amounts to be proven at trial.
11            436.    The conduct of defendants as alleged herein was malicious, fraudulent, and/or
12     oppressive, and done with a willful and conscious disregard for Plaintiffs' rights and for the
13     deleterious consequences of defendants' actions. Defendants acted maliciously, with intent to
14     cause harm to Plaintiffs. Defendants acted oppressively, in that their conduct was despicable,
15     and subjected Plaintiffs to cruel and unjust hardship in knowing disregard of their rights. The
16     conduct of defendants, and/or their agents/employees, as alleged herein was malicious,
17     fraudulent, and/or oppressive, and done with a willful and conscious disregard for Plaintiffs'
18     rights and for the deleterious consequences of Defendants' actions. In particular, by lying about
19     the true reasons for that illegal action, Defendants acted oppressively and with malice, as those
20     terms are used in California Civil Code §3294. Defendants and each of them, and their
21     agents/employees or supervisors, employers, authorized, condoned and ratified the unlawful
22     conduct of each other. Consequently, Plaintiffs are entitled to punitive damages against each of
23     said defendants, pursuant to California Civil Code §3294.
24

25                                  CLAIM XII: ABUSE OF PROCESS
26               (By MJL/MJL APC against Brian S. Kabateck, Anastasia Mazzella; Kabateck
27                                                LLP, DOES 3-300)
28            437.    Plaintiffs reallege and incorporate by reference each allegation of all preceding




                                                       79
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 80 of 129 Page ID #:80



 1     paragraphs as if set forth herein verbatim.
 2             438.    Plaintiffs herein allege that defendants, and each of them separately or in
 3     conspiracy and collusion with others, wrongfully took depositions of MJL commencing on
 4     October 23, 2020, and, thereafter, to intentionally use these legal proceeding to illegitimately
 5     and with an improper motive, intimidated, humiliate, and harass, pressure, oppress MJL, with
 6     the aid of his undenied friend Judge Berle, to assert the 5th Amendment to enable Kabateck
 7     to propagate the false narrative in the public domain that MJL must be a criminal had he
 8     asserted the 5th.
 9             439.    Also, Defendants invited a journalist from the Daily Journal as part of their plan
10     to intimidate MJL to coerce Plaintiffs to forego, abandon their claim to additional attorney fees
11     under the Jones settlement and Final Judgment, or to otherwise illegitimately deprive plaintiffs
12     of their claims.
13             440.    As a direct and proximate result, Plaintiffs were harmed and Defendants'
14     conduct was a substantial factor in Plaintiffs' harm.
15             441.    As a direct and proximate result of defendants' unlawful conduct, Plaintiff
16     suffered and will continue to suffer a substantial and ongoing physical injuries, pain and
17     suffering, and extreme and severe mental anguish and emotional distress, and medical
18     expenses and/or other incidental expenses. Plaintiff is, thereby, entitled to general and
19     compensatory damages in amounts to be proven at trial.
20             442.    The conduct of defendants as alleged herein was malicious, fraudulent, and/or
21     oppressive, and done with a willful and conscious disregard for Plaintiffs' rights and for the
22     deleterious consequences of defendants' actions. Defendants acted maliciously, with intent to
23     cause harm to Plaintiffs. Defendants acted oppressively, in that their conduct was despicable,
24     and subjected Plaintiffs to cruel and unjust hardship in knowing disregard of their rights. The
25     conduct of defendants, and/or their agents/employees, as alleged herein was malicious,
26     fraudulent, and/or oppressive, and done with a willful and conscious disregard for Plaintiffs'
27     rights and for the deleterious consequences of Defendants' actions. In particular, by lying about
28     the true reasons for that illegal action, Defendants acted oppressively and with malice, as those




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                                                     COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 81 of 129 Page ID #:81



 1     terms are used in California Civil Code §3294 Defendants and each of them, and their
 2     agents/employees or supervisors, employers, authorized, condoned and ratified the unlawful
 3     conduct of each other Consequently, Plaintiffs are entitled to punitive damages against each of
 4     said defendants, pursuant to California Civil Code §3294.
 5

 6                                        PRAYER FOR RELIEF
 7            443.    The conduct previously alleged, unless and until enjoined by order of this Court,
 8     will cause great and irreparable injury to Plaintiffs. Further, a judicial declaration is necessary
 9     and appropriate at this time so that all parties may known their respective rights and act
10     accordingly.
11     WHEREFORE, Plaintiff respectfully request that this Court:
12            A. Certify this case as a class action under Federal Rule of Civil Procedure 23(b)(2) on
13                behalf of all US Citizens whose cameras, home or office based surveillance
14                equipment were damaged, destroyed, disconnected or otherwise rendered
15                inoperable during execution of a search warrants;
16            B. Designate Plaintiff Barbara Libman as Class Representative for the proposed class;
17            C. Designate Plaintiff’s counsel of record as Class Counsel for the proposed class;
18            D. Issue a class-wide declaratory judgment declaring that:
19                    a. With respect to the proposed class, government disconnecting, disabling,
20                        damaging, destroying or otherwise rendering inoperable any home or office-
21                        based security cameras or surveillance equipment in the course of executing
22                        a search warrant violates the Fourth Amendment;
23                    b. With respect to the proposed class, government destruction of home or
24                        office-based security cameras or surveillance equipment in the course of
25                        executing a search warrant, without just compensations, constitutes a taking
26                        for public use in violation of Fifth Amendment;
27            E. Issue a class-wide permanent injunction enjoining the government from destroying,
28                disconnecting, disabling, damaging or rendering inoperative home or office-based
                  security cameras or surveillance equipment in the course of executing search


                                                       81
                                                   COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 82 of 129 Page ID #:82



 1                  warrants.
 2               F. Order the government to immediately return the seized property of Plaintiffs,
 3                  without conditions, delay or investigation under—Rule of Civil Procedure 41(g)
 4                  and the Court inherent equitable authority;
 5               444.   A declaration that Defendants’ actions, described herein, violate the Fourth and
 6     Fourteenth Amendments to the United States Constitution;
 7               445.   Declaration of rights that MJL/MJL APC are entitled to claim and be paid 29%
 8     of all monies recovered for the Jones class post Final Judgment, estimated at this time to be
 9     $11,020,000.00;
10               446.   An order enjoining all Defendants and their employees, agents, and any and all
11                  persons acting in concert with them from further violation of Plaintiffs’ civil rights
12                  under the United States Constitution;
13               447.   An order and judgment awarding special, general and compensatory damages in
14                  the amount of $360,000,000.00;
15               448.   An order awarding punitive damage, where appropriate, according to proof;
16               449.   An order awarding Plaintiffs’ reasonable attorneys’ fees, litigation expenses and
17     costs pursuant to 42 U.S.C. §1988 and any other applicable law;
18               450.   An order awarding such other and further relief as the court deems just and
19     Proper.
20                                            Respectfully Submitted
21     Dated: December 6, 2021                LAW OFFICE OF MICHAEL J. LIBMAN, APC.
22                                                    Michael J. Libman [E-Signature]
23                                            By:                                           .
                                                      MICHAEL J. LIBMAN
24                                                    Attorney for Plaintiffs
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                                                        82
                                                    COMPLAINT
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 83 of 129 Page ID #:83



 1                                 DEMAND FOR JURY TRIAL
 2
             43. Plaintiffs hereby demand a jury trial.
 3                                        Respectfully Submitted
 4     Dated: December 6, 2021           LAW OFFICE OF MICHAEL J. LIBMAN, APC.
 5                                              Michael J. Libman [E-Signature]
                                         By:                                      .
 6
                                                MICHAEL J. LIBMAN
 7                                              Attorney for Plaintiffs
 8

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                                               COMPLAINT
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 84 of 129 Page ID #:84




                      EXHIBIT “1”
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 85 of 129 Page ID #:85
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 86 of 129 Page ID #:86
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 87 of 129 Page ID #:87
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 88 of 129 Page ID #:88
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 89 of 129 Page ID #:89




                      EXHIBIT “2”
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 90 of 129 Page ID #:90
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 91 of 129 Page ID #:91




                      EXHIBIT “3”
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 92 of 129 Page ID #:92
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 93 of 129 Page ID #:93




                      EXHIBIT “4”
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 94 of 129 Page ID #:94
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Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 95 of 129 Page ID #:95




    1                               ELECTRONIC PROOF OF SERVICE

    2
        STATE OF OHIO, COUNTY OF CUYAHOGA
    3

    4         I am a paralegal with Landskroner Grieco Merriman, LLC in the County of Cuyahoga, State of
      Ohio. I am over the age of 18 and not a party to the within action. My business address is 1360 West
    5 9th Street, Suite 200, Cleveland, OH 44113.

    6         On July 26, 2017, I served the foregoing document(s) described as NOTICE OF ENTRY
        OF JUDGMENT OR ORDER on the interested parties in this action as follows:
    7

    8
              BY ELECTRONIC SERVICE VIA FILE & SERVEXPRESS: In accordance with the
    9 Court’s Order Authorizing Electronic Service governing Case No. BC577267 and related matters
      requiring all documents to be served upon interested parties via the File & ServeXpress Service
   10 system.

   11         I declare under penalty of perjury under the laws of the State of California that the above is
      true and correct.
   12
              Executed on July 26, 2017 at Cleveland, Ohio.
   13

   14

   15

   16                                                Deborah Kessel

   17

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Case 2:21-cv-09455-JAK-MAA
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                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
      10                     COUNTY OF LOS ANGELES,CENTRAL DISTRICT                              nv FA)(
      11
         ANTWON JONES, on behalf of himself, and            Case No. BC577267
      12 all other similarly situated,                      [Related to Case Nos. BC565618(Lead),
                                                            BC568722, BC571664, and BC574690]
      13                 Plaintiff,
                                                            [CLASS ACTION]
      14          VS.

      15
         CITY OF LOS ANGELES, by and through the             ORDER GRANTING FINAL APPROVAL
      16 LOS ANGELES DEPARTMENT OF                           OF CLASS ACTION SETTLEMENT and
         WATER AND POWER,and DOES I through                  FINAL JUDGMENT
      17 50, inclusive,
                                                             Judge:   Hon. Elihu M.Berle
      18                 Defendants.                         Date:    July 7, 2017
      19                                                     Time:    9:00 a.m.
                                                             Dept.:   323
      20
                                                             Assigned for All Purposes to the
      21                                                     Hon. Elihu M. Berle, Dept. 323
      22
                                                             Action Filed:         April 1, 2015
      23                                                     Trial Date:           None Set

      24
                  W11EREAS, plaintiff Antwon Jones ("Plaintiff'), on behalf of himself and the putative
      25

      26 class in this case, as well as the putative classes in the consolidated actions, Kimhi v. The City of

      27 Los Angeles, Case No. BC536272; Bransford v. City of Los Angeles, Case No. BC565618; and
                                                      f3C57144~1
      28 Fontaine v. City of Los Angeles, Case No.~1~~7 (collectively, the "Actions"), moved this

                  [E=WskD]ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT
                                       and FINAL JUDGMENT
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 97 of 129 Page ID #:97
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        Court for an Order, pursuant to Section 382 of the California Code of Civil Procedure ("Section

        382") and California Civil Code § 1781 ("Section 1781"), seeking final approval of a class action

        settlement and entry offinal judgment(the "Motion"); and

                 WHEREAS, defendant the City of Los Angeles, by and through the Los Angeles

        Department of Power and Water ("LADWP") and DOES 1 through 50, inclusive (collectively,

        "Defendant")joins Plaintiff in seeking this same relief; and

                 WHEREAS, the Court reviewed the submissions of the parties, all properly and timely

        filed objections to the Settlement; and the Parties' responses to such objections, and held a Final

        Approval Hearing on July 7, 2017(the "Final Approval Hearing"), and good cause appearing;

                 IT IS ORDERED that the Motion is GRANTED, subject to the following terms and

        conditions:

                 I.    With respect to the capitalized terms set forth herein, the Court, for purposes of this

        Final Judgment and Order ("Final Order"), adopts the definitions set forth in the Revised Class

        Action Settlement Agreement and Limited Release dated November 9, 2016 (the "Settlement

        Agreement").

                 2.    This Court has continuing and exclusive jurisdiction over the Settlement and all

        Parties hereto for the purpose of construing, enforcing and administering the Settlement

         Agreement.

                 3.    The Court finally certifies, for settlement purposes only, the following Settlement

        Class:

                       All LADWP customers who were over-charged for electric, water,
                       sewage or sanitation services between the dates of September 3,
                       2013 and December 30, 2016, and who are entitled to credits or
                       refunds for electric, water, sewage or sanitation services and/or for
                       participation in the LADWP's solar incentive program between
                       February 13, 2010 and December 30, 2016.



                                                          2
           [PTWU1i09ED] ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT and FINAL
                                              JUDGMENT
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 98 of 129 Page ID #:98




                      Expressly excluded from the Settlement Class are the Judge to
                      whom this case is assigned, any members of the Judge's immediate
                      family, and counsel of record in this action.

               4.     With respect to the Settlement Class, this Court finds that: (a) the members of the

        Settlement Class are so numerous their joinder is impracticable;(b)there are questions of law and

        fact common to the Settlement Class which predominate over any individual questions; (c), the

        claims of Plaintiff are typical ofthe claims ofthe Settlement Class;(d)Plaintiff and Class Counsel

        have fairly and adequately represented and protected the interests of the Settlement Class; and (e)

        a class action is superior to other available methods for the fair and efficient adjudication of the

        controversy, considering: (i) the interests of the Settlement Class in individually controlling the

        prosecution of the separate Actions, (ii) the extent and nature of any litigation concerning the

        controversy already commenced by the Settlement Class, (iii) the desirability or undesirability of

        concentrating the litigation of these claims in this particular forum, and (iv) the difficulties likely

        to be encountered in the management ofthe Action.

               5.     Class Notice to the Settlement Class has been provided in accordance with the

        Preliminary Approval Order. Such notice satisfied the requirements of California Code of Civil

        Procedure § 382 and California Civil Code § 1781 and Rule 3.766 of the California Rules of Court

        and: (a) provided the best practicable notice, (b) was reasonably calculated, under the

        circumstances, to apprise the Settlement Class of the pendency of the Action, the terms of the

        Settlement Agreement, and of their right to appear or object to or exclude themselves from the

        Settlement Class, (c) was reasonable and constituted due, adequate, and sufficient notice to all

        persons entitled to receive notice, and (d) fully complied with the applicable laws of the State of
                                                                       LOP 0 14A Y             J 6
        California. Accordingly, the Court determines that all members ofthe Settlement Class are bound
                                                                                                 A
        by this Final Order and by the final judgment to be entered pursuant thereto.




                                                          3
           [P*WWED)ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT and FINAL
                                         JUDGMENT
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 99 of 129 Page ID #:99
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                6.     June 5, 2017 was the deadline for Settlement Class Members to submit a request for

        exclusion, an objection, or (for all Settlement Class Members with the exception of Field Work

        Sub-Class Members) a claim form. As of June 26, 2017, KCC received: (a) 646 timely requests

        for exclusion and 4 untimely requests for exclusion; and (b) 32,047 timely claims and 211

        untimely claims. The Court orders that the 4 untimely requests for exclusion be deemed timely.

        Attached as Exhibit A hereto is a list of the 650 requests for exclusion. The Court also orders that

        the 211 untimely claims be deemed timely.

                7.     The objections filed by Mr. Steven Brennan, Mr. Stan Furmanski, Ms. Catalina

        Lopez, Ms. Carol Sidlow, Ms. Cynthia Maxwell and Mr. Marc Wutschke are overruled in their

        entirety.

                8.     The Settlement Agreement was arrived at after extensive arm's length negotiations

        conducted in good faith by counsel for the parties, and is supported by the majority of the

         members of the Settlement Class. Accordingly, this Court hereby approves the Settlement

        Agreement as fair, reasonable and adequate in light ofthe complexity, expense and duration ofthe

        litigation, and the risks inherent and involved in establishing liability and damages, and in

         maintaining the class action as to liability issues through trial and appeal.

                9.     The promises and commitments of the Parties under the terms of the Settlement

         Agreement constitute fair value given in exchange for the releases ofthe Released Claims. For all

        claims other than solar, this release is effective for claims which have accrued during the period of

        September 3, 2013 to December 30, 2016. For solar claims arising out of the solar incentive

         program and/or credit for excess energy, this release is effective for claims accruing during the

         period from February 13, 2010 to December 30, 2016. The following claims are therefore

        released against Defendant:

                any and all claims, damages, suits, demands, liabilities, judgments, losses and
                causes of action which have accrued as of the date of entry of the Order of
                                                            4
            [PANIORED]ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT and FINAL
                                             JUDGMENT
    Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 100 of 129 Page ID #:100




                  Preliminary Approval relating to or arising from the billing issues alleged in the
                  operative pleadings in the Actions, including:

                         (i)    overbilling as a result of charging an incorrect rate, incorrect amount
                  of consumption, incorrect utility tax rate or the failing to apply a discount;

                         (ii) billing incorrect fees, including but not limited to late payment fees,
                  reconnect fees and/or start service fees;

                        (iii) retaining refunds during the period of September 3, 2013 to
                  December 30, 2016 that were due;

                         (iv) billing for greater quantities of water, power or sewage than
                  otherwise would have been charged but for the existence of a premise condition;

                         (v) the assessment of overdraft fees resulting from the LADWP having
                  charged customers an incorrect billing amount; and

                         (vi) for solar customers, delay in providing a reservation confirmation to
                  and/or connecting the solar system, and/or failure to bill for energy consumed
                  and/or generated; and/or failure to credit for excess energy generated by the
                  customer's solar power system at any time from February 13, 2010, through
                  December 30, 2016

                  sounding in law or equity, seeking damages or any other relief, that are now
                  recognized by law or that may be created or recognized in the future by statute,
                  regulation,judicial decision or in any other manner, based upon any federal or state
                  statutory or common law including but not limited to, claims sounding in tort,
                  contract and the consumer protection laws of the United States or of any state or
                  other jurisdiction within the United States, and all claims, damages, suits, demands,
                  liabilities, judgments, losses or causes of action which have been, might have been,
                  are now, or could be asserted by any plaintiff or any Settlement Class Member
                  arising out of, based upon, or related to, in whole or in part, the facts and
                  circumstances underlying the claims and causes of action set forth in the Actions.

                   Released Claims include claims, accrued during the time periods set forth above,
                   for economic and non-economic damages that were proximately caused by the
                   LADWP having overbilled its customers during the time periods set forth in the
                   operative Complaint in the Jones Action. These economic and non-economic
                   damages may be direct, incidental, or consequential and, by way of example,
                   include: repair costs; services costs (e.g., the cost of a plumber or electrician to
                   examine or repair a premise condition); finance, interest, or overdraft charges
                   imposed by a third party; costs related to or arising from erroneous disconnections;
                   reconnection fees; loss of perishable items; damage to personal property; or loss of
                   wages or business income. All such losses and damages are expressly deemed
                   Eligible Claims pursuant to this Revised Agreement and a Settlement Class
                   Member is entitled to seek recovery of 100% of such losses and damages through
                   the Omnibus claims process.

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                [PRMWED]ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT and FINAL
                                              JUDGMENT
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 101 of 129 Page ID #:101
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               Released Claims also include claims for economic and non-economic damages
               that resulted in overbilling customers and were proximately caused by the
               LADWP's failure to: (i) timely undertake field investigations, conduct field
               maintenance, perform meter reads, or provide accurate information concerning
               actual utilization;(ii) prorate or allot utilization in accordance with applicable rate
               schedules; and (iii) comply with disconnection rules and the imposition of
               associated charges. All such losses and damage are expressly deemed Eligible
               Claims pursuant to this Revised Agreement and a Settlement Class Member is
               entitled to seek recovery of 100% of such losses -and damages through the
               Omnibus claims process.

               Released Claims do not include:

               (i)     the claims asserted in the action, Morski v. City ofLos Angeles by, and through,
                       the Los Angeles Department of Water & Power, Los Angeles Superior Court Case
                       No BC568722 (the "Morski Action"), which allege that the LADWP violated        '
                       Ordinance Nos. 180127, 182273, and 170435 (as amended by Ordinance No.
                       171639, Ordinance No. 173017, Ordinance No. 175964, Ordinance No. 177968
                       and Ordinance No. 179802) by assessing tiered billing without obtaining actual
                       monthly meter reads and without providing regular, timely, and accurate monthly
                       bills to its customers("Non-Monthly Tiered Billing Claims"). This released claims
                       exclusion also includes within its scope the assessment of tiered billing without
                       obtaining actual monthly meter reads and without providing regular, timely, and
                       accurate monthly bills to its customers pursuant to Ordinance Nos. 184133 and
                       184130;

               (ii)    Causes of Action 27-32 in the Third Amended Complaint filed on November 10,
                       2016 in the action entitled Macias v. City ofLos Angeles erroneously sued as Los
                       Angeles Department of Water and Power, et al., Los Angeles Superior Court Case
                       No. BC594049(the "Macias Action");

               (iii)   claims for violations of California's Bane Act, Civil Code § 51.2;

               (iv)    claims arising out offield work investigations created after December 21, 2015;

               (v)     claims arising out of LADW's failure to record or credit payments made by
                       customers;

               (vi)    claims arising from the Back-Billing of customers during the period September 3,
                       2013 through September 10, 2015; and

               (vii)   claims for personal injury.

               9.      All members of the Settlement Class who did not make a valid request for

         exclusion from the Settlement Class in the time and manner provided in the Settlement
                                                                                      .
         Agreement are barred, permanently enjoined, and restrained from commencing or prosecuting


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            [P*@Mff;0]ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT and FINAL
                                            JUDGMENT
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 102 of 129 Page ID #:102




         any action, suit, proceeding, claim, or cause of action in any jurisdiction or court against

         Defendant and/or the Released Parties based upon, relating to, or arising out of, any of the

         Released Claims. However, all members of the Settlement Class who did make a valid request

         for exclusion from the Settlement Class in the time and manner provided in the Settlement

         Agreement (as set forth in Exhibit A hereto) are not barred, permanently enjoined, or restrained

         from commencing or prosecuting any action, suit, proceeding, claim, or cause of action in any

         jurisdiction or court against Defendant and/or the Released Parties based upon, relating to, or

         arising out of, any ofthe Released Claims.

                16.    By operation of this Final Order and upon the occurrence of the Effective Date,

         Defendant and/or the Released Parties shall be deemed to have, and by operation of this Final

         Order shall have, fully, finally, and forever released, relinquished and discharged each and all

         members of the Settlement Class, Plaintiff and Class Counsel from all claims (including unknown

         claims), arising out of, relating to, or in connection with the institution, prosecution, assertion,

         settlement or resolution of this litigation or the Released Claims.

                 11.    For good cause shown, and after review of the declarations of Plaintiffs Jones,
          Wom ~P-0~76P-0 5-1~-V~W                                  kPMW                        WO
         Kimhi, Beckerman MegerdichiAn and Novak submitted as evidence in connection with Plaintiffs
                                           A
         Motion for Final Approval, the Court awards a service award to Plaintiffs Jones, Kimhi,
                                                  FONrVAipi~- -r-A 5P)
         Bec-s-erman Megeraidnian and Nova        in the amount f $5,000 each for the time and expenses
                                   A
         expended in connection with the prosecution of the Action, which shall be paid by Defendant.

                                                       award-request-                                        rd

         and Fontaine -&.
                        -- -   eeking service awards of $5,000 each            aintiffs Sharon Bransford, Steven

          Shrager, Rachel Tash and Hayley Fbnt            ransford and Fontaine Plaintiffs"). Counsel in the

         Bransford and Fon,,* e cases are ordered to submit deciarations-ifrom eacb of the Bransford and

         Fon.    e 'laintiffs to support the requested awards by no later than Friday, July


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             WAWWC-D]ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT and FINAL
                                           JUDGMENT
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 103 of 129 Page ID #:103




                 12.   For good cause shown, the Court awards Class Counsel: (i) reasonable attorneys'

         fees in the total amount of $19,000,000 ($15,200,000 to Plaintiffs' counsel in the Jones, Kimhi,

         and Morski cases, and $3,800,000 to Plaintiffs' counsel in the Bransford and Fontaine cases); and

         (ii) expenses in the amount of $2,741,003.99 ($2,500,000 for reimbursement of expenses which

         have and will be incurred by the CC&B System Monitoring Expert, $212,035.28 for

         reimbursement of expenses incurred by Plaintiffs' counsel in the Jones, Kimhi, and Morski cases,

         and $28,968.71 for reimbursement of expenses incurred by Plaintiffs' counsel in the Bransford

         and Fontaine cases). The attorneys' fees and reimbursement of expenses awarded by the Court

         shall be paid by Defendant within 7 business days after this Order has been entered. Defendant

         will pay the amount awarded by the Court directly to an account established by Class Counsel.

         Class Counsel shall be responsible for allocating the attorneys' fees and expenses among

         Plaintiffs' counsel.

                 13.   For good cause shown, the Court approves the right of Class and Liaison Counsel to

         make quarterly applications to this Court for additional awards of reasonable attorneys' fees at the

         rate of twenty-nine percent(29%) of all future recoveries by Class Members subsequent to Final

         Approval for: (i) Field Work claims;(ii) Pre-Identified Claims Made claims;(iii) Omnibus claims;

         and (iv) all claims paid in connection with the Settlement by, or on behalf of, the City of Los

          Angeles, including all departments thereof. The $1 million of future attorneys' fees identified in

         the Memorandum of Understanding executed on June 12, 2015 shall be utilized to pay any such

         future attorneys' fees awarded to Class Counsel by the Court and shall not be in addition to any

         future attorneys' fees awarded by the Court, as set forth in the Settlement Agreement. Should the

         Court award such future attorneys' fees to Class Counsel, Defendant will pay the amount of

          attorneys' fees awarded by the Court within 7 business days after the Court issues an order

          granting Class Counsel's application. Defendant will pay the amount awarded by the Court

                                                          8
            [PRWMED]ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT and FINAL
                                          JUDGMENT
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 104 of 129 Page ID #:104




         directly to an account established by Class Counsel and Liaison Counsel, and Class Counsel shall

         be responsible for allocating any future attorneys' fees.

                14.    The Settlement Agreement shall not be offered or be admissible in evidence by or

         against Defendant or cited or referred to in any other action or proceeding, except: (1) in any

         action or proceeding brought by or against the Parties to enforce or otherwise implement the terms

         of the Settlement Agreement, or (2) in any action involving Plaintiff, members of the Settlement

         Class, or any of them, to support a defense of res ju.dicata, collateral estoppel, release, or other

         theory ofclaim preclusion, issue preclusion, or similar defense.

                15.    If, for any reason, the Effective Date does not occur, this Final Judgment shall be

         deemed vacated and shall have no force or effect whatsoever.

                16.    Without affecting the finality of this Judgment in any way, the Court hereby retains

         continuing jurisdiction over: (a) the implementation of this Settlement and any award or

         distribution to the Settlement Class members; (b) hearing and determining an application for

         attorneys' fees and costs and (c) all parties for the purpose of enforcing and administering the

         Settlement Agreement pursuant to California Code of Civil Procedure § 664.6 or otherwise.

                17.    The Clerk is directed to enter this Final Order forthwith.



                                     ,2017             SO ORDERED:




                                                                        HdWElihu M.Berl




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            [II&ORMED]ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT and FINAL
                                            JUDGMENT
    Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 105 of 129 Page ID #:105


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      EXHIBIT A
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 106 of 129 Page ID #:106
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                            EXHIBIT A
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 107 of 129 Page ID #:107




     City of Los Angeles(Jones) Claims
     Opt Outs

      ClaimID             FirstName         LastN a e




                                                  m
                                                                            Optout
      JCLAI-1006184040    LORENA P          RODRIGUEZ                       3/31/2017
      JCLAI-1007603852                      PSW HAY LLC                     3/31/2017
      JCLAl-1017606242    GERMAN                                            3/31/2017
                                             MORAN,
      JCLAl-1022262475    ALBERT W           FELDMAN                        3/31/2017
      JCLAl-1000144194    ANTHA Y            ABRAHAM                          4/3/2017
     JCLAl-1001273974    CHOON JA            SEO                              4/3/2017
     JCLAl-1001364058    JEAN                HASSELQUIST                      4/3/2017
     JCLAI-1001572726    MARIUS V            ILIESCU                          4/3/2017
     JCLAl-1004832044    RITA                SHELDON                          4/3/2017
     JCLA1-1004935897    MELVIN JOEL         ALVARADO                         4/3/2017
     JCLAI-1006065849    SUNG M              LEE                              4/3/2017
     JCLAI-1006915915    BIENVENIDOTESTA     CRUZ                            4/3/2017
     JCLAl-1007015772    EDNA E             SAGE                             4/3/2017
     JCLAl-1007137894    SAMUEL             OBADIA                           4/3/2017
     JCLAl-1009140540    IRENE              GOLDBERG                         4/3/2017
     JCLAl-1009579649    ANTONIO            PONTIS                           4/3/2017
     JCLAl-1010158864    ANN                SCOTTO                           4/3/2017
     JCLAl-1010330624    AZAD HOUSHANG      PISHVA                           4/3/2017
    JCLAI-1010854534     DOMINIC            HOOD                             4/3/2017
    JCLAI-1011024144     BORIS              SHTERN                           4/3/2017
    JCLAl-1011138824    GHEORGHE            NICOLAE                          4/3/2017
    ICLAl-1011227339    CHANDRA             BOND                             4/3/2017
    JCLAl-1011565102    PAULA               ORSA                             4/3/2017
    JCLAI-1012563944    DIANE               EDINGTON                         4/3/2017
    JCLAI-1014987172                        PINZON MANAGEMENT INC.          4/3/2017
    JCLAl-1015098754    JEANNE              GOEN                            4/3/2017
    JCLAI-1015230768    HOUSHANG            RAHBAN                          4/3/2017
    JCLAI-101678.7928   FLORENCE M          MC CAIN                         4/3/2017
    JCLAI-1016818866    CHUN H             COLTHARP                         4/3/2017
    JCLAl-1018281681                       13015 WASHINGTON ACQUISITION V   4/3/2017
    JCLAl-1018701648    AMY S              COHEN                            4/3/2017
   JCLAl-1020117800     HAYK               KHUDOYAN                         4/3/2017
   JCLAI-1020995742     ELIZABETH A        BROWN                            4/3/2017
   JCLAl-1022374036    JUNE                MARTIN                           4/3/2017
   JCLAl-1022380524    R                   FARELLO                          4/3/2017
   JCLAl-1022456016    SMITH               TAKAYA                           4/3/2017
   JCLAl-1001488245                        WOODLAND HILLS RETAIL LLC        4/4/2DI7
   JCLAI-1001725514    BERYLE              NATHAN                           4/4/2017
   ICLAl-1002455901    JECING RAN          NA                               4/4/2017
   JCLAl-1003500714    ANDREAS             KRAINER                          4/4/2017
   JCLAl-1003633870    LOLA P              LA COM BE                        4/4/2017
   JCLAl-1003811299                        WOODLAND HILLS RETAIL LLC        4/4/2017
   JCLAl-1004149760    JOSEPHINE           GONZALEZ                         4/4/2017
 Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 108 of 129 Page ID #:108




       .JCLAl-1004350562      JOHN        TREVINO                        4/4/2017
        JCLAl-1005501904      BRUCEL      BECKER                         4/4/2017
        JCLAI-1005523975                  WOODLAND HILLS RETAIL LLC     4/4/2017
        JCLAI-1006098016      ARTHUR      CRAIG                         4/4/2017
        JCLAI-1006178.228-    GLORIA      DONIS                         4/4/2017
        JCLAl-1007987243      ANTON       MAYR                          4/4/2017
        JCLAI-100863,8803
                        .                 WOODLAND HILLS RETAIL LLC     4/4/2017
        JCLAI-1010339621     CARLOS A     GONZALEZ                      4/4/2017
        JCLAI-1010976443     PETER        FAIRBROTHER                   4/4/2017
        JCLAI-1011246988     TERESA       RUIZ                          4/4/2017
       JCLAl-1011563568      MANJU K      SHUKLA                        4/4/2017
       JCLAl-1012871703      NANCY        REED                          4/4/2017
       JCLAI-1014842905      EFIM         RUDIN                         4/4/2017
       ICLAl-1015371.892     STEVE        LOCKWOOD                      4/4/2017
       JCLA1-101S511236      JERRY        LOCKENOUR                     4/4/2017
       JCLAl-1015761372      SANDRA      GERSTON                        4/4/2017
       JCLA1-101670468 1 2   JENNIFER    IMAMURA                        4/4/2017
       JCLAI-1018810315      JOHN J      ADAME                          4/4/2017
      JCLAl-10M30736         JENNIFER    IMAMURA                       4/4/2017
       JCLAl-1019245859      MARTHA,     CASTRO                        4/4/2017
      JCLAl-1021324485       YONGJONG    KIM                           4/4/2017
      JCLAl-1021331180       NANDI       MORGAN                        4/4/2017
      JCLAI-1021429538       FS          GARCIA                        4/4/2017
      JCLAl-1021598712                   WOODLAND HILLS RETAIL LLC     4/4/2017
      JCLAl-1022395785       JB          GILL                          4/4/2017
      JCLAI-1023144514       ANTONIO     HERNANDEZ                     4/4/2017
      JCLAI-1000748570       SON AE      Yj                            4/5/2017
      JCLAl-1001075935       IVY M       LYEW                          4/5/2017
      JCLAl-1002853478       BERT        KALMAN                        4/5/2017
      ICLAI-1002890217       K           MORI                          4/5/2017
      JCLAl-1003034900       FRED        KAJIWARA                      4/5/2017
      JCLAl-1003483810       SONG HA     CHOE                          4/5/2017
      JCLAI-1003625029       VIRGINIA    GUERRERO                      4/5/2017
      JCLAl-1004325517       EVELYN      MARKLEY,                      4/5/2017
      JCLAl-1005242631       ALINE C    KONBLETT                      4/5/2017
     JCLAI-1005832986        NAHUM      GARCIA                        4/5/2017
     JCLAl-1006378839        QUI        LI                            4/5/2017
     JCLAl-1006616730        WILLIAM    KIM                           4/5/2017
     JCLAI-1007304600        DEBORAHJ   POTTER                        4/5/2017
     JCLAl-1007905107        AZAD       PISHVA                        4/5/2017
     ICLAl-1008712655        DIANA      KOTZIN                        4/5/2017
     JCLAI-1009711920        SUSAN      DINOS                         4/5/2017
     JCLAI-1010032399        FIANA      YERMUS                        4/5/2017
     JCLAI-1010656503        YALE       HUANG                         4/5/2017
     JCLAI-1011557126        MICHAEL    SOPHIE                        4/5/2017
     JCLAl-1011983303        BENJAMIN   FEHRES                        4/5/2017
1.
     JCLAl-1012158497        FIANA      YERMUS                        4/5/2017
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 109 of 129 Page ID #:109




      JCLAI-1012441300     SHARON A
                                  I            SAMPLES           4/5/2017
      ICLAl-1012468348     YUN CHEUNG          TAN'G             4/5/2017
      JCLAl-1013402693     KARLA               SEVERSON         4/5/2017
      JCLAl-1013695614     FRANCISCO           BOLIO            4/5/2017
      JCLAI-1014212103     DIANE L             SIMPSON          4/5/2017
      JCLAI-1014512638     MICHELLE            YERMUS           4/5/2017
      JCLAl-1014584531     CHARLES A           ZAHKA            4/5/2017
      JCLA1-10152623.92                        NEXDON,LLC       4/5/2017
      JCLAI-1015528406      FIANA              YERMUS           4/5/2017
      JCLAI-1015546986      CHERYL             WLODINGER        4/5/2017
      JCLAI-1017963282      WANDA              LA FLEUR         4/5/2017
     JCLAl-1018284303       KATHERINE          HARTMAN          4/5/2017
     JCLAI-1018448012       LISA T             WONG             4/5/2017
     JCLA1-10185§9983       DAVID             STADE             4/5/2017
     ICLAl-1019315873       EDUARDO D         :MALDONADO        4/5/2017
     JCLAl-1021263354       ERNESTO            MEJIA PENA      4/5/2017
     JCLAI-1022619292       ILL SUNG          LEE              4/5/2017
     JCLAl-1001298004       KUN ZHEN          YE               4/6/2017
     JCLAI-1002069343      YOUNGSUP           LIM              4/6/2017
     JCLAl-1003577679      JUN JIE            JU               4/6/2017
     JCLAI-1004044593      CHUN Y             Yl               4/6/2017
     JCLAl-1004284349      JOANNA              KU              4/6/2017
     JCLAI-1004365098      MARGOT ESPERANZA    FERNANDEZ       4/6/2017
    JCLAl-1005039038       ROBERTG             BADAL           4/6/2017
    JCLAl-1005070547       LAWRENCE I          KITTIVER        4/6/2017
    JCLAI-1005234752       JILL                KING            4/6/2017
    JCLAl-1005447667       MARLENE             LOVINGS         4/6/2017
    JCLAl-1005460787       GONZALO M           LARENAS         4/6/2017
    JCLAl-1005550670       FRANCES             HERMAN         4/6/2017
    JCLAI-1005S96417       FREDERICK           KURI            4/6/2017
    JCLAI-1005762260       KEVORK              ANDONIAN       4/6/2017
    JCLAl-1006945300      SHIN G               YOON           4/6/2017
    JCLAl-1007361263       MARIO              SALINAS         4/6/2017
    JCLAl-1008087629      BENNY               JACKS           4/6/2017
    JCLAl-1008233536      YOUNGSUK            KIM             4/6/2017
    JCLAI-1008329169      BARBARA             BITAR           4/6/2017
   JCLAI-1008482153       JEFFREY             HERSHEY         4/6/2017
   JCLAI-1008515000       DORIS               KLEGA           4/6/2017
   JCLAI-1008964956       NAEYUN              PAK             4/6/2017
   JCLAI-1013049667       SIU YING            WONG            4/6/2017
   JCLAl-1013279476       JOSE                ALVAREZ         4/6/2017
   JCLA1-1013476859       ROSLIN L            LEWIS          .4/6/2017
   JCLAl-1014401550       JONG HO             KIM             4/6/2017
   JCLAl-1016316500       KYE S               KANG            4/6/2017
   JCLAI-1017447357       JUNEL               ROACH          4/6/2017
   JCLAl-1018087320       MARIA C             DE LA ROSA     4/6/2017
   JCLAl-1018,607099      BETH                BLACK          4/6/2017
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 110 of 129 Page ID #:110




      JCLAl-1018773355      LYNNE              MOUNIER                           4/6/2017
      JCLAI-1019234431      FILOMENA           MARALIT                           4/6/2017
      JCLAI-1020125063      J RICHARD         CHAMBERLAIN                        4/6/2017
      ICLAl-1020135095      CHRISTENE         DAGLAS                             4/6/2017
      JCLA1-1022151576      THONGCHA I        WETSUWAN                          4/6/2017
      JCLAl-1022372882      SALVADOR          GODOY                             4/6/2017
      JCLAI-1000362957      HOLLY K           HUBBS                             4/7/2017
      JCL.Al-IOD0821358     LARRY D           SIGLER                            4/7/2017
      JCLAI-1000842312      DOROTHY           REYNOLDS                          4/7/2017
      JCLAl-1003017568      GEORGINA H        ALONSO                            4/7/2017
     JCLAI-1003362877       ERIC              BERKLEY                           4/7/2017
     JCLAl-1004226667      SUZANNE            TATUM                             4/7/2017
     ICLAI-1004637209       HOWARD            ROSEN                             4/7/2017
     JCLAI-1005300801      BESS              SERRANO                            4/7/2017
     JCLAl-1005928657      WILLIAM            DIAZ                              4/7/2017
     JCLAI-1006961542      ROSA               MELGAR                            4/7/2017
     JCLAl-1007617080      ERIC               BERKLEY                           4/7/2017
     JCLAl-1007798998      JEFF              GRAYSON                            4/7/2017
     JCLAI-1007824662      JINGYI            CHEN                              4/7/2017
     JCLAI-1009245279      PHILIP            GLASSBURN                         4/7/2017
     JCLAl-1009530739      MEIRA             PEERY                             4/7/2017
     JCLAl-1010472011      AMYL              LEVINE                            4/7/2017
     JCLAI-1011672227      ANNETTE J         GLONEK                            4/7/2017
    JCLAl-1011894220       ARTHUR R          PRESTON                           4/7/2017
    JCLAl-1012208877       MARILYN M         WARREN                            4/7/2017
    JCLAI-1012344924       LARRY D           SIGLER                            4/7/2017
    JCLAI-1012882330       DELPHA M          INSKEEP                           4/7/2017
    JCLAl-1014334071       DELORES           DIVINE                            4/7/2017
    JCLAI-1014520916      SO YEUN            KIM                               4/7/2017
    JCLAl-1014697921       HO                CHOI                              4/7/2017
    JCLAl-1016014147      BOKYOL             CHO                               4/7/2017
        ,
    JCLAI-1016193149      ROBERTO             MENDOZAALVARADO                  4/7/2017
    JCLAl-1016472668      GINGER LEE DIANE   TEMCHUK                           4/7/2017
    JCLAl-1017807981      GEORGINA H         ALONSO                           4/7/2017
    JCLAI-101869.3017     SIGRID E            RAMOS                           4/7/2017
    JCLAl-1018786813      MICHELE            PHILBIN                          4/7/2017
    JCLAI-1019448350      YOUNGMEE           KANG                             4/7/2017
   JCLA1-1020.617802      GEORGINA. H        ALONSO                           4/7/2017
   JCLAl-1020690518       MICHAEL            CORRADINO                        4/7/2017
   JCLAI-102,1324078      JENNETTE           MEARS                            4/7/2017
   JCLAI-1021559881                          PARDEE & FLEMING LANDSCAPE DES   4/7/2017
   JCLAl-1000687970       MARION L           ROSEN                            4/8/2017
   JCLAl-1002050650       ROXANNEE           CLAY                             4/8/2017
   JCLAI-1003588891       JEANIE             YANG                             4/8/2017
   JCLAI-1004742657       ROBERT             ARROYOJR                         4/8/2017
   JCLAl-1005417296       DANIELLE           SHAPIRA                          4/8/2017
   JCLAl-1005435618       MARISHA            BAILEY                           4/8/2017
    Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 111 of 129 Page ID #:111




         JCLAI-1005651140    TERESA            SAN PEDRO VIRAY         4/8/2017
         JCLAl-1007569360    MICHIRU           OMORI                   4/8/2017
         JCLAI-1007945737    JACOB             HARLOW                  4/8/2017
         JCLAl-1008398128    STARLYNN M        BURNETT                 4/8/2017
         JCLAl-1008993344    AZAD HOUSHANG     PISHVA                  4/8/2017
         JCLAI-1009084933    DONALD E          RENNER                  4/8/2017
         JCLAl-1009177770    HOUSHANG AZAD     PISHVA                  4/8/2017
         JCLAl-1014318009                      RED ROOM FILMS INC      4/8/2017
         ICLAl-1014547601     WT               MARPLE                  4/8/2017
         JCLAl-1018318194     JOHN             COSTANZO               4/8/2017
         JCLAl-1019463163     GLORIA           MAULIT                  4/8/~017
         JCLAI-1006001166    JAMES             COOPER                 4/9/2017
         JCLAl-1000596028     A,               FAGENSON              4/10/2017
        JCLAl-1000739473     ALYSSA           JACOBSEN               4/10/2017
        JCLAl-1001481224     EBERHARD          FRICKE                4/10/2017
        JCLAI-1001543,440   -LOYDJ             HOPPER                4/10/2017
        JCLAl-1002177685    ,MARIA             CUELLAR               4/10/2017
        JCLAl-1002241790     FRANCISCO        GUERRERO MATA          4/10/2017
        JCLAI-1002953~332    FAY              JEW                    4/10/2017
        JCLAI-1003047696     CHIK             CHIKYARAPPA            4/10/2017
        JCLAl-1003705685     SAYAKA           ITO                    4/10/2017
        JCLAl-1005358869     THEODOREA        GEIRINGER              4/10/2017
        JCLAI-1006494588     VICTORIA Y       FUJITA                 4/10/2017
        JCLAl-IOD7400498     NOBUKO           HIGUCHI                4/10/2017
        JCLAl-1007564458     STEVE SABORU     KOBAYASHI              4/10/2017
        JCLAl-1007797932     RICK T           MECHTLY,               4/10/2017
        JCLAI-10082429412    EBRAHIM          HAGHIGHAT              4/10/2017
        JCLAI-1008532584     JOON RAE         RHO                    4/10/2017
        JCLAl-1008736481    'ROBERT B         FENTON                4/10/2017
        JCLAl-1008772577     cARMELLA         CORNETT               4/10/2017
       JCLAl-1008898147      GW               GINN                  4/10/2017
       JCLAl-1009456083      ROSA MIRIAM      AGUILAR               4/10/2017
       icLAi-loil464373      DONALD           WOMACK                4/10/2017
       JCLA1-10123162.89    ic                GASPAR                4/10/2017
       JCLAl-1012353370     PATRICIA A        KAATZ                 4/10/2017
       JCLAI-1012857670     LOUISE            RUSSELL               4/10/2017
       JCLAI-10129513~5     JOHN R            HOMES                 4/10/2017
       JCLAl-101381,7281    JOHNJ             MURPHY III            4/10/2017
       JCLAI-1014271665     SHELIA           PURWIN                 4/10/2017
       JCLAI-1014446716     PATRICIA         DENNEY                 4/10/2017
       JCLAl-1014776279     VICTORIA Y       FUJITA                 4/10/2017'
       JCLAl-1016656718     BARBARA:,        RABENOWITZ             4/10/2017
       JCLAl-1017833230     PERRY            HEINITZ                4/10/2017
       JCLAI-1018100695     WILLIAM          SPEARS                 4/10/2017
       JCLAl-1018953574                      OPTIMUS CONSTRUCTION   4/10/2017
       JCLAl-10195158,56    TERRY            BOWYER                 4/10/2017
       JCLAl-1020024925     VASILE           TEIIIS                 4/10/2017




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Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 112 of 129 Page ID #:112




     JCLAl-1021049387      ROBERT B     FENTON                       4/10/2017
     JCLAl-1021347159,     MIGUELA      CASIANO                      4/10/2017
     JCLAI-1021393509      EBERHARD     FRICKE                       4/10/2017
     JCLAl-1000489515      MARY         TOLEDO                      4/11/2017
     JCLAI-1000796779      ZENAIDA      SABINO                       4/11/2017
     JCLAl-1002089402      RICHARD      SANDIFER                     4/11/2017
     JCLAI-1002423848      SVETLANA     HAKOPYAN.                    4/11/2017
     JCLAl-1003359795      HG           MC LENNAN                    4/11/2017
     ICLAl-1003649360      CASPER       SAGOIAN                      4/11/2017
     JCLAl-1003991688      HUGH G       MCLENNAN                     4/11/2017
     JCLAI-1004013710      DAVID        LAFEVERS                     4/11/2017
     JCLA1-lOG4536127     ALA           NIXON                        4/11/2017
     JCLAl-1005601860      ELAINE       LIPSHIN                      4/11/2017
     JCLAl-1007782692     CHARLES G     ARNOLD                       4/11/2017
     JCLAl-1008492582     AA            NIXON                        4/11/2017
     JCLAl-1008752614      MATTHEW      BUESE                        4/11/2017
     JCLAl-1009825984     JORGEE        GRUNAVER                     4/11/2017
     JCLA1-1012363171     ROBERT A      BERMAN                       4/11/2017
     JCL.Al-1014.471826   HG            MC LENNAN                   4/11/2017
     JCLAI-1015297706     ELEONORA E    NYREN                       4/11/2017
     JCLA1-1017744688     ADRIANA      TRINGONE                     4/11/2017
     JCLAl-1020377232     HG            MC LENNAN                   4/11/2017
     JCLAl-1020475412     ALA           NIXON                       4/11/2017
     JCLAl-1020991992     BERTHA        BARBA                       4/11/2017
     JCLAl-1022132792     CLARA         DRYDEN                      4/11/2017
     JCLAl-1000516474     ~MARIVICKS   SCHULZ                       4/12/2017
     JCLAl-1001097777     JACINTO      AGUILA                       4/12/2017
    JCLAl-1001173678                   OPTIMUS CONSTRUCTION, INC.   4/12/2017
    JCLAl-1002345456      ANDREA       JUCKNIESS KEMERER            4/12/2017
    JCLAI-1002634113                   OPTIMUS CONSTRUCTION         4/12/2017
    JCLAl-1004333447      MERCEDES     TECSON                       4/12/2017
    JCLAl-1004714726                   OPTIMUS CONSTRUCTION,INC.    4/12/2017
    JCLAI-1006055118      BARBARA      DARCY                        4/12/2017
    JCLAI-1006137548                   OPT(MUS CONSTRUCTION, INC.   4/12/2017
    JCLAI-1007402075      HELEN M      HEALY                        4/12/2017
    JCLAl-1009778986      SICHEN       LI                           4/12/2017
    JCLAl-1014156068                   OPTIMUS CONSTRUCTION, INC.   4/12/2017
    JCLAI-1015029647      MASATO       TAKAHASHI                    4/12/2017
    JCLAI-1015556515      EDWARD       MAZIARZ                      4/12/2017
    JCLAI-1019640960                   OPTIMUS CONSTRUCTION INC     4/12/2017
    JCLAl-1019992123      E            FLORES                       4/12/2017
    JCLAl-102032540Z      DOROTHY      GROSWIRTH                    4/12/2017
    JCLAI-1020965002      LAZARCI R    MURILLO                      4/12/2017
    JCLAl-1021023957      JOHN         LLERENAS                     4/12/2017
    JCLAI-1022041444      HG           MC LENNAN                    4/12/2017
    ICLAI-1000272079      PEG A        SHIPMAN.                     4/13/2017
    JCLAI-1001973089      JENNIFER R   STERNBACH                    4/13/2017
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 113 of 129 Page ID #:113




      JCLAl-1002450926   VERNITA          JOHNSON.            4/13/2017
      JCLAI-1002558956   NESTOR           GONZALEZ            4/13/2017
      JCLAl-1005394296   CAROLANN         BRANT               4/13/2017
     JCLAl-1009124900    KATHY            HANLON              4/13/2017
     JCLAl-1010131184    ROLAND           JABONILLO           4/13/2017
     JCILAI-1010822055                    LUND                4/13/2017
                         ww
     JCLAl-1011333767     RICHARD A       MURRAY             4/13/2017
     JCLAl-1011377489     BARBARAJ        LE BLANC           4/13/2017
     ICLAl-1014485967     DIANE           VANETTE            4/13/2017
     JCLA1-101650908      JOHN            VANDYGRIFF         4/13/2017
     JCLAl-1021554278     ANTHONY         EDWARDS            4/13/2017
     JCLAl-1000357031     ROMERO R       AGCAOILI            4/14/2017
     JCLAI-1001106865     RICHARD         MICALLEF           4/14/2017
     JCLAl-1005510474     CATALINA       VILLALOBOS          4/14/2017
     JCLAI-1005805873     ADAM           HOCHBERG            4/14/2017
     JCLAl-1006135626     MEGHAN L       BECKMANN            4/14/2017
     JCLAI-1008562807     BILLIE J       KENDRICK            4/14/2017
     JCLAI-1011220709     BARRY R        MORA                4/14/2017
     JCLAl-1015738028     ALEXANDRIA     EN                  4/14/2017
     JCLAl-1016379617     MARIE          MONGES              4/14/2017
     JCLAl-1017324727     CATALINA       VILLALOBOS          4/14/2017
     JCLAl-1018716505     MARGARET       KHIN                4/14/2017
     JCLAl-1020903678     VICTOR         JAUREGUI JR         4/14/2017
    I.CLAI-1021911348     HUNTER         BROWN               4/14/2017
     JCLAl-1008422258    GAGE            ROARK               4/15/2017
     JCLAl-1012012611    ROSEMARIE T     BALMACEDA           4/15/2017
     JCLAl-1015028420    ROSARIO         JURGENS             4/15/2017
    JCLAI-1019639474     KYE SUN         KIM                 4/lS/2017
    JCLAI-1020647728     JESSY           ALFARO              4/15/2017
    JCLAl-1021402290     GEORGEE         MURPHY:             4/15/2017
    JCLAl-1000023818     CASEY           STOLBERG            4/17/2017
    JCLAl-1000215997     FRANK G       - GOMEZ               4/17/2017
    JCLAl-1006892778     DIANE           BOOBAR              4/17/2017
    JCLAI-1004843356     GRACIE          VAN BRUNT           4/17/2017
    JCLAI-1008389161     SUREEPORN       SOMTAMITWONG        4/17/2017
    JCLAl-1009563726     MA              ORTNER              4/17/2017
    JCLAI-1012348717     LARRY Z         SOBEL               4/17/2017
    JCLAl-1013SO8181     JEAN            VERNON              4/17/2017
    JCLAI-1014862191     YIKAI           LIN                 4/17/2017
    JCLAl-1015647332     SHENG          JIANG                4/17/2017
    JCLAl-1017216479     BORZOUYEH       POURSHARIF          4/17/2017
    JCLAI-1004914270     YOON SECI       KANG                4/18/2017
    JCLAl-1005676994     ALYTHEA         READE               4/18/2017
    JCLAl-1007758058     JOHN           VIDOVICH DBA         4/18/2017
    JCLAl-1008226343     CHARLES E       MADRID              4/18/2017
    ICLAI-1010051067     KANA            KAMITO              4/18/2017
    JCLAl-1011461706     JOHN           VIDOVICH DBA         4/18/2017
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 114 of 129 Page ID #:114




      JCLAI-101la46195   JOHN            VIDOVICH DBA           4/18/2017
      JCLA1-10123§7589   JOHN            VIDOVICH DBA           4/1'8/2017
      JCLAl-1016383150   DIANE           JORDAN                 4/18/2017
      JCLAI-1020839112   OLIVIA         SONG                   4/18/2017
      JCLAl-1000931986   TERESA          ROMERO                4/19/2017
      JCLAI-1001851617   REBECCA         DUFENDACH             4/19/2017
     JCLAI-10027:89540   TRACIE          BEER                  4/19/2017
     JCLAl-1002886635    NANCY          TILLOTSON              4/19/2017
     JCLAl-1006498460    NESIM           HASON                 4/19/2017
     JCLAl-1010485431    CAROLINE       BLACK                  4/19/2017
     JCLAI-1010595784    NANCY          TILLOT50N              4/19/2017
     JCLAl-1011065819    GEORGE W       TODD                   4/19/2017
     JCLAl-1012423204    AMBER          LASTOSKIE              4/19/2017
     JCLA1-1014188768    TERESA         ROMERO                 4/19/2017
     ICLAI-1017373990   JASON           BAUSTIN                4/19/2017
     JCLAl-1018252096    MARGARITA      SUAREZ                 4/19/2017
     JCLAl-1022529676    KENNETH H      FRASER                 4/19/2017
     JCLAl-1006822291   CHRIS           DESSER                4/20/2017
     JCLAl-1007062339   VIRGINIA        SMITH                 4/20/2017
     JCLAl-1009531620   DAVID           CHIEN                 4/20/2017
     JCLAl-1009662112   IAN             MCCLARREN             4/20/2017
    JCLAl-1011908190    G               MADRID                4/20/2017
    JCLAI-1011962462    SEMYON         GINZBURG               4/20/2017
    JCLAl-1011964244    RODELIO        CADAY                  4/20/2017
    JCLAl-1015932142    RAMONA         YERA                   4/20/2017
    JCLAl-1016407939    RAPHAEL        GARCIA                 4/20/2017
    JCLAl-1017305854    ALEXANDRA      JULIANO                4/20/2017
    JCLAl-1020481137    OSAMU          SUGIMOTO               4/20/2017
    JCLAI I-1020823283  MIN            KANG                   4/20/2017
    JCLAl-1000757552    DH             LIPPMAN                4/21/2017
    JCLAl-1002167817    RUTH           RHODES                 4/21/2017
    JCLAI-1003861792    ELIZABETH A    HOAGE                  4/21/2017
    JCLAl-1004754957    NAOMI          BIANGELLA              4/21/2017
    JCLAI-1005437831   JACKIE          LEDERFINE             4/21/2017
    JCLA1-1005~825610  PHILIP          ANNINOS               4/21/2017
   JCLAI-1006710213    DH              LIPPMAN               4/21/2017
   JCLAI-1009650050    DALE            UYEDA                 4/21/2017
   JCLAI-1014137499    DALE            UYEDA                 4/21/2017
   JCLAI-10169138.69   ELAINE B        LEIGH                 4/21/2017
   JCLAl-1017007217    JEFF           LEADFORD               4/21/2017
   JCLAl-1018597883    IDA            ALEXANDER              4/21/2017
   JCLAI-1007628340    BARBARA        MUSSELL                4/22/2017
   JCLAl-1007899158    MAEBELL        MARSHALL               4/22/2017
   JCLAI-1012411044    JUNKO          OSHIRC)                4/22/2017
   JCLAl-1014780292    ORVAL          AUFDEMBERGE            4/22/2017
   JCLAl-1021739197    MEGAN          SCHILLING              4/22/2017
   JCLAl-1000041077    LAURA          TIZ                    4/24/2017
   Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 115 of 129 Page ID #:115




           JCLAl-1000283127    ALLISON 0           OXMAN                      4/24/2017
           JCLAI-1000702090    MICHAEL E           BOWLUS                    4/24/2017
           JCLAI-1003833284    CURTIS H            BAER                      4/24/2017
           JCLAI-1004087594    WOO B               SHIM                      4/24/2017
           JCLAl-10,04898533   IMELDA              ACOSTA                    4/24/2017
          JCLAl-1006088989     YONGSHENG           JIAO                      4/24/2017
          JCLAl-1006620770     MAY                 BIN-JASSEM                4/24/2017
          JCLAI-1007018518     RENE                LEMUS                     4/24/2017
          JCLAl-1010285009     NADINE              DE LILLIO                 4/24/2017
          JCLAl-1013312988     ANDREW             JUSTICE                    4/24/2017
          JCLAI-10146619561    BRUCE               AOKI                      4/24/2017
          JCLAI-1017.608296   TALAL                ALRABIAH                  4/24/2017
          JCLAl-1017643288     BLANCA M           CALITO                     4/24/2017
          JCLAl-10209iO499    SHARON CATHERINE    BROWN                      4/24/2017
          JCLAl-1021610771    ZACHARY             SCHORR                     4/24/2017
          JCLAI-1022336223     MICHAEL            BOWLUS                    4/24/2017
          JCLAl-1000497330    CLAUDIA             FLORES                    4/25/2017
          JCLAl-1001069390    MINA                KIM                       4/2S/2017
         JCLAl-1001655481     DJ                  CARLILE                   4/25/2017
         JCLAl-1002290708     CLAUDIA             FLORES                    4/25/2017
         JCLAI-10OS196761     HOLLY               GOSNELL                   4/25/2017
         JCLAl-1006787330     ROBERT              KAWAHARA                  4/2S/2017
         JCLAl-1007958421                         KESTER SOLUTIONS LLC      4/25/2017
         JCLAI-1007999608     WMA                 ROLSTON                   4/25/2017
         JCLAI-1008148040     CARLO               IRIGOYEN                  4/25/2017
         JCLAl-1011659697     MICHAEL             CASIANO                   4/25/2017
         JCLAl-1016293020                         KESTER SOLUTIONS LLC      4/2S/2017
         JCLAl-1016930020     CLAUDIA            FLORES                     4/25/2017
         JCLAI-1008876887     GEORGETTE          TUCK                       4/26/2017
         JCLAI-1009332961     ELAINE             DALY                       4/26/2017
         JCLAI-1015124240     AREN               AZIZIAN                    4/26/2017
         JCLAl-1005016771     NANCY              GOLDSTEIN                  4/27/2017
        JCLAI-1006138684      RANDY              YAP                       4/27/2017
        JCLAl-10126584-49    JAY                 STEIN                     4/27/2017
        JCLAI-1015197442     JESSICA             FREITAS                   4/27/2017
        JCLAl-1018713565     CAROLE              HUGHES                    4/27/2017
        JCLAl-1019494034     MIKE L              WORLE                     4/27/2017
        JCLAI-1021683671     EVELYN              HAMMOND                   4/27/2017
        JCLA11-100284500%    TAMMY               SIBLEY                    4/28/2017
        JCLAl-1004198290     WILLIAM M           MACKIE                    4/28/2017
        JCLAl-10OSlOS138     JON K               KENNEDY                   4/28/2017
        JCLAI-1009069250     VIVIAN              LISCANO                   4/28/2017
        JCLAl-1010654292                         AEG MANAGEMENT LACC LLC   4/28/2017
        JCLAI-1012608050     STUART A            WALL                      4/28/2017
        JCLAl-1016911718     BONNYR              HENDERSON                 4/28/2017
        JCLAl-1001306236     NELSON F            CHAVARRIA                 4/29/2017
        JCLAl-101403347D     HEATHER             JOHNSON                   4/29/2017


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    Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 116 of 129 Page ID #:116




          JCLAl-1002006376        KATHRYN     CORNFORD             5/l/2017
          JCLA1-1603685781       TONY         TRAN                 5/l/2017
          iCLAl-1003690041       CHERYL       HODGE                5/l/2017
          JCLAI-1004617712        ANH N,      MA                   5/l/2017
          JCLAl-1006,6213.361    CASSANDRA    BOH,KAI TING         5/l/2017
          JCLAl-1011911981       ANTHONYI     ZABATTA              5/l/2017
          JCLAl-1012801616       SIMIA         RAssoULI            5/l/2017
           JCLAl-101287079P      PHYLLIS        MOHR               5/l/2017
          ICLAI-1013460880       J              WHITE              5/l/2017
           JCLAI-1014984424      GREGORY        GERARD15           5/l/2017
           JCLAl-1015778119:     ROSELLEN      TRUNNELL            5/l/2017
          ICLAl-1016386710       LISA           LJEVAJA            5/l/2017
          JCLAl-1017806535      CHRISTINE      JOHNSON             5/l/2017
          JCLAI-1020603054      ERIN            ENG                5/l/2017
          JCLAl-1000957870      AMANDX          LUCIUS             5/2/2017
          JCLAI-1001341724      LEONARDO       RAYA               5/2/2017
          JCLA1-1008.006602     XERRY L        MCCUMBER           5/2/2017
          JCLAI-1018015108      STEPHANE       JAUROYOU           5/2/2017
          JCLAI-1022368753      CYNTHIA        WRIGHT             5/2/2017
          JCLAl-1008145025      KARL           LIGON              5/3/2017
          JCLAI-1011972930      ESTHER         J00                5/3/2017
          JCLAI-1018302409      NOEL           BOYT               5/3/2017
          JCLAI-1019783583      JENNIFER       SALDANA            5/3/2017
          JCLAl-1022111167      ISSABELL       HOKE               5/3/2017
          JCLAl-1002240700      C              JARAMILLO          5/4/2017
          JCLAl-1005648603       HENRY A       KELLY              5/4/2017
         JCLAI-1009029487       ~MARY          JARAMILLO          5/4/2017
         JCLAl-1009879260        KEVIN         CLOOBECK           5/4/2017
         JCLA1-1020550252        CARLA        SCHILLER            5/4/2017
         JCLAl-1000995496        GUISELA       URRUTIA            5/5/2017
         JCLAI-1004669836       SUSAN          CHISHOLM           5/5/2017
         JCLAI-1007222743        ANJALEE       KHARKAR            5/5/2017
         JCLAl-1007407263       SUSAN         CHISHOLM           5/5/2017
         JCLAl-1007622369       ANNAMARIE     TROHA              5/5/2017
         JCLAl-1012320260       TADASHI       KOWTA              5/5/2017
         JCLAI-1013679334       SUSAN         CHISHOLM           5/5/2017
         ICLAI-1016712707       ESTHER        URIBE              5/5/2017
         JCLAl-1018027823       DORIS         FASE               5/5/2017
         JCLA.1-1021766186      ANEL          MORALES            5/5/2017
         JCLAI-1021982091       SUSAN         CHISHOLM           5/5/2017
         JCLAI-1002683408       IN GA
                                   I          SREBNYTSkA         5/6/2017
                   '
         JCLAl-1012857204       JAMES         SHEETS             5/6/2017
         JCLAI-1001201965       GAYANTHI      MADUGALLE          5/8/2017
         JCLAl-1002426880       ERNEST       -KUNG               5/8/2017
         JCLAI-1003851096       JARED         HODES              5/8/2017
         JCLAl-1008209856       MELISSA       LEE                5/8/2017
         JCLAl-1014017530       ELHAM        HAMZEH              5/8/2017


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        Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 117 of 129 Page ID #:117




              JCLAl-1019299436     SURJAN         SINGH                                5/8/2D17
              JCLAI-10230'05786    M ARLENE S      LESSIN                              5/8/2017
              JCLAl-1015154352     JARADPORN       WRUWATTANANON                       5/9/2017
              JCLA
                 1 1-1019135409    LESLIE          BERLIN                              5/9/2017
              JCLAl-1022698796     LESLIE         BERLIN                               5/9/2017
              JCLAl-1002125324     WILLIAM        WAGNER                             5/10/2017
              JCLAl-1007252847     MARLA          KOMOROWSKI                         5/10/2017
             JCLAl-1011146975                     CENTER FOR LIFELONG LEARNERS C     5110/2017
             JCLAI-1015130704     JOAN P          BARROW                             5/10/2017
             JCLAl-1004550367     SANDRA          DAVIDSON                           5/11/2017
             ICLAl-1010657410     LIA C           AZEAL                              5/11/2017
             JCLAI-1017330867     NGAN S          WONG                               5/11/2017
             JCLAl-1000270009     YOOVABEE        PHUAPHES                           5/15/2017
             JCLAl-1002318335     EL)SSA R        GREENE                             5/15/2017
             JCLAI-1002707250     ILSE            COTA                               5/15/2017
             JCLAI-1003686192     DELIA           ALVIDREZ                           5/15/2017
             JCLAl-1007605626     ARDIS           FLENNIKEN                          5/15/2017
             JCLAl-1009218212    CARLOS          PALOMO                              5/15/2017
             ICLAI-1009226622     MATIN          SHARAFATKHAH                        5/15/2017
             JCLAl-1014987202    JANE EDWINA     SEYMOUR                            5/15/2017
             JCLAI-1018995811    HEATHER         VICKERS                            5/15/2017
            JCLAlmlD21218421     NANETTE M       THOMAS                             5/15/2017
            JCLAI-1023022052     ALI             PEREZ                              5/15/2017
            JCLAI-1002897084     JOYCE M         PATTENSON                          5/16/2017
            JCLAI-1004758049     LYNETTE M       ODEN.                              5/16/2017
            JCLA1-1009765671     DAGMAR C        SZABADOS                           5/16/2017
            JCLAl-1010615653     CATALINA M      FREDELUCES                         5/16/2017
            JCLAI-1017576807     DUEKSOON        SUNG                               5/17/2017
            JCLAI-1002512646     TAEEUN          KIM                                5/18/2017
            JCLAl-1006652434     MARJORIE        WALLACE                            5/18/2017
            JCLAl-1010078283     MARJORIE A      WALLACE                            5/18/2017
            JCLAl-1017289816    ZEEWAN           LEE                                5/18/2017
            JCLAl-1017431590     BRIAN          AARON                               5/18/2017
            JCLAI-1001783220    SARA            AVILA                              5/19/2017
            JCLAI-1005936722                    COFFMAN SPECIALTIES INC             5/19/2017
           JCLAl-1006211900     SUSAN            MCCARTHY                          5/19/2017
           JCLAI-1011093510     RICHARD A       HAMPTON                            5/19/2017
           JCLAI-101264.3131
                      1
                                WILLIAM H       SHARPE                             5/19/2017
           JCLAl-1016851448     ION             MILANO                             5/19/2017
           JCLAl-1020811005     LEWIS           MORRIS                             5/19/2017
           JCLAI-1000705528     ELEANOR         MEYER                              5/20/2017
           JCLAI-1005667446     ELEANOR         MEYER                              5/20/2017
           JCLAI-1013551893     BARBARA E       HOLLAND                            5/20/2017
           JCLAl-1006025677     FRANCISCO       CARCAMO                            5/22/2017
           JCLAI-1015780350     MILAGROS        RAMOS                              5/22/2017
           JCLAl-1017346089     MINORU          HIRUTA                             5/22/2017
           JCLAI-1017795878     ANDREAA         FRINCU
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Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 118 of 129 Page ID #:118




      JCLAI-1019254408    JV            SIEBERT                       5/22/2017
      JCLAl-1022889443     NERMEEN,     ALDAOUD                       5/22/2017
      JCLAl-1000731880    PATRICIA      ROSKI                         5/23/2017
      JCLAl-100334,6294   PATRICIA      ROSKI                         5/23/2017
     JCLAl-1005154643     WEN SHENG     YEH                           5/23/2017
     JCLAl-1005447365     KATHY         ORRICO                        5/24/2017
     JCLAl-1005591652     MIKE G        KIM                           5/24/2017
     JCLAI-1007301970     HEATHER       LEFEVRE                       5/24/2017
     JCLAI-1007724730     FREDJ         RODRIGUEZ                     5/24/2017
     JCLAI-1011555182     ELEANOR J     RAUCHER                       5/24/2017
     JCLAI-1012237630     ELISA         VITALICIO                     5/24/2017
     JCLAl-1016945671     TRACY         KIMBALL                       5/24/2017
     JCLAI-1001338790                  LESTER BROS                    5/25/2017
     JCLAl-1003838413    ANNIE S       SZETO                          5/25/2017
     JCLAI-1004158084     NICK G       KONAKAS                        5/25/2017
     JCLAl-1004510870                  OPTIMUS CONSTRUCTION, INC.    5/25/2017
     JCLAl-1006423060     U,BALDO      RAMOS                         5/25/2017
     JCLAl-1007771313                  OPTIMUS CONSTRUCTION, INC.    5/25/2017
    JCLAl-1011012472     BARBARAJ      KONAKAS                       5/25/2017
     JCLAl-1006618520    AMY           LIN                           5/26/2017
    JCLAI-1006707085     ETHAN         ADKINS                        5/26/2017
    JCLAI-1011529262     XIAOKAI       QIAN                          5/26/2017
    JCLAl-1018817697     ROSEMARY      LUISI                         5/26/2017
    JCLAI-1020451874     AMY           LIN                           5/26/2017
    JCLAI-1020636777     MONIQUE       VAN STEENKISTE                5/26/2017
    JCLAl-1022516205     KELLY         NAM                           5/26/2017
    JCLAI-1013369998     VERNAJ        MCADAM                        5/27/2017
    JCILAl-1004562365    DAVID L       RIVERA                        5/30/2017
    JCLAI-10071318963   JEFFREY       PIFKO                          5/30/2017
    JCLAI-1007175710     GLEN W       REDMAN                         5/30/2017
    JCLAl-1007195789     ELYNE C      RUDIN                          5/30/2017
    JCLAl-1009970992    JEFFREY R     PIFKO                          5/30/2017
    JCLAl-1011147165    LORCAN        KILROY                        5/30/2017
   JCLAl-1015259855     DAVID L       RIVERA                        5/30/2017
   JCLAI-1016665890     INGRID        MUELLER                       5/30/2017
   JCLAl-1017799318     JOHN P        HARTWELL                      5/30/2017
   JCLAl-1018744312     INAN          OLMEZ                         5/30/2017
   JCLAI-102308288 1 8  DAVID L       RIVERA                        5/30/2017
   JCLAI-1002772311     MICHELLE E    MC CONNELL                    5/31/2017
   JCLAI-1004884800     CARMEN        PEREZ                         5/31/2017
   JCLAl-10,06896244    MARYAM        SHAHREZA                      5/31/2017
   JCLAl-1007174935     CARMEN        PEREZ                         5/31/2017
   JCLAl-1007214414     DAVID         MCDOWELL                      5/31/2017
   JCLAl-1007862688     ROBERT A      KLEIN                         5/31/2017
   JCLAl-1008151050     BINGEN        CORTAZAR                      5/31/2017
   JCLAI-1010052349 'MATTHEW          BEALE                         5/31/2017
   JCLAI-1012278867     EDYTHE        BRONSTON                      5/31/2017
     Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 119 of 129 Page ID #:119




          JCLAI-1013168780      DANIELA YAZMIN     ROJAS-RAMIREZ   5/31/2017
          JCLAl-iOi8788727      CARMEN             PEREZ           5/31/2017
          JCLAl-1019373776      IGOR               GRANIZO         5/31/2017
          JCLA.1-1020048395     ERIN               GONZALES        5/31/2017
          JCLAl-1022346920:     DANIEL             MONTOYA         5/31/2017
          ICLAl-1000699633      MYUNG A            KIM               6/l/2017
          JCLAI-1001599969      JEANNE             WANLASS           6/l/2017
          JCLAI-1002199620      RYAN T             HURST             6/l/2017
          JCLAl-1003207260      JEANNIE C          WANLASS           6/l/2017
          JCLAl-1003743102      LEM                But               6/l/2017
          JCLAl-1004300859      LISA               REDDICK           6/l/2017
          JCLAl-1008971618     JEANNE             WANLASS            6/l/2017
          JCLAI-1010160354      KORIE             SCHMIDT           6/l/2017
          JCLAl-1012124819      GILLIAN L         ANGLIN            6/l/2017
         JCLAI-1014456720       VINCENT            MANZULLO         6/l/2017
         JCLAI-1019090396      JEANNE             WANLASS,          6/l/2017
         JCLAI-1019288183      ZI NA              HANDLEY          .6/l/2017
         JCLAl-1019681608      ALICE              PICCININI         6/l/2017
         JCLAl-1021143855      ANDREW             MUSISI            6/l/2017
         JCLA1-1002818672      CONSTANCIO         LAZCANO-          6/2/2017
         JCLAl-1006615482      M                  RICHEY            6/2/2017
         JCLAI-1007610590      RICARDO A          PEREZ             6/2/2017
         JCLAl-1009368664      WAYNE              IMBER MD          6/2/2017
         JCLAl-1009482220      GWENN A            MOXLEY            6/2/2017
         JCLAI-1011720442      GURDEZ            SIGNH              6/2/2017
         JCLAl-1012982327      PRISCILLA         JAYLONI            6/2/2017
         JCLAl-1015161316      MAC                DI ROSARIO        6/2/2017
         JCLAl-1016097751      LYUBOV            KAMENETSKAYA      6/2/2017
         JCLA1-1018269584     SHERRY             HUGHES             6/2/2017
         JCLAl-1019752858      PATRICIA          HORTON            6/2/2017
         JCLAl-1021709492      NINA              LEONARD           6/2/2017
         JCLAl-8000000016      GURDEV            SINGH             6/2/2017
        JCLAI-1000044190       DAVID P           KAPLAN            6/3/2017
        JCLAI-1002803551      RUDOLFO            CALIMAG           6/3/2017
        JCLAl-1011990180      ASHLYNN            PASTOREK          6/3/2017
        JCLAI-1012378187      BRUCE              ARNOLD            6/3/2017
        JCLAI-1013079540      PETRA              CASTRO DELGADO    6/3/2017
        JCLAI-1015779301      MARIA VIRGINIA     GUERRERO          6/3/2017
        JCLAl-1015846548      RATIROM            AWAIYAWANON       6/3/2017
        JCLAl-1016079702      ANTHONY R          DESOTO            6/3/2017
        JCLAl-1016441380      HERSCHELE          LYONS             6/3/2017
        JCLAl-1017978131      RENEE              HAROLITUNIAN      6/3/2017
        JCLAI-1019159618      LUZ                CRUZ              6/3/2017
        JCLAI-1020499532      KERIM              OMAROV            6/3/2017
        JCLAI-1020613718      GRIFFIN            FONTANA           6/3/2017
        JCLAI-1021359467      EUGENIA E          GONZALEZ          6/3/2017
        JCLAI-1000404803      KATIE              MITASZKA          6/5/2017



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  Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 120 of 129 Page ID #:120




         JCLAl-1000486982    KATHY REITHERMAN   BAUER               6/5/2017
         JCLAl-1000821781    DARRYL             BURTON             6/5/2017
         JCLAl-1001947720    KATHY              BAUER              6/5/2017
         JCLAI-1002335868   SUPHASUTA           DOUNGRAKSA         6/5/2017
         JCLAI-1002407338   CHRISTIANN M        ADAMS              6/5/2017
        JCLAI-1002480000    DARRYL              BURTON             6/5/2017
        JCLAl-1002624916    BELLA               YOUSSEF            6/5/2017
        JCLAl-1003972136    BRANDON,            BUCHLER            6/5/2017
        JCLAl-1004887140    KATHYJ              BAUER              6/5/2017
        JCLAI-1005239746    KATHY REITHERMAN    BAUER              6/5/2017
        JCLAl-1005441464    NABIL               TERTA              6/5/2017
        JCLAI-1005642958    KATHY REITHERMAN    BAUER              6/5/2017
        JCLAI-1006050191    THERESA             DAUGHERTY          6/5/2017
        JCLAl-1006871926    TERRIK             TOGIAI             6/5/2017
        ICLAl-1007039183    KATHY REITERMAN    BAUER              .6/5/2017
        JCLAI-1009466275    HARRY              WACHTEL            6/5/2017
        JCLAI-1010647512    KATHY              BAUER             6/5/2017
        JCLAl-1011983460   JEONG EUN           BAEK              6/5/2017
       JCLAl-1011987902    KATHY REITHMAN      BAUER             6/5/2017
       JCLAl-1012762068    ALEJANDRA           ROJAS             6/5/2017
       JCLAI-1012818314    DARRYL              BURTON            6/5/2017
       JCLAI-1013042670    ORAZIA              CASTILLE          6/5/2017
       JCLAl-1014334543    KATHY REITHERMAN    BAUER             6/5/2017
       JCLAI-1014785936    CARON'              VEAZEY            6/5/2017
       JCLAl-1015626769    FLORA               CHEUNG            6/5/2017
       JCLAI-1016498276    KATHY REITERMAN     BAUER             6/5/2017
       JCLAI-1017068615    KATHY REITHERMAN   :BAUER             6/5/2017
       JCLAl-1017925054    ALESSANDRO         AMANTE             6/5/2017
       JCLAI-1018007431    KATHYJ              BAUER             6/5/2017
       JCLAI-1018108904    KATHYJ             BAUER              6/5/2017
       JCLAI-1018185321   JODI                ROWE              6/5/2017
       JCLAI-1018842063    NICK               PRIOVOLOS         6/5/2017
      JCLAl-1019163178    CHRISTOPHER         BROWN             6/5/2017
      JCLAl-1019379324    KATHYJ              BAUER             6/5/2017
      JCLAI-1019640537    DARRYL              BURTON            6/5/2017
      JCLAI-1019669632    ARNOLD              LINARES           6/5/2017
      JCLAl-1021580783    JO ANN              WESLEY            6/5/2017
      JCLAI-1022016881    DEBORAH             HOLLAND           6/5/2017
      JCLAl-1022328980    KATHYJ              BAUER             6/5/2017
      JCLAl-1012920208    HENOCH              AZALI             6/9/2017 Late
      JCLAi-1020055960    MARIA               MONTGOMERY       6/10/2017 Late
      JCLAI-1002396450    DIANNE              MCDANIEL         6/12/2017 Late
      JCLAl-1000609634    GAVRIELLE           WOLF             6/20/2017 Late




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Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 121 of 129 Page ID #:121




                       EXHIBIT “5”
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 122 of 129 Page ID #:122


    From:            John G. Heller
    To:              Michael Libman (mjl@libmanlaw.com)
    Cc:              Lauren Kramer Sujeeth
    Subject:         FW: Michael Libman
    Date:            Tuesday, June 30, 2020 7:54:08 AM


    Michael:

    Following up on my message, here’s the email Lauren received an hour and half ago from the AUSA.


    From: Lauren Kramer Sujeeth <lsujeeth@rjo.com>
    Sent: Tuesday, June 30, 2020 7:17 AM
    To: John G. Heller <JHeller@rjo.com>
    Subject: Fwd: Michael Libman




    Lauren Kramer Sujeeth | Shareholder
    ROGERS JOSEPH O'DONNELL | a Professional Law Corporation
    311 California Street, 10th fl | San Francisco, CA 94104
    415.956.2828 main | 415.956.6457 fax
    lsujeeth@rjo.com | www.rjo.com

    Notice to recipient: This email is meant for only the intended recipient(s) of the transmission and
    may be privileged by law. If you receive this email in error, please notify us immediately. Do not
    print, copy, or disseminate it. Please delete the email from your system. Thank you.

    From: Mills, Melissa (USACAC) 2 <Melissa.Mills@usdoj.gov>
    Sent: Tuesday, June 30, 2020 6:16:05 AM
    To: Lauren Kramer Sujeeth <lsujeeth@rjo.com>
    Subject: Michael Libman

    Lauren, the FBI is executing a sealed search warrant at the home of your client Michael Libman this
    morning. There were no arrests, and we remain interested in your client’s cooperation. Feel free to
    contact me with any questions.

    Melissa
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 123 of 129 Page ID #:123




                       EXHIBIT “6”
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 124 of 129 Page ID #:124
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 125 of 129 Page ID #:125
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 126 of 129 Page ID #:126
ase 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 127 of 129 Page ID #:1
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 128 of 129 Page ID #:128
Case 2:21-cv-09455-JAK-MAA Document 1 Filed 12/06/21 Page 129 of 129 Page ID #:129
